                             Case 1:20-cv-05233-SEG                                          Document 115-18                                             Filed 01/18/24                              Page 1 of 59

                                                                                                                                                                                                                         Exhibit 16_2 of 2
                           DEKALB COUNTY POLICE DEPARTMENT                                                                                                                        Case#:
                                      GA0440200                                                                                                                                17-06103!1

     nadenl TIPO
    16-5-20 (1313) SIMPLE ASSAULT
,.. ~6-7-21 (2902) CRIMINAL TRESPASS - DAMAGE <500 - PRIVATE
                                                             INCIDENT REPORT
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                                                                                                                                                            nadefltCode
                                                                                                                                                            1313
                                                                                                                                                            2902
                                                                                                                                                                                          Offense Junsdic11cn
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~    mm,e Type:                                                                Well)onType:                                                             Fcrtible:                Snngs To Swanger               H.-eMotivaltd.               Loe Code:
illlALL OTHER                                                                  04                                                                       u                        N                                            :J             560
     Pa11R11101t                                  t-ntSlat                             Incident Elld:                                     Incident Locaon:
     k;/20/2017 3:52:52 PM 6/20/2017 3:00:00 PM 6/20/2017 3:10. 00 PM 4649 MEMORIAL DRIVE DECATUR GA 30032--
      Narne (\.Jsl Fn! Midclll):                                                                                         Mc)Nker.                                   DOB:                        Age.                      Ser.           Race:           Elhnicitf
      PERRY, KEITH 111                                                                                                                                                         -1989            27                         M             B               u
      Adlhss                                                                                             Home#:                                 Wen#:                           Cd#:                              Email:
      35552 HAWTHORNE DR. ROMULUS Ml 48174-
      SSN:                         Resic!enl StabJS:                HGT          WGT·          Hait Color                   Hair Style:                     Hair !.ellQlh:             Eyo Color                       OLNt:                             Sta1a·
                                   UNKNOWN                                                                                                                                                                             P600465075558                     Ml
     Oc:cupnon:                                          ~loyor                                                Addrlss:                                                                                                             Employer Phono:

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~ Individual
      Vot11m Typo:                                                        Yes No        lfYes. Narneol v,amis School                                      LEOKA AclMry Type:                                     LEOKA Al:;9"fflltll Type:
                                                             Student:
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     RclmnshipTo            IJ ACQUAINTANCE                         12)                                            (3)                                                  (4)                                             (5)
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                            I) 1313                                 12) 2902                                       (3)                                                  (4)                                             ''°'
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                            6)                                      l7I                                            (8)                                                  (9)                                             [l!I;
     Name:                                                                                                               Monler                             DOB:                       A119:                      Su.               Race:            EIMicily
     DAY, DAYSHEANA I                                                                                                                                                   1998           19                         F                  B               N
     IAddreos:                                                                                          Home Phone:                          Wcr1<Phon1:                        Cdl Phone:                        Emal!
     9022 N. 35TI-I AVE PHOENIX AR 85051-
      SSN:                         Resident Slalus:                 HGT         WGT·           Hair Color                   HairSl)1e:                      H.aitle119(11:             Eye Color                      OLN#:                              Si.·
                                   UNKNOWN                                                     BLACK                                                                                   BROWN                           D0B706156                         AR
     Occupation:                                         Employer                                               AddreSs:                                                                                                            Empq« Phone:
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~ SMTs:
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u.                                                                                                          Offenses lnwlved:
II.
0 I) 16-5-20 (1313) SIMPLE ASSAULT                                                                          1313            (2)         16-7-21 (2902) CRIMINAL TRESPASS • DAMAGE <5 2902
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     5)                                                                                                                          (6)

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     9)                                                                                                                          (10)

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gDIDINVESTIGATIONINDICATETHATTHS INCIOENTWASDRUG-RELATE!n lF O YES Ill NO O 1-AA'!lhetarino
~ ~ES PLEASE INDICATE THE TYPE OF Df!l..lG(SI \/SEO BY OFFENDER           □
                                                                                                                                            □ 2• Barbturate                    □ 3-C..Cano 0 Hiallucinogen                                  0 5° Heroin
                                                                            6 • Marijuana
                                                                                                                                            □ 1• Met!laTlPhetanine             □ 8- 0pum 0 9- S,nlhetic Nattotic                            0 U ·u'nl.nown
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:Ij REQUIRED DATA FIELDS □ ClcEARED BY ARREST □ EXCEPTIONALLY Cl.EARED □ UNFOUNDED
_, FOR CLEARANCE REPORT                                                                                                                         DATE OF CLEARANCE
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u
REPORTING OFFICER                                                                                           NUMBER                     APPROVING OFFICER                                                                                             NUMBER
!Woody i s                                                                                              3334                           Parker o b                                                                                                1815




                                                                                                                                                                                                     PLAINTIFF-024322(UI&S)
                   Case 1:20-cv-05233-SEG          Document 115-18                   Filed 01/18/24              Page 2 of 59


                   DEKALB COUNTY POLICE DEPARTMENT                                                         Case#:
                              GA0440200                                                                17-0610'\II
                                       NARRATIVE
Officef 10.Nam,r                       Dall!.                     Appro~n; Officer 10/Namo·                          Date
3334                 Woody j s         6/ 20/ 2017 4 :02·32 PM    1815                        Parker o b             6 /20/2017 8 .56 oo I'M
                      INITIAL REPORT


On 06/20n7 at approximately 15;15 hours. I responded to the United Inn and Suites located at4649 Memorial Drive in
reference ID a neighbor dispute.

  Upon arrival, I spoke with Keith Perry who stated that Oaysheana Day assaulted him by throwing a glass candle al him while
he stDod outside the doorway of room 101 _ Mr. Perry stated that the candle struck him in the side. No injuries were visible and
EMS was refused on scene. Mr. Perry stated that Ms. Day had his cell phone and damaged it by throwing it against the wall.
Mr_Perry advised that the incident was capbJred on camera. l made contact with an employee at the front desk to view camera
footage The location of the incident took place at the end of the cameras surveillance range Very little can be made out from
the footage.

    I spoke with Oaysheana Day inside room 101 about the incident She advised that she is a prostitule and that Mr. Perry is
her pimp Ms. Day stated lhat Mr. Perry became upset earlier when she refused to perfonn a sexual favor Ms Day stated that
Mr. Perry left taking his sui1case and proceeded to another female's room at the motet Ms. Day stated that the room is in her
name. Ms. Day said lhatlhe two argued in lhe doorway when he rebJmed asking about phone. Ms. Day stated thatshe did n ot
hit Mr. Perry w ith a candle and didn't have his phone. Ms.. Day gave me verbal consent to search the room. The phone was n ot
located. I attempted lo call the phone and it rang a coupl e of times and wentrov01cemail.

  Mr. Perry was provtded with a case number and victim contact care!. He was advised on the warrant and protective order
applica~on prolccol




                                                                                                                 PLAINTIFF-024323(UI&S)
                                Case 1:20-cv-05233-SEG                                                   Document 115-18                                               Filed 01/18/24                               Page 3 of 59


                               DEKALB COUNTY POLICE DEPARTMENT                                                                                                                                      Case#
                                                                              GA0440200                                                                                                     17-072065
                                                                      INCIDENT REPORT
       ncidl!nl Type:                                                                                                                                 counts              ncidenlCooe                       Offense Junsdcoon                       ~eS1Juns-n
           6-6-9 (-100-1) Prostitution                                                                                                                 1                 f!00-1                             COUNTY                                  COUNTY

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       ~- Repcn:
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           /21/2017 5:29:00 PM 7/20/2017 6·0000 PM 7/20/2017 6:20:00 PM -1649 Memorial Drive Decatur GA 30032-
       Mane (la$l. F"llll Middle):                                                                                                 Monil.er                                        008:                         Age:                     So:              Race:           Elhnicity:
       State of Georgia
       Adtnss                                                                                                      Herre#:                                 Wort<#:                             Cel#:                            Email:
       1960 w. Exchange Place Tucker GA 3008-1-
       SSN:                            ResldentSll!IIS:                        HGT·        WGT            Hait Color                   HairSty1e:                         Hair l.!ngth:                Ere Color                    OlN#:                                 Sla!a:


       Occup*n:                                               ~lortr-                                                    Address:                                                                                                                   Employer Phone:


~~ Vw;tin,Type:                                                                       Yes No      II Yes. N;rne o1 V,c11111"$ SchOol                                    LEOKA AcMy Type:                                        LEOKA Assignment Type:
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       Government                                                                     D 13
       Injuries:     0       Nono C     Mir..- :J lnlllmal 0          Teeth    0      lMmnsciaus D       La:mliom        0         Bones ::i Other                                                  Used:      w Oru;s J                AICl)llol   7     ~\llet

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       Offenders:              6)                                              [7)                                           (8)                                                     (9)                                               (10)
                               I) 400-1                                        (2)                                           (3)                                                     (4)                                               (5)
       Offenses
       I~:                     6)                                              (7)                                           (8)                                                     (9)                                               (10)

       N.rne:                                                                                                                      Moniker                               008:                           Age;                    Se.:                Race:            Ell1nici!y
       Smith, Jessica Kcny;,                                                                                                                                            . .1999                         18                      F                    B                N
       Address:                                                                                                   Horne Phone:                           Wort.Phone:                           ~ll'tione:                       Email:
       2866 Manor Court Snellville GA 30078-
       SSN:                            ResldeOIS!alus:                         HGT         WGT            Hair Color                   Hair Style:                        Holir Lenglh:                Eye Color                    OlN#:                                 Sla!a:
       ..                              RESIDENT                                509          138           BLACK                        STRAIGHT                           LONG                         BROWN
       Oca.,pation:                                            Em;,loyer                                                  Address:                                                                                                                  E1111lo-,er Ptlone:
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II.                                                                                                                    Offenses lrlYOlved:
II.
0      1) 16-6-9         (-1004) Prostitution                                                                        -100-1                (2)
       3)                                                                                                                                  (4)

       5)                                                                                                                                  (61
       [7)                                                                                                                                 (81
       9)                                                                                                                                  (10)

             WANTED:     I            WARRANT·     I I        ARREST          1111                   SUSPECT ARMED:                           WEAPON:                                                                  Used: C       Dru;s O            Alcohol D     Coir!>utor
                   TOTAL NUMBER ARRESTED:            D                        ARREST AT OR NEAR OFFENSE SCENE·                      Yes: □                  ND:   Iii
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                    GCICENTRY                        □ WARRANT                     □ UISSINGPERSONS                  □ \IEHICLE                         □ ARTICLE                                 □ BOAT                         □ GUN                      □ SECURmES


!sfs   DID INVESTIGATION INDICATE THAT THS INCIDENT WAS ORUG-RElATED7 IF O YES
       ~ES. Pl.EASE INDICATE THE TYPE OF ORUG(SJ USED BY OFFENDER
                                                                                                            II NO 0
                                                                                                                       □
                                                                                                                             1·A1111hetlmne
                                                                                                                                                       □ 2-Bn11n111                            □ 3-Cccane 0 4 • Hallucinogen                                D s- Heroin
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                                                                                                                                                       □ 7• Melh"""helanine                    □ 8 - 0pum 0 t-SynlheticNaeotit                              0 U- Unknown
a:
;1j REQUIRED DATA FIELDS
~ FOR CLEARANCE REPORT
                                           □ CLEARED BY ARREST □ EXCEPTIONALLY CLEARED □ UNFOUNDED                                                         DATE Of CLEARANCE                                               □ ADL.11.T □ JINENILE
(.)

REPORTING OFFICER                                                                                                      NUMBER                    APPROVING OFFICER                                                                                                   NUMBER
 ohnson m                                                                                                        2183                            Brannon h I                                                                                                      1911




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           Case 1:20-cv-05233-SEG                 Document 115-18                        Filed 01/18/24                 Page 4 of 59



            DEKALB COUNTY POLICE DEPARTMENT                                                                     Case#
                       GA0440200                                                                           17-072063
                                      NARRATIVE
                                      Diltll                       A!)l)(O'llng Office< 10/Nane                            IIW
              Johnson m               7/ 21 / 2017 7· 35 00 PM    1911                            Brannon h I              7/21/ 2017 7:36 00 PM
nu.:            INITIAL REPORT



The investigation into the case of lhe state of Georgia versuis JESSICA KENYA SMITH (Black Female O.O.B-
char31ed with Prostitution 16-6-9 revealed the following fads and events:
On July 20. 2017 the DeKalb County Vice Unit and the Federal Bureau of Investigations (F.81) Metro Atlzinta Child Exploitation
Task Force (MATCH) with help from the North Central Precinct Neighborhood EnforcementTeam (N.E..T.} conducted an
operzilion in reference child and adult prostitution at4649 Memorial Drive (United Inn & Suites) Decatur. Georgia 30032.

Al 1730 hours. while in an undercover capacity. I placed a call to an unknown numbe               ) that was. ,    ,    .
                                                                                                                        ,
an unknown black female who was advertising her ad on BackPage website dating se                  aisy lave
18 P~tld: 72143143Atlanta. Posied date Thursday. July 20. 2017 3.04 AM. The female was later identified as J       .
KENYA SMITH. Whi le on the phone with SMITH. she stated that ishe charged 580.00 for 30 minures for her service. and for me
to bring a condom At the same bme. SMITH stated to me ~are you the police~.
At 1802 hours. I advised SMITH via text that I was on Memorial Drive. Afterwards. SMITH~ "4649 Memorial Drive Stone
Mountain Georgia·-·Nol poli ce right?" At 1813 hours. I called SMITH and !Did her lhatl was outside at the United Inn. SMITH
advised me that her room numberwas#l32.. During this lime. I arrived atraom #132; knocked on the door and was escorted
inside lhe room by SMITH. Once i nside lhe room. I observed SMITH standing in the nude. and a female toddler sitting in a
stroller inside the bathroom. I then gave SMITH S100.00 of the U.S. Currency that derived from the Officiaf DeKalb County
Investigative Funds serial #JC07078104A. I then asked SMITH what was I gelling for the S100.00. and she stated 1 do
everything no kissing no greek-. At the same time. I gave the arrest signal and Officer Hill. Detective King along with the F.BJ
Task Force officers entered the room to place SMITH in custody.

Later. Deledive King located the S100.00 on top of a night table thatwas next to the bed.
Also. Ms. SMITH child. Maya Marie Smith 0.0.8. ~       015 was later transported to the DeKalb County Pohce Headquarters
where she was given to the custody of her grandmotherKenyada Smith.

SMITH was later transported to the DeKalb County Jail where nhe was charged with prostitution




                                                                                                                        PLAINTIFF-024325(UI&S)
                                Case 1:20-cv-05233-SEG                                          Document 115-18                                                Filed 01/18/24                               Page 5 of 59


                             DEKALB COUNTY POLICE DEPARTMENT                                                                                                                             Case#
                                        GA0440200                                                                                                                                 18-103027
                                                               INCIDENT REPORT
      rcdent Type·                                                                                                                             µ>unts             nodentCode                      Offense Ju'lsdaon                        p.rre5,1 JunsddJon
      ~6-5-1 (0912) MURDER - OTHER WEAPON 16-5-1                                                                                                1                 0912                            COUNIY                                   ;:ouNTY
      ~ 6-62 Person dead                                                                                                                        1                 NONC


~
      WANTED PERSON LOCATED                                                                                                                     1                 NONC                            COUNTY                                   i:OUNTY
      pnmsa Type:                                                                  We"'°"Type:                                                                FCMCible·                S!ranl!<I' To Stanger          Hel.lobval!d:                 LocCode:
      ~OMMERCIAL                                                                   03                                                                                                  u                                               -            560
      OaR~                                    lnc:idenlS!alt                            lnadent End:                                          lncidentlllcalion:
      ~/19/2018 8: 15:00 AM 4/19/2018 6:00·00 AM 4/19/2018 6:30:00 AM 4649 MEMORIAi DR DECATUR GA
      Na,,. (Las~ Fnt Middle):                                                                                              Mo....-                                       DOB:                         Age:                      Sex:           Race:           Ethnicity:
       MCKENZIE, GAVIN                                                                                                                                                    --1983                       35                        M              B
      Adens,                                                                                              Home#:                                    WOii<#:                            Cell#:                           Email:
      280 NORTHERN APT 16F AVE AVONDALE GA 3000
      SSN:                        Residenl Stas:                        HGT·        WGT·          Hair Coler                   Hair Style:                        Hairlength:                   Eye Color                 OlN#:                                 Sla!B:
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      Occupalion:                                      Eff'4>1oyer-                                               ~dress:                                                                                                                  En,plof" PhOne-
       UNKNOWN OR NOT STA

~     VICtitnType:
       Individual
      l~uries:       _)    None □ Mi,... !!. 1n1ana1 D
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                                                                                                                                                                LEOKA Activity Type:


                                                                                                                                                                                         Used:         C      Drugs
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                                                                                                                                                                                                                       C.       Akohal D        Cqiur
      SI\ITs:


      Relationship To        1) ACQUAINTANCE                            (2)                                           (3)                                                   14)                                                 ISJ
      Offenders:             61                                         (7)                                           (8)                                                   19)                                                 110)

      Offenses               1) 0912                                    (2)                                           (3)                                                   14)                                                 15)
      lnwlved:               6)                                         (7)                                           (8)                                                                                                       110}
                                                                                                                                                                            19)
      Na,,.:                                                                                                                Moniker                               DOB.                          Age:                    Su:                Race:           Etllnicily.
       MILLER, DARYL SHONELL                                                                                                                                    . . .1978                       40                      M                  8
      1Addres5:                                                                                           Home Phone:                               WOii< PhOne·                      Ceil Phone·                       Emai.
       2787 KEYSTONE AVE LITHONIA GA 30058-
      SSN:                        Rewen1Stas:                           HGT         WGT·          HaitCclor                    Hair Style:                        H• lengtt,:                   Eye Coler                 OUlt                                  S1a1e.
                                   RESIDENT                             509         236            BLACK                       OTHER                              BALD(ING)                     BROWN                     007403468                             SC
      Occupa1ion:                                       Emplo,tr.                                                  Address:                                                                                                                Employer PhOne.
a: UNKNOWN OR NOT STAT
~ Sll!Ts:
zw
It
0 1) 16-5-1 (0912) MURDER - OTHER WEAPON 16-5-1
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                                                                                                            0912                   (2)
      3)                                                                                                                           (4)
      S)                                                                                                                           (6)
      i71                                                                                                                          (8)
      9)                                                                                                                           (10)

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                          I I
                                                                       ■
            WANTED:               WARRANT              ARREST·                          SUSPECT ARMED:                y               WEAPON:           HANDS/FISTS/ ETC                                      Used:   ..J Drugs l l          Alcohol CJ CqUlel
                 TOTAlNUMBERARRESTED:         D                        ARREST AT OR NEAR OFFENSE SCENE:                      Yes: [       J          No:
                                   VEHICLES                                   CURRENCY. NOTES. ETC                          .EWElRY, PREC. METAI..S                         FURS
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~                GOCEN'mY                     □ WARRANT                     □ MISSING PERSONS               □ VEHICL.f                           □ ARTICLE                               □ BOAT                          □ GIJN                    □ SECURmEs
<
g     IDID INVESTIGATION INDICATE THAT THS INCIDENT WAS DRlJG.REl.ATED7 IF O YES Ill NO O 1• ,.,,.,hltamine
~ )YES, PU:ASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER
                                                                                                                                                0 2• Barllilura!e                  D 3-Cocane 0 4 • Haluc,noge~                                    D s-11nn
                                                                                                                D 6• t.!aiuana                  D 1 • -~hetanine                   D s- 0pum 0 9- S)1llhelieNacotic                                Q U - URMOWn
a:
j1jREQUIRED DATA FlEWS
-' FOR CLEARANCE REPORT
                                      □ ClEAREDBYARREST □ EXCEPTIONAlLYCLEARED □ UNFOUNDED                                                          DATE OF CI.EARANCE                                                □ AIM.T □ JWEN!lf
u
REPORTING OFFICER                                                                                               NUMBER                   APPROVING OFFICER                                                                                                NUMBER
Matthews w n                                                                                            2985                             Coachman s a                                                                                                   1830




                                                                                                                                                                                                            PLAINTIFF-024326(UI&S)
                              Case 1:20-cv-05233-SEG                                              Document 115-18                                    Filed 01/18/24                          Page 6 of 59


                            DEKALB COUNTY POLICE DEPARTMENT                                                                                                                            Case tt

                                       GA0440200                                                                                                                                  1B-101027
                                                               ADDITIONAL VICTIMS
Mane llast. F',rit Mi<ldle)                                                                                                Maril.er                    DOB                           Age                         Sex:               Rate:         Elllnic:ily
Watts, Carita                                                                                                                                          4lat9!10                      37                          F                  ll
Mcl'ess                                                                                            Homo#:                              \Volt#:                       CeU:                       Email:
 !649 MEMORIAL DR DECATUR GA 30032-
SSN:                           Resident StaM:                           HGT          WGT          Hair Color.                 Hair Style·           Hair lenglh·              EieCab-                Ol.Nft                                         Stam:
                                                                        504          140          BLACK                                                                       BROWN
~=                                                         ~                                                                Adel-us:                                                                                           Ei11JloyerPhane:

VICtiml)'pe:                                                 Student          Yes No        WYes. N-DfViclim's Sc!IOal:                               lEOKA AdMly T,Pe:                                      LEOKA Assigrment T)'lle:

                                                                               D eJ

Injuries:   □ Nane C             Minar D     lnt<mal :J     Teeth   D         Una>n$Cious   D     lacemollS       □        Banes      0     Othe,                                 Used:     ':J     Clru9s                 D   Alalhol      □ CGlr4>uttf

SMTs:
RNliollstiipTo         t)                                           121                                              (J)                                              (4)                                            15)
OllendeB:              6)                                           m                                                (8)                                              (9)                                            110)
Offenses               1)                                           (21                                              fl)                                              (4)                                            (5)
lnvolYed:              6)                                           (7)                                              (8)                                              (9)                                            (10)
~ (last. FntMiddlel.                                                                                                       Maril.er'                    DOB:                         Age:                        Su:                Race:         Ethnici1y·
AVERY, JACQUELYN                                                                                                                                        --1979                       38                          F                  B             N
Adlfess                                                                                            Homo#:                              Wo,l#:                        Celll:                     Email·

GA -
SSN:                           Resident Status.                         HGT          WGT          HairCab-                   HaStyle:               Hair l.eflgth:            E11 Color              Ol.Nft                                         Stale.

Cla:upaliOn:                                               ~lo,er:                                                          Addn!ss:                                                                                           Employer Phone:

Voclim Type:                                                 Student      Yes No            II Yes. N.m, olViclin's School:                           lEOKA AdMty T)'lle:                                    LEOKA Assigl'lllellt T)'lie:
                                                                              0     [tJ


Injuries:
            r      Nore n       Minar   -    lnlemal   r    Teeth   0         Unconscioui   0     Lacera1ioos     :i       Bones      C     Other                                 Used:     0      Clru9s
                                                                                                                                                                                                                         ::;   Alalhol      r     Corri,uttf

SMTs:
Relalionship To        t)                                           (2)                                              (J)                                              (4)                                          (Sl
Ollendef1:             6)                                           (7)                                              (8)                                              (9)                                          (10)

Offenses               I)                                           (2)                                              (l)                                              (4)                                          (51
lnwlved:               6)                                           (7)                                              (8)                                              19)                                          (tO)
Mane (I.all F'nt Mid<le)·                                                                                                  Mariloer                    DOB.                          Age:                        Se,:              Race:          Elllnidty:
NOT APPLICABLE                                                                                                                                                                       00                          u                  u
Adcl'ess                                                                                           Home#:                              Worl;lt.                      Cell#:                     Email:
NOT APPLICABLE
SSN:                          Resident Sta!us:                          HGT         WGT           Hair Color                 Hair Style:            Hair lengdl.              Eie Color.             Ol.N#:                                         Stale.
                                                                                                  UNKNOWN UNKNOWN UNKNOWN UNKNOWN
Occupalion:                                                Eir!Jloyer                                                      Address:                                                                                            ~Phone:

VldinT)'pl:                                                  Student      Yes      No       It Yes. N1111e Dfv.ctim's School·                         lEOKA.AdMlyT)'pe:                                      lEOKAAssigrtnent Tn>e:

Unknown                                                                       D     ~


Injuries:   □ None L            Minor □      Internal :J    Teeth   □         Unconscoous   D    llafatiallS     0         Bones   n Other                                        Used:     C      °'119>                □     Alcohol      'j    Corri,uttf

SMTs:
Relationship To       ~II RELATIONSHIP UJ\                          (2)                                              (l)                                              (4!                                          fS)
Offenders:             6]                                           m                                                (8)                                              (9l                                          (tOJ
Ollensl!s              IJ None                                      (2)                                              fl)                                              (4l                                          15)
lnvolYed:              6)                                           m                                                18)                                              (91                                         (1D)




                                                                                                                                                                                             PLAINTIFF-024327(UI&S)
                   Case 1:20-cv-05233-SEG           Document 115-18                     Filed 01/18/24            Page 7 of 59


                   DEKALB COUNTY POLICE DEPARTMENT                                                      Case#
                              GA0440200                                                              111-101027
                                        NARRATIVE
Officer 10/Name:                        DR                          Appra.,ng Ol1lcer ID Name.                       Date
2985                Matthews w n        4/19/2018 8 30·00 AM        1830                     Coachman s a
                     INITIAL REPORT


On 4/19/2018 atapproximatety 6:15 am. I responded ID 4649 Memorial Or (United Inn) in reference to a Fight Upon my arrival,
I observed a female performing CP.R on a male on the ground in front of room #320.

  The female identified as Carita Watts (clerk) stated she observed a male on IDp of the victim. she advised the suspect was
holding the victim down with both hands on his shoulders saying. "man stop trying to 11ttack me.■ The witness advised the male
suspect(black male approximately 57n80 lbs-190lbs/possible dark camouflage long sleeve shirt/dark pants) got up and
walked away from the location. she also advised the victim was not moving when the suspect got up off of him.

    Ms. Watts slated the suspect got on lhe Marta #121 bus and left.the localion. A lookout was given in reference ID the
suspect. Marta Police was also advised Major Felony detective Muller and Sgt Walker responded to the scene. The Victim
was transported ID DeKalb Medical Hospital (Decatur} by AM_R #51 in critical condition at this lime. The victim. Mr. Mckenzie.
filed a police report earlier this date in reference to him being aasaulllld. case 1118-102999.

     Video footage wl!!lsavadable atlhe office in reference to this inadent




                                                                                                                  PLAINTIFF-024328(UI&S)
                  Case 1:20-cv-05233-SEG           Document 115-18                    Filed 01/18/24                 Page 8 of 59


                  DEKALB COUNTY POLICE DEPARTMENT                                                           Case#:

                             GA0440200                                                                   18-103027
                                      NARRATIVE
Offi<erlD/Nane:                        Data:                       Approw,g Officer 10/N;me·                            Dall!:
3394               Clarke m            4/19/2018 12 52.50 PM       18"\0                       Co.-,chmiln s a
,Ille:              ADDITIONAL NARRATIVE


Report Date;
Reporting Officer. 3394 • Clarice m
Approving Officer: 1830 - Coachman o a

On April 19. 2018. I responded to 4649 Memorial Dr to a fight

 During the course of the investigalion. I ln!lnsported Ms. Jacquelyn Avery a suspect involved in the incident to Headquarters.
 Ms. Jacquelyn was interviewed. charged and transported to DeKalb County Jail




                                                                                                                     PLAINTIFF-024329(UI&S)
                  Case 1:20-cv-05233-SEG          Document 115-18                    Filed 01/18/24                Page 9 of 59


                  DEKALB COUNTY POLICE DEPARTMENT                                                         Case#
                             GA0440200                                                                111-103027
                                     NARRATIVE
Offic2tlll/Name                       On.                        Approv,nu Officer 1omame:                            On
2739               Banahcnc c a       -1/23/2018 5:11 59 PM      1951                        Benion r a              -1/2-1/2018 6, '.\1;56 AM
TIiie:              SUPPLEMENTAL NARRATIVE


 Report Date· 04/23/2018 10:00·00
 Reporting Officer. 2739 • Banahene ea
 Approving Officer 1951 • Benton r a

 Suspect Daryl Shonell Miller. BJM. 40 years old (00B . - ,978). 509/236 pounds. dark complexion with a low hair and 1
 black/gray bushy beard. The suspect was wearing basketball shorts when he was taken into custody.


 On Apnl 23. 2018. at approximately 1003 hours. Officers R. Coquemar. #3432. K Hoyt, #3284 (4420). T. Lattimore. #3266,
 Sgl R. Benton (4140} and I reaponded with Sgl Ouigley (Unit910) oflhe Homicide Section in reference to conducting a follow•
 up investigation at 2787 Keystone Avenue regarding locating a person of interest in a nwrder.

When we arrived at the location, Sgt Quigley met with the complainanl who let us inlD the residence. and pointed ID the rear
left bedroom on the main ffoor. As Sgt Quigley. SgL Benton. Officer Coquemar and I went i nside the home. Officers Hoyt and
Lattimore went to the rear of the home Sgl Quigley opened the door ID the rear left bedroom and I observed the suspect
sleeping in a sleeping bag on the ffoor of the room. Sgt Quigley called the suspecfs name and IDld him ID show his hands.
The susped was unarmed. Officer Coquemar 1Dok the suspect into cuslcdy and Sgt Quigley advised lhe suspect of our reason
for being there. Before we took the susped outside. he asked for some clothes and his camouflage jacket and a ~aler were
taken wilh him along with the basketball shorts he was wearing, a pair of black tennis shoes and his two cell phones.

 Officer Coquemar and I transported the suspect ID the DeKalb County Police Headquarters. where he was interviewed by
 Homicide Detectives. Sgt Quigley later advised Mr. Milter of lhe charge of Murder and asked that lhe suspect be transported to
 the DeKalb County Jail on Warrant #18-W--006685. Officer Coquemar and I transported Mr. Miller ID the jail Without inciden t

 My Body-Wom Camera was activated and has been classified and saved appropriately.

 Officer E. Banahene #2739/0fficer R. Coquemar. #3432.




                                                                                                                   PLAINTIFF-024330(UI&S)
                             Case 1:20-cv-05233-SEG                                          Document 115-18                                            Filed 01/18/24                                  Page 10 of 59


                             DEKALB COUNTY POLICE DEPARTMENT                                                                                                                           Case#
                                        GA0440200                                                                                                                                lR-10,027
                                                                INCIDENT REPORT
      nadenl Tll)e:                                                                                                                          '-0Un1S           IICldent COIie                  Offense .Jur!Sd-•                         ~rres:t JunsdlCllon
      16-5-1 (0912) MURDER • OTHER WEAPON 16-5-1                                                                                              1                ~912                            COUNTY                                    '.:OUNfY
      16-62 Person dead                                                                                                                       1                INONC

I     lVANTED PERSON LOCATED
      l'fltlllS8 T11)0:
      ::OMMERCIAL
      DaR~                                       lnadent Strt
                                                                                  Weapon Type:
                                                                                  03
                                                                                         Incident End:
                                                                                                                                              1


                                                                                                                                            Incident 1.acaion:
                                                                                                                                                               INONC
                                                                                                                                                           FO!Cible:
                                                                                                                                                                                     u
                                                                                                                                                                                               COUNTY
                                                                                                                                                                                     Strar19er To S~anger          HalaMobval!d:
                                                                                                                                                                                                                                   ::J
                                                                                                                                                                                                                                         ~OUNTY
                                                                                                                                                                                                                                                   uic:Code:
                                                                                                                                                                                                                                                   560

      ~/19/2018 8:15:00 AM 4/19/2018 6:00:00 AM 4/19/2018 6:30:00 AM 4649 MEMORIAi DR DECATUR GA
       N.,,. (last. f"nt Midde):                                                                                           Mri;er:                                     008:                         Age:                      Sea:            Race:            EtMcity:
       MCKENZIE, GAVIN                                                                                                                                                 --1983                       35                        M                B
      Adlhss                                                                                                 Hon#:                                Wad<#:                             Col#:                           Email:
       280 NORTHERN APT 16F A VE AVONDALE GA 3000
       SSN:                        ResidenlSt.llus:                   HGT·         WGT·          Hair Coler                   Hair Style:                      Hair Length:                  EieCclor                   OI.N#:                                 Stall:
                                                                                                                                                                                                                        049035076                              GA
       Occupalion.                                       en.,1oyer                                               Address:                                                                                                                Emplorer Phone:
       UNKNOWN OR NOT STA

~     VldimTr11e:
       Individual
       Injuries:
                                                                Sludent:
                                                                             Yn
                                                                              C 2:
                                                                                  No      If Yes. Nano ol Vldim's School


                       r None :l Minor E2l Internal .J Teeth f:!. Una>nscious .:!l Laceralicw C Sones ~ Ollie,
                                                                                                                                                             l.EOKA AclNlly Tll)e:


                                                                                                                                                                                                    L
                                                                                                                                                                                                                    LEOKA Assignn,e,tt Type:


                                                                                                                                                                                                                    C       Alcohol ,'.J Compute,
                                                                                                                                                                                      Used:                Drugs
       St.lTi;


       Retnonship To         11 ACQUAINTANCE                          {21                                            (31                                                  (41                                               15)
       Offenders:            61                                                                                      (81
                                                                      171                                                                                                 (91                                               1101
       Offenses              11 0912                                  121                                            (31                                                  (41                                               15)
       lnl/Ohed:
                             61                                       171                                            (81                                                  (91                                               1101
      ~:                                                                                                                   Mrie,'                              008:                          Age:                    Sex:                Race:            Ellwcitr
      MILLER, DARYL Sl·IONELL                                                                                                                                  111111-1978                   40                      M                    B
      iAddJus·                                                                                           Home Pllone:                             Wert.Phone:                     Cell Phone:                        Email:
      2787 KEYSTONE AVE LITHONIA GA 30058-
       SSN:                        Resident SlabJS:                   HGT          WGT           HairColcr                    Hair Style:                      Hair Lengllt                  EreCclor                   OI.Nlt.                                Stale:
                                   RESIDENT                           509          236           BLACK                        OTHER                            BALD(ING)                     BROWN                      007403468                              SC
      Occupation.                                        Employer                                                Addless:                                                                                                                Effll)lo~Pllone:
a: UNKNOWN OR NOT STAT
~ SMTs:
zw
II.                                                                                                            Offenses IIMIM!d:
IL.
0 1116-5-1 (0912) MURDER - OTHER WEAPON 16-5-1                                                                0912                 (21
      JI                                                                                                                           (41
      51                                                                                                                           (61
      7)                                                                                                                           (81
      9)                                                                                                                           (10)

                        □ WARRANT· l I ARREST· ARREST AT OR NEARSUSPECT
           WANTEO:                                                      ARMED:                                       y               WEAPON:         HANDS/FISTS/ETC                                       Used:     I ~ :J Alcohol C                     Compulet

                   TOTAL NUMBER ARRESTED: It I                  OFFENSE SCEIE:                                              Yes:   LJ              No:.
                                   VEHICLES                                 CURRENCY, NOTES. ETC                           JEWELRY, PREC. METAI.S                         FURS
                   ISTOLEN                                                  ;o.oo
                                                                                                                                                           I
                                   1s0.00
                   IRECOVERED      t;o.oo                                     0,00
                                                                                                         I
                                                                                                                           10.00
                                                                                                                            0.00
                                                                                                                                                                          10.00
                                                                                                                                                                           0.00                         I
~                                  CLOTHNG                                  OFFICE EQUIP.                                  lV. RADIO. ETC                                 HOUSEHOI.O GOODS
                   I
                   STOLEN          r.00                                     10.00
                                                                                                         I
                                                                                                                           10.00                                          10.00

*
a:
Q.
                   RECOVERED        0,00
                                   FIREARMS
                                                                             0.00
                                                                  CONSUMABLE GOODS                LIVESTOCK
                                                                                                                            0.00
                                                                                                                                          OTHER
                                                                                                                                                           I               0.00
                                                                                                                                                                                     TOTAi.
                                                                                                                                                                                                        I
                                   to.oo                         to.oo
                   1:::REO           0.00                          0.00                     I     ~0.00
                                                                                                   0.00                            I to.oo   0.00                               I to.oo0.00                            I
~                  GCICENTRY
                                                 □ WARRANT                 □ MISSING PERSONS                 □ VEHICLE                         □ ARTICLE                              □ BOAT                          □ GUN                      D secvRmes
<
g   DID INVESTIGATIOt/ INDICATE THAT lttS INCIDENT WAS ORUG-RELATEO? IF O YES II NO 0 1 • M1>hetanine
!slYES, PLEASE INDICATE THE TYPE OFDRUG(SIUSEO BY OFFENDER                          □
                                                                                                                                              0 2-Barlltlr.lle                   D J- eocane 0 4 -Hu nogen                                       0 5 -Henin
                                                                                                                     6-Mi19Uana               □ 1 - Me~helanine                  D e -0p,um 0 9, SyMhetic ~                                      0 U- Unknown
iiia:_, REOOIRED             □ CLEARED BY ARREST □ EXCEPTlONAI.LY CLEARED □ UNFOUNDED
                                                                                                                                                                                                                   □ Allll.T □ JWENII.£
                 DATA FIELDS
        FOR CLEARANCE REPORT                                                                                                                      DATE OF CI.EARANCE
0
REPORTING OFFICER                                                                                              NUMBER                    APPROVING OFFICER                                                                                               NUMBER
Matthews w n                                                                                             2985                            Coachman s a                                                                                                 1830




                                                                                                                                                                                                        PLAINTIFF-024331(UI&S)
                            Case 1:20-cv-05233-SEG                                               Document 115-18                                   Filed 01/18/24                        Page 11 of 59


                        DEKALB COUNTY POLICE DEPARTMENT                                                                                                                             Case#·

                                   GA0440200                                                                                                                                   I 8-103027

                                                              ADDITIONAL VICTIMS
~ IUSI- Fnlf.Alddle)"                                                                                                      Ma"ker                     DOB:                        Age:                      Su.             Race          E1hl>Cilr
Watts, Corila                                                                                                                                        . . .191!0                   37                        F               D
Alknss                                                                                              Home#:                            WorU                        Cel#:                      Emat

!649 MEMORIAL DR DECATUR GA 30032-
SSN:                          Resident Sta1us:                           HGT·         WGT         Hai-Color                  Hair Slyte·           Hair Len~:              E,e Colar.            Ol/U                                       Slall:
                                                                         50,1         HO           BLACK                                                                   BROWN
Occ141alion:                                               ~,er                                                            Address:                                                                                     Employer Phone:


VlCUm Tn,e:                                                  Student        Yes Na           KYes, Naone ot Vmn·s Sl;lleol:                          lEOKA~ T)Pe:                                        LfOKA Asslgrment Type:

                                                                                0    B

l,.uries:     u    None □       Minor C       1n1erna1 C   Tee1h     D Uncanscious D              Lacerations     □        Bones   0       01her                               Used:     0      °'119'             0    Alcohol      0    Coft11uter

SMTs:
RelalionshipTo        1)                                             (21                                             (3)                                           (4)                                        (5)
Offlnden:             6)                                             (7)                                             (8)                                           (9)                                        (10)

Offenses               1)                                            (2)                                             (3)                                           (4)                                        (5)
ln..,lved:            6)                                             (7)                                             {8)                                           (9)                                        (10)

Name (Last. Forst Middle):                                                                                                 Moniker                    DOB:                        Age:                      Sex;            Race:         Elllnicily:
AVERY, JACQUELYN                                                                                                                                     . . .1979                    38                        F               B             N
Ad<nss                                                                                              Home#:                            Wo,ic.#:                    Cel#:                      Emal:

GA -
SSN:                           Re5iden1 Stalus:                          HGT          WGT          HairColor                 HairSlyte:            Hair Length:            E,eColor              OlN#:                                      Staie:


~Ilion:                                                    ~,er                                                            Address:                                                                                     Employer Phone:


VIC1im Type:                                                 ShJdent        Yes Na           If Yes, Naone DI Vodim's School:                        LfOKAAdMtyType:                                     lEOKA Assiljffllent Type:

                                                                                D    @


Injuries:     □    None ~        Minor □ lril!mal :J        Teelll   0         Unconscious   0    Laceralions     D        Bones   C       Other                               Used:     7      Orug,               C   IJmhal       Ll   c:ai,,uter


SMTs:
Rolationshil To       (I)                                            (2)                                             Ill                                           (4)                                        (5)
Offlnden:             6)                                             171                                             18)                                           (91                                        (10)

Offenses               I)                                            (2)                                             [3)                                           (4)                                        (5)
ln-.;)!ved:                                                          [7)                                             [8)                                                                                      (10)
                      ,6)                                                                                                                                          (91

Naone (Last. FtrSl Midlle)·                                                                                                Moniker                    DOB•                        Age:                      SU:             Race:         Etllnicily:
NOT APPLICABLE                                                                                                                                                                    00                        u               u
Adlhss                                                                                              Home#:                            WOfl<#:                     Celll:                     Emai:
 NOT APPLICABLE
 SSN:                          Resident Slallls:                         HGT          WGT          Hair Color                Hair Slyte:           Hair Length.            Eye Color             OI.N#:                                     Stam:
                                                                                                   UNKNOWN UNKNOWN                                 UNKNOWN UNKNOWN
Occupation:                                                Effl>loier-                                                     AddrHs:                                                                                      Bnpioyer Phone:


VldinT,i,e:                                                  Student           Yes No        l!Yes. NaneolVdim'SSclleol:                             LEOKAAdMtyType:                                     LfOKA Assigm,ent Type:

 Unknown                                                                        D    @


 Injuries:    C.   None □        Minor D      lril!mal □    Tee1h    0          Unconscious D     Lacera!ions     CJ       Bones 'J        01her                               Used:     ..J    lln,gs             □    IJmhol       0    c:ai,,uter

 SMTs:
 Relationship To       1)     RELATIONSHIP Ul\                       12)                                             (3)                                           (41                                        (5)
 Offlnden:             6)                                            [7)                                             (8)                                           (91                                        (10)

 Offenses              t)     None                                   [2)                                             (3)                                           (4)                                        (5)
 ln..olved:            6)                                            [7)                                             (8)                                           (91                                        (10)




                                                                                                                                                                                          PLAINTIFF-024332(UI&S)
                  Case 1:20-cv-05233-SEG            Document 115-18                     Filed 01/18/24              Page 12 of 59


                  DEKALB COUNTY POLICE DEPARTMENT                                                            Case#:

                             GA0440200                                                                    111-1113027
                                        NARRATIVE
Office< ID/Name                         Date                         Aj)l'fO'Mg Oflleer ID/Nane                           Daie.
291!3               Matth~ws w n        -l/19 / 2018 11.30 00 AM     1830                         Coachman s a
                     INITIAL REPORT


On 4n 9/2018 atapproximately6:15 am. I responded to4649 Memorial Dr (United Inn) in reference to a Fight Upon my arrival.
I observed a female perfcnnmg CP.R on a male on the ground in front of room #320.

  The female identified as Corita Watts (clerk) stated she observed a male on top of the victim. she advised the suspect was
holding the victim down with both hands on his shoulders saying. *man slop trying to attack me.• The wi1neso advised the male
suspect (black male approximately 57/180 lbs-1901bs/possible dark camouflage long sleeve shirt/dark pants) got up and
walked away from the location. she also advised the vicbm was not moving when the suspect got up off of him.

    Ms. Watts slated the suspect got on the Marta #121 bus and left the location_ A lookout was given in reference lo the
&uspect Marla Police wns also advised Major Felony detective Muller and Sgt Walker responded to the scene The Victim
was transported lo DeKalb Medical Hospital (Det:alur} by AM.A #51 in critical condition at this time The victim. Mr. Mckenzie.
filed a police report earlier this date in reference to him being a&saulted. case #18-102999

     Video footage was available at the office in reference to this incident




                                                                                                                        PLAINTIFF-024333(UI&S)
           Case 1:20-cv-05233-SEG                   Document 115-18                    Filed 01/18/24             Page 13 of 59


             DEKALB COUNTY POLICE DEPARTMENT                                                                Case#:
                        GA0440200                                                                        1 K-103027
                                      NARRATIVE
Otfa, ~                                Dale.                          ,\pp<O'llng Oke,lilmant
139-1          Clarke m                -1 /1 9 / 2018 12 52 50 Pl\!   1830                      C oachman s a
TIiie:           ADDITIONAL NARRATIVE


 Report Date:
 Reporting Officer: 3394 - Clarice m
 Approving Officer- 1830 - Coachman s a

 On April 19. 2018. I responded to 4649 Memorial Dr to a fight

 During lhe course of lhe investigation. I transported Ms. Jacquelyn Avery a suspect involved in the incident to Hezidquarters.
 Ms Jacquelyn was interviewed. charged and transported to DeKalb County Jail




                                                                                                                     PLAINTIFF-024334(UI&S)
              Case 1:20-cv-05233-SEG            Document 115-18                   Filed 01/18/24             Page 14 of 59


              DEKALB COUNTY POLICE DEPARTMENT                                                            Case#
                         GA0440200                                                                   18-101027
                                    NARRATIVE
Olfar ID!l-                          Dale:                      Appraw,g Officer ID/Nano:                           Dato
2739            Banah,me c a         4/23/2018 5 11 59 PM       1951                        Benion r a              .J / 2.J / 2018 6.31 56 AM
                 SUP PLEMENTAL NARRATIVE


Report Date 04/23'2018 10.00:00
Reporting Officer: 2739 - Banahene ea
Approving Officer 1951 • Benton r a

Suspect Daryl Shonell Miller. Bt't-1. 40 years old (DOB . . .1978). 509/236 pounds. dark compfexion with a low hair and a
black/gray bushy beard. The suspect was wearing basketball shorts when he was taken into custody.


On April 23. 2018. at apprDX1mately 1003 hours. Officers R. Coquemar. #3432. K. Hoyt. #3284 (4420). T. Lattimore, #3266,
Sgl R. Benton (414D) and I responded with Sgl Quigley (Unit91D) oflhe Homicide Section in reference to conducting a follow•
up investigation at 2787 Keystone Avenue regarding locating a person of interest in a murder.

When we arrived at the location. Sgl Quigley met with the complainanl who let us into the residence. and pointed to the rear
left bedroom on the main floor. As Sgt. Quigley, Sgl Benron. Officer COC1uemar and I went inside the home. Officers Hoyt and
Lattimore went to the rear of the home. Sgt Quigley opened lhe door ID the rear left bedroom and I observed the suspect
sleeping in a sleeping bag on lhe floor of the room. Sgt Quigley called the suspect's mime and told htm to show his hands.
The suspect was unanned. Officer Coquemartook the suspect into cuslcdy and Sgt Quigley advised the suspect of our reason
for being there Before we took the suspect outside. he asked for some clothes and his camouflage jack.et and a sweater were
taken with him along with the basketball shorts he wao wearing, a pair of black tennis shoes and his two cell phoneo.

Officer Coquemar and I transported the suspect to the DeKalb County Police Headquarters. where he was i nterviewed by
Homicide Detectives. Sgt Quigley later advised Mr. Miller of the charge of Murder and asked that the suspect be transported ID
the OeKa1b County Jail on Warrant #18-W..(106685. Officer Coquemar and I transported Mr_ Miller to the jail without incident

My Body-Worn Camera was activated and has been classified and saved appropriately_

Officer E. Banahene #2739/0fficer R. C0(1uemar. #3432.




                                                                                                                 PLAINTIFF-024335(UI&S)
                               Case 1:20-cv-05233-SEG                                              Document 115-18                                               Filed 01/18/24                                      Page 15 of 59


                               DEKALB COUNTY POLICE DEPARTMENT                                                                                                                                  Case#.
                                          GA0440200                                                                                                                                       18-103027
                                                                      INCIDENT REPORT
     ""denlTypt                                                                                                                                      Ccunts              nCldent~                        Offense JullSdaon                         l"'c"' JunsdlCIJcn
     16-5, 1 (0912) MURDER - OTHER WEAPON 16-5-1                                                                                                      1                  0912                            COUNTY                                    ~OUNIY
     16-62 Person dead                                                                                                                                1                  NONC


I    WANTED PERSON LOCATED
     l'lemiseT11>e:
     ::OMMERCIAL
     D•Report                                         lnodenl Start
                                                                                       weapon Typt:
                                                                                       03
                                                                                              Incident Elld:
                                                                                                                                                      1


                                                                                                                                                    Incident toeation:
                                                                                                                                                                         NONC
                                                                                                                                                                     Fortillle:
                                                                                                                                                                                              u
                                                                                                                                                                                                         COUNTY
                                                                                                                                                                                              SlrangerTo Snnger-               Halt Motlvalld:
                                                                                                                                                                                                                                               n
                                                                                                                                                                                                                                                   ~OUNTY
                                                                                                                                                                                                                                                             LocCocle.
                                                                                                                                                                                                                                                             560

     ~/19/2018 8:15:00 AM 4/19/2018 6:00:00 AM 4/19/2018 6:30.00 AM 4649 MEMORIAi DR DECATUR GA
      Naiw [I.ISi. Frst Middle):                                                                                                   Monb"                                          DOB:                          Age:                      Sex:          Race:            Elllnidty:
      MCKENZIE, GAVIN                                                                                                                                                             --1983                        35                        M              B
     Ad,nss                                                                                                        Homes:                                 Worl.11:                            Celll:                             EINil:
      280 NORTHERN APT 16F AVE AVONDALE GA 3000
      SSN:                             Reside!lt Stalu$:                    HGT         WGT           HairCdcr                        Hait Style:                        Hairl.e"91ft                  EJ11Calor                   OlNII:                                Stale:
                                                                                                                                                                                                                                   049035076                             GA
      Occ141alioft:                                            ~,er                                                    Add11ss:                                                                                                                    Employer Pholle.
      UNKNOWN OR NOT ST A


~    V"ldinTrpe:
      Individual                                                      SIUdert
                                                                                  Yes No
                                                                                   L    ~
                                                                                               If Yes, NaneOl\fdm's School                                             LEOKA Activity Trpe:                                     LEOKA l\ssignment Tll)o:


      l~ries:        r       No!Wl 7     Mita 0       ll1ffllll CJ    Teeth ~     Unconsoous ~ Laceralions             -,...       Bones ;::.       Other                                       Used:           :J     Drugs     ::J     Alcohol   :J    COll'4)ftr
     SMT1:


     Rela!ionship To            11   ACQUAINTANCE                           (2)                                             (3)                                                     (4)                                                  (5)
     Offenders:                6)                                           (7)                                             (8)                                                     (9)                                                  (10)

     Offenses                   1) 0912                                     (2)                                             (3)                                                     (4)                                                  (5)
     I~                        6)                                           (7)                                             (8)                                                     (9)                                                  (10)

     !Nano:                                                                                                                        Monier                                DOB.                          A1111:                    Se.<:             Race:              ElMci1y'
     MILLER, DARYL SHONELL                                                                                                                                              -1978                          40                        M                  B
     !Address:                                                                                                 Heme Phone:                                Worl.Phone:                      Cell Phone:                           Email:
     2787 KEYSTONE A VE LITHONIA GA 30058-
     SSN·                              Resident Slaus:                      HGT         WGT           H•Cdcr                          Hair Style:                        HairL~                        Eye Color                   Ol.N#:                                SIB:
                                        RESIDENT                            509          216          BLACK                           OTHER                              BALD(ING)                     BROWN                       007,103468                            SC
     ~        ation.                                            Employer                                                Addrf:ss:                                                                                                                  Errc,toyor Phone·
a:: UNKNOWN OR NOT STA"I
 ~    SMTs:
zw
tt: 1) 16-5-1 (0912) MURDER - OTHER WEAPON 16-5-1                                                                    Offenses OVONed.
0                                                                                                                   0912                   (2)
     J)                                                                                                                                    (4}
     5}                                                                                                                                    (6)

     m                                                                                                                                     (BJ
     9}                                                                                                                                    (101
          WANTED:        I             WARRANT      I I        ARREST
                                                                           1111                   SUSPECT ARMED                y             WEAPON·          HANDS/ FISTS/ETC                                         Used: □ 0"'95 :J Alcohol D Corri,Uier

                 TOTAl NUMBER All RESTED:            It I                  AIIREST AT OR NEAR OFFENSE SC£NE:                        Yes:   l J             No.   Iii!
                                        VEHICLES                                  ClJIRENCY. NOTES. ETC                            JEWElRY. PREC. METALS                            FURS
                 !STOLEN                1so.oo                                    10.00                                            ;o.oo                                            10.00

~
                 IRECOVERED             t50.oo
                                        CLOTHING
                                                                                   0.00
                                                                                  OFFICE EOUIP.
                                                                                                               I                    0.00
                                                                                                                                   TV. RA040. ETC
                                                                                                                                                                     I               0.00
                                                                                                                                                                                    HOUSEHOLD GOOOS
                                                                                                                                                                                                                     I
& I               STOLEN
                 :RECOVERED
                                        r.oo
                                         0.00
                                                                                  ;o.oo
                                                                                    0.00                       I
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If                                      FIREARMS                        CONSUMABLE GOOOS                LIVESTOCK                                 OTHER                                       TOTAi.
                 ISTOLEN
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                                                                                                                                                  ~0.00                                       to.oo
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~
<
                 GOCENTRY                            □ WARRANT                  □ MISSING PERSONS                   □ VEHICLE                          □ Allna.E                                □ BOAT                            □ G\JN                   □ SECURmes


g    040 IN\1£STIGATION INDICATE THAT THS INCIOENT WAS ORUG-RElATEO7 IF O YES
~ !YES, PlEASE INOICATE THE TYPE OF ORUG(SI USEO BY OFFENDER
                                                                                                        II NO O 1• 1\n11helamne 0 2• Bnllnlll
                                                                                                                     □
                                                                                                                                                                                           □ l • Cocai,. 0 4- H..IICinogen                                 0 5• Heroin
                                                                                                                               6 -M~uana              D 7, Me1han,,helnine                 □ 8- ()pium 0 9· Synthetic Natntic                              0 U· Unknown
er
j5 REQUIRED OATA FIELDS
..J FOR CLEARANCE REPORT
                                           □ CLEARED BY ARREST             D       EXCEP'T10NALLy CtEAREO            □ UNFOUNDED                          OATE OF CLEARANCE                                                    □ A!lU.T □ JUVENILE
0
REPORTING OFFICER                                                                                                    NUMBER                      APPROVING OFFICER                                                                                                 NUMBER
Matthews w n                                                                                                   2985                              Coachman s a                                                                                                   1830




                                                                                                                                                                                                                     PLAINTIFF-024336(UI&S)
                             Case 1:20-cv-05233-SEG                                                Document 115-18                                     Filed 01/18/24                           Page 16 of 59


                         DEKALB COUNTY POLICE DEPARTMENT                                                                                                                                  Case#"

                                    GA0440200                                                                                                                                        11!-10,027
                                                                ADDITIONAL VICTIMS
Name (last Fnl Middle)                                                                                                       Maril.er·                    DOB                            Awe:                         Se,.           Race:          Elllnocity
Watts, Corita                                                                                                                                             --1980                        37                            F               B
Adinu                                                                                                 Homell:                            \Volt.II:                    Celll:                        ElNII

4649 MEMORIAL DR DECATUR GA 30032-
SSN:                             Resident Slalus:                          HGT         WGT          Hair Color:                Hair Slylo.             Hairlengtt,.              E111Color.                 Cl.NII:                                   Slall!.
                                                                           504         140          BLACK                                                                        BROWN
~•:                                                          &l)loyer                                                        Adcnss:                                                                                             Employe< Phofle:


Vlclirn Type:                                                  Sllldent      Yes Na            HYes. Name of Vclim's ScllOOI:
                                                                                                                                                                                                                                                                   I
                                                                                                                                                         LEOKA Adivily Tn,e:                                    LEOKAAssigrmontlype:

                                                                                 D el                                                                                                                                                                              I
lnjffl:        {'j   None [:I     Minor □ Internal 7         Teeth     r         Unconscious 0      l.ace!ations   Cl        Bones   LI       Odle(                                   Used:     0      Dnigs                 0   Alcohol      D eon.,uier

SMTs:                                                                                                                                                                                                                                                              I

Relationship To         I)                                             (2)                                             (3)                                             (4)                                             (51                                         I
Offendefs:                                                             (7)
                        61                                                                                             (8)                                             llll                                            (101                                        I
Offenses                1)                                             12)                                             (3)                                             [41                                             (51                                         I
Involved:               6)                                             171                                             (81                                             (9)                                             (10)                                        I
Name (last Fnl l,idcltl:                                                                                                     Maniler                      DOB·                          Awe:                          Su             Race:          Etllnicit·,-
AVERY, JACQUELYN                                                                                                                                         4ll9-1979                      38                            F               B             N
Adctess                                                                                              Home II:                            Warkll:                      Celll:                        ElNII

 GA •
                                                                                                                                                                                                                                                                   I
SSN:                             Resident Slalus:                          HGT         WGT          Hair Colar                 Hair Slylo.             Hairlengtt,:              E111 Colar.                Cl.NII:                                   State·

0ccul)atian:
                                                                                                                                                                                                                                                                   I
                                                             Err!lb!llt"                                                     Address.                                                                                            Employer Phalle:

VQmTn>e:                                                       Student       Yes      Na       ttYes. Name ofV1Clim'sSchacl.                             LEOKA Activily T111e:                                  LEOKA Assigrmenl Type:

                                                                                  D    ~


lryuries:
               r-
                     Nane ~  -     Minar D     lll1emal :J    Teellt   0         Unmnsclaus    0    l.ace!atians   C         Banes   0        Oll,e,                                  Used:     n Onigs                      L   Almhol        _]    eon.,uier

SMTs:
Rela!ic<lshipTo         I)                                             (2)                                             (Jf                                             (4)                                             (5)
Offendffl:              6)                                             (7)                                             (81                                             (91                                             (101

Offenses                I)                                             (2)                                             (31                                             14)                                             (5)
Involved:               6)                                             (7)                                             (8)                                                                                             (10)
                                                                                                                                                                       19)

Name (last Fnl Midole).                                                                                                      Maril.er                     DOB                           "99:                          Sei:           Race:          Elhnocily·
NOT APPLICABLE                                                                                                                                                                          00                            u              u
Adchss                                                                                               Homell:                             Wark II:                     Celtt.                        Email:
 NOT APPLICABLE
 SSN:                            Resident Stalu$:                          HGT         WGT          HairColar                  Hair Slylo:             Hairleng!h.               Eye Color.              OLNt                                         Slalt:
                                                                                                    UNKNOWN UNKNOWN UNKNOWN                                                      UNKNOWN
 Ocaipnan:                                                   Employer                                                        AddreSS.                                                                                            Emplaye, Phone:


Voclimlype:                                                    Student       Yes      Na       ff Yes. Name ofVidim'sScllaol·                            lfOKA AdiVity Type:                                    LEOKAAssigrment Type:

 Unknown                                                                          D    ~


 lryuries:     :J None □           Minor O     Internal D     Teelll   D         Unmnscia1ls   D    l.ace!atians   C"        Bones   n Olhef                                         Used:      ::i    Drugs                 D   Almhol       D     C~vter

 SMTs:
Relationship Ta         1J RELATIONSHIP                      UI\       (2)                                             (3)                                             (4)                                             (51
 Ofleflde!S:            6)                                             (7)                                             (8)                                             (9)                                             (10)



·•-:
 Offenses               1) None
                        6)
                                                                       (2)

                                                                       17)
                                                                                                                       (3)
                                                                                                                       (8)
                                                                                                                                                                       (()

                                                                                                                                                                       (9)
                                                                                                                                                                                                                       (5)
                                                                                                                                                                                                                       (10)




                                                                                                                                                                                                 PLAINTIFF-024337(UI&S)
           Case 1:20-cv-05233-SEG                Document 115-18                    Filed 01/18/24           Page 17 of 59


            DEKALB COUNTY POLICE DEPARTMENT                                                             Case#·
                       GA0440200                                                                     18-103027

                                      NARRATIVE
                                      Dale.                       Appm,ng Officer 10/Nane.                         D•
              Matthews w n            -1/19/2018 8 .30 00 A~I     1830                       Coachman s a
                INITIAL REPORT


On 4n 912018 at approximately 6:15 am. I responded to 4649 Memorial Dr (United Inn) in reference to a Fighl Upon my arrival.
I observed a female performing CP.R on a male on the ground in front of room #320.

  The female idenlified as Corila Watts (clerk) stated she observed a male on top of the victim, she advised the suspect was
holding the victim down with both hands on his shoul ders saying. ~man stop trying to attack me ~ The witness advised the male
suspect (black male approximately 57/180 lbs-190lbs/possible dark camouflage long sleeve shirt/dark pants) got up and
walked away from the location. she also advised the victim wa~ not moving when the suspect got up off of him.

    Ms. \r/atts slated the suspect got on lhe Marta #121 bus and left.the localion. A lookout was given in reference to the
suspect. Mnrta Police was also advised Major Felony detective Muller and Sgl Walker responded to the scene The Victim
was transported to DeKalb Medical Hospital (DecabJr) by A.M.R #5 l in crilical condition at this time. The victim. Mr. Mckenzie.
filed a police report earlier this dale in reference to him being assaulted. case #18•l 02999.

  Video footage was available at lhe office in reference to this inadent




                                                                                                                 PLAINTIFF-024338(UI&S)
                   Case 1:20-cv-05233-SEG        Document 115-18                      Filed 01/18/24              Page 18 of 59


                   DEKALB COUNTY POLICE DEPARTMENT                                                         Case#.
                              GA0440200                                                                 t ll-103027
                                     NARRATIVE
Officer I0/Name:                     Oare:                        Appni-.ng Officer 10!'lane"
339-l                Clarke m        -l/19/2018 12:52:50 PM       11130                         Coachman s a
                      ADDITIONAL NARRATIVE


Report Date:
Reporting Officer: 3394 - Clarke m
Approving Officer 1830 - Coachman s a

On April 19. 2018. I responded to 4649 Memorial Dr to a fight

During the course of the investigation, I transported Ms. Jacquelyn Avery a suspect involved in the incident to Headquarters.
Ms. Jacquelyn was interviewed. charged and lransported to DeKalb County Jail




                                                                                                                      PLAINTIFF-024339(UI&S)
          Case 1:20-cv-05233-SEG                Document 115-18                       Filed 01/18/24             Page 19 of 59


           DEKALB COUNTY POLICE DEPARTMENT                                                                  Case#;

                      GA0440200                                                                         18-10J027
                                     NARRATIVE
              B.inaht!nc l! a
                                     Oa:e:
                                     -l / 23/2018 5 11 :59 PM
                                                                    App,ow~
                                                                     1951
                                                                              °"'"'
                                                                                  ID/Name·
                                                                                             81.!nton r a
                                                                                                                     Date:
                                                                                                                     -l/24/2018 6 31 :56 AM
               SUPPLEMENTAL NARRATIVE


Report Date· 04/23/2018 10.00·00
Reporting Officer: 2739 - Banahene ea
Approving Officer 1951 • Benton r a

Suspect Daryl Shonell Miller. 8/M. 40 years old (D~               978), 509/236 pounds. darlc complexion with a low hair and a
black/gray bushy beard. The suspect was wearing b~              all shorts when he was taken inl0 custody.


On April 23. 2018. at approximately 1003 hours. Officers R Coquemar. #3432. K. Hoyt #3284 (442D). T. Lattimore, #3266,
Sgl R Benton (4140) end I responded with Sgl Quigley (Unit 910) of the Homicide Section in reference 10 conducting a follow•
up investigation at2787 Keystone Avenue regarding locating a person ofinterest in a murder.

When we arrived at the location. Sgl Quigley met with the complainant. who let us inl0 the residence. and pointed 10 the rear
left bed room on the main ftoor. As Sgl Quigley. Sgl Benton. Officer Coquemar and I went inside the home. Officers Hoyt and
Lattimore went 10 the rear of the home, Sgt Quigley opened the door 10 lhe rear left bedroom and I observed the suspect
sleeping in a sleeping bag on the floor of the room. Sgl Ouig1eycalled the suspecfs name and told him 10 show his hands.
The suspect WZI s unarmed. Officer Coquemar took the suspect into custody and Sgl Quigley advised the suspect of our rea,on
for being there_ Before we took the su:spect outside. he asked for some clothes and his camouflage jacket and a sweater were
taken with him along with the basketball shorts he wao wearing. a pair of black tennis shoes and his two cell phones.

Officer Coquemar and I transported the suspect 10 the DeKalb County Police Headquarters, where he wao interviewed by
Homicide Detectives. Sgt Quigley later advised Mr. Miller of the charge of Murder and asked that the suspect be transported 10
the DeKalb County Jatl on Warrant #l 8-W-006685. Officer Coquemar and I transported Mr. Miller In the jail without incident

My Body-Wom Camera was activated and has been classified and saved appropriately_

Officer E.. Banahene #2739/0fficer R. Coquemar. #3432.




                                                                                                                 PLAINTIFF-024340(UI&S)
                                             Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 20 of 59
                                            DEKALB COUNTY POLICE DEPARTMENT                    Case #:

                                                            GA0440200                       19-027075

                                                                                             INCIDENT REPORT
                  Incident Type:                                                                                                                                                  Counts             Incident Code                    Offense Jurisdiction                        Arrest Jurisdiction
                  16-8-2 (2404) Theft by takin g - automo bile                                                                                                                     1                 2404                             COUNTY
                  3-6-10 Addat ional Information                                                                                                                                   1                 N ON C                           COU NTY
EVENT'




                  Premise Type:                                                                                   Weapon Type:                                                                   Forcible:                Stranger To Stranger:             Hate Motivated:                 Loc Code:




                                                                                                                                                                                                                                                                             □
                  R ESIDENCE                                                                                                                                                                     N                        Y                                                                 570
                  Date Report:                                             Incident Start:                                    Incident End:                                      Incident Location:
                  3/24/2019 9:31:08 PM 3/24/2019 12:00:01 AM3/ 2 4 / 2 0 1 9 1 1 : 0 0 :0 0 A M46 4 9 M E MO R I AL D R 21 9 D E C A T UR G A
                      Name (Last, First Middle):                                                                                                                Moniker:                                     DOB:                           Age:                        Sex:            Race:           Ethnicity:
                      H AR P E R , L A WR E N C E E D WA RD                                                                                                                                                            - 1954               65                          M               B               U




                                                                                                                                                                                                             I
                      Address                                                                                                                  Home #:                                 Work #:                            Cell #:                              Email:




                                                                                                                                                                                                                        I
                      46 4 9 ME M O RI A L D R 2 1 9 D EC A T U R G A 3 0 0 3 4 -
                      SSN:                              Resident Status:                             HGT:              WGT:            Hair Color:                 Hair Style:                       Hair Length:                   Eye Color:                     OLN #:                               State:
                                                        RESIDENT                                     509               21 0                                                                          B A L D ( IN G)                B R OW N                       05 8 2 8 9 2 2 8                     GA
                      Occupation:                                                     Employer:                                                        Address:                                                                                                                    Employer Phone:
VIC.TlM




                      Victim Type:                                                                          Yes   No          If Yes, Name of Victim's School                                      LEOKA Activity Type:                                       LEOKA Assignment Type:
                                                                                              Student:
                      I n d i v i du al
                                                                                                             □
                                                                                                                   □


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                                    
                      Injuries:         None                   Minor       Internal          Teeth          Unconscious              Lacerations                Bones            Other                                      Used:                   Drugs             Alcohol           Computer

                      SMTs:


                      Relationship To       (1)   STRANGER                                           (2)                                                  (3)                                                   (4)                                                   (5)
                      Offenders:            (6)                                                      (7)                                                  (8)                                                   (9)                                                   (10)

                      Offenses              (1)   2404                                               (2)                                                  (3)                                                   (4)                                                   (5)
                      Involved:             (6)                                                      (7)                                                  (8)                                                   (9)                                                   (10)

                      Name:                                                                                                                                     Moniker:                             DOB:                           Age:                       Sex:                Race:           Ethnicity:
                      U NKN OW N, UN KNOWN                                                                                                                                                                                          00               42        F                   W
                      Address:                                                                                                                Home Phone:                              Work Phone:                     Cell Phone:                             Email:


                      SSN:                              Resident Status:                             HGT:              WGT:            Hair Color:                 Hair Style:                       Hair Length:                   Eye Color:                     OLN #:                               State:


                      Occupation:                                                     Employer:                                                         Address:                                                                                                                  Employer Phone:
 OffENO:IEiR




                      SMTs:


                                                                                                                                                     Offenses Involved:
                  (1) 16-8-2            (2404) Theft by taking - automobile                                                                        2404                 (2)
                  (3)                                                                                                                                                   (4)

                  (5)                                                                                                                                                   (6)

                  (7)                                                                                                                                                   (8)
                  (9)                                                                                                                                                   (10)
                                        □


                                                                       □□

                                                                                                     □




                                                                                                                                                                                                                                                             □


                                                                                                                                                                                                                                                                               □


                                                                                                                                                                                                                                                                                              □
                        WANTED:                    WARRANT:                           ARREST:                                   SUSPECT ARMED:                             WEAPON:                                                                  Used:           Drugs           Alcohol         Computer
                                                                                                                                                                                               II
                                                                                                                                                                        □




                                  TOTAL NUMBER ARRESTED:                   0                         ARREST AT OR NEAR OFFENSE SCENE:                            Yes:                    No:

                                                          VEHICLES                                         CURRENCY, NOTES, ETC                                 JEWELRY, PREC. METALS                           FURS
                                                                                                                                                                                                             -- --




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                                   STOLEN                 $ 5 , 0 00 . 0 0                                  $0.00                                               $0.00                                           $0.00
                                  [




                                   RECOVERED              $ 5 , 0 00 . 0 0                                  $0.00                                               $0.00                                           $0.00
   PROPa8RTY




                                                          CLOTHING                                         OFFICE EQUIP.                                        TV, RADIO, ETC                                  HOUSEHOLD GOODS
                                                                                                                                          --

                                                                                                                                                           --




                                   STOLEN                 $0.00                                             $0.00                                               $0.00                                           $0.00
                             -- --

                                                  ,..._,....




                                   RECOVERED              $0.00                                             $0.00                                               $0.00                                           $0.00
                                                         FIREARMS                               CONSUMABLE GOODS                        LIVESTOCK                              OTHER                                       TOTAL
                                   STOLEN
                                                                                                                                                                                                                      --
                                                                                                                                                                                                                      --




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                                                         $0.00                                  $0. 00                                  $0.00                                  $0.00                                       $ 5 ,0 0 0 . 0 0
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                                   RECOVERED             $0.00                                  $0. 00                                  $0.00                                  $0.00                                       $ 5 ,0 0 0 . 0 0
C!WEAR: IJ:RUG ADM.




                                  GCIC ENTRY
                                                                                                                                                   Ill




                                                                                  WARRANT                     MISSING PERSONS                            VEHICLE                               ARTICLE                               BOAT                                   GUN                  SECURITIES
                                                                           □


                                                                                                         □




                                                                                                                                                                                    □




                                                                                                                                                                                                                            □



                                                                                                                                                                                                                                                                □


                                                                                                                                                                                                                                                                                           □




                      DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                                                                  1 - Amphetamine                 2 - Barbiturate                     3 - Cocaine                4 - Hallucinogen                       5 - Heroin
                                                                                                                                                     □□




                                                                                                                                                                                   □□




                                                                                                                                                                                                                       □□



                                                                                                                                                                                                                                                   □□




                                                                                                                                                                                                                                                                                           □□




                                                                                                                                 YES          NO
                                                                                                                                        Iii
                                                                                                                         □




                      YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER
                                                                                                                                                          6 - Marijuana                   7 - Methamphetamine                 8 - Opium                  9 - Synthetic Narcotic                 U - Unknown


                      REQUIRED DATA FIELDS
                                                                                                                                                                                                                                                            □

                                                                                                                                                                                                                                                                                  □
                                                                 □



                                                                                                     □



                                                                                                                                                     □




                                                                       CLEARED BY ARREST                     EXCEPTIONALLY CLEARED                         UNFOUNDED                   DATE OF CLEARANCE                                                            ADULT                  JUVENILE
                      FOR CLEARANCE REPORT


REPORTING OFFICER                                                                                                                                    NUMBER                   APPROVING OFFICER                                                                                                    NUMBER
Cu m m in gs j j                                                                                                                              3351




                                                                                                                                                                                                                                                         PLAINTIFF-024341(UI&S)
                 Case 1:20-cv-05233-SEG Document 115-18                                                                  Filed 01/18/24                       Page 21 of 59
                DEKALB COUNTY POLICE DEPARTMENT                                                                                                     Case #:

                                 GA0440200                                                                                                      19-027075

                                                   INCIDENT VEHICLES
              TAG NUMBER                             STATE              YEAR          V.I.N.                                           TYPE
Ill STOLEN    RQY2535                               GA                 2020           WD BU F 8 7 X 47 B 1 6 9 0 6 4                   2 OR 4 DOOR SEDAN (PASSENGER)
              YEAR     MAKE                        MODEL                                       STYLE                   COLOR                     RELATED TO
□ RECOVD      2007     ME RCEDES BE                E350                                        4D 4 DOOR               White                     HA R P E R , L AW R E N C E E D W ARD
                              MOTOR SIZE (CID)                           AUTO         MAN.                               INSURED BY
□ SUSPECTS                                                      TRANS
                                                                         □            □
                                                                                                                         P r ogr e s s i ve
OWNER                                                                      ADDRESS                                                                                           PHONE


INVENTORY    INVENTORY DATE                                STORED AT                                   SECURED            DATE SECURED                             RELEASED TO OTHER

□
              TAG NUMBER                             STATE              YEAR          V.I.N.                                           TYPE
□ STOLEN      RQY2535                               GA                 2020           WD BU F 8 7 X 47 B 1 6 9 0 6 4                   2 OR 4 DOOR SEDAN (PASSENGER)
              YEAR     MAKE                        MODEL                                       STYLE                   COLOR                      RELATED TO
Ill RECOVD    2007     M ERCEDES B E               E350                                        4D 4 DOOR               W hite                     H A R P ER , LA W RE N C E E D W A R D
                                MOTOR SIZE (CID)                               AUTO            MAN.                                INSURED BY
□ SUSPECTS                                                             TRANS
                                                                                □              □
                                                                                                                                   Pr o g r e s s i v e

OWNER                                                                      ADDRESS                                                                                           PHONE



INVENTORY    INVENTORY DATE                                STORED AT                                   SECURED            DATE SECURED                             RELEASED TO OTHER

□                                                          South DeKalb 770 482 33 7
              TAG NUMBER                             STATE             YEAR           V.I.N.                                            TYPE
□ STOLEN
              YEAR     MAKE                          MODEL                       STYLE                           COLOR                        RELATED TO
□ RECOVD
                                MOTOR SIZE (CID)                               AUTO            MAN.                                INSURED BY
□ SUSPECTS                                                             TRANS
                                                                                □              □
OWNER                                                                      ADDRESS                                                                                          PHONE


INVENTORY    INVENTORY DATE                                STORED AT                                   SECURED            DATE SECURED                             RELEASED TO OTHER

□
              TAG NUMBER                             STATE             YEAR           V.I.N.                                            TYPE
□ STOLEN
              YEAR     MAKE                        MODEL                                       STYLE                   COLOR                      RELATED TO
□ RECOVD
                                MOTOR SIZE (CID)                               AUTO            MAN.                                INSURED BY
□ SUSPECTS                                                             TRANS
                                                                                □              □
OWNER                                                                      ADDRESS                                                                                          PHONE


INVENTORY    INVENTORY DATE                                STORED AT                                   SECURED            DATE SECURED                             RELEASED TO OTHER

□
              TAG NUMBER                             STATE             YEAR           V.I.N.                                            TYPE
□ STOLEN
              YEAR     MAKE                        MODEL                                       STYLE                   COLOR                      RELATED TO
□ RECOVD
                                MOTOR SIZE (CID)                               AUTO            MAN.                                INSURED BY
□ SUSPECTS                                                             TRANS
                                                                                □              □
OWNER                                                                      ADDRESS                                                                                           PHONE


INVENTORY    INVENTORY DATE                                STORED AT                                   SECURED            DATE SECURED                             RELEASED TO OTHER

□
              TAG NUMBER                             STATE             YEAR           V.I.N.                                            TYPE
□ STOLEN
              YEAR     MAKE                        MODEL                                       STYLE                   COLOR                      RELATED TO
□ RECOVD
                                MOTOR SIZE (CID)                               AUTO            MAN.                                INSURED BY
□ SUSPECTS                                                             TRANS
                                                                                □              □
OWNER                                                                      ADDRESS                                                                                           PHONE



INVENTORY    INVENTORY DATE                                STORED AT                                   SECURED            DATE SECURED                             RELEASED TO OTHER>

□


                                                                                                                                                               PLAINTIFF-024342(UI&S)
                     Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 22 of 59
                     DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                      GA0440200                       19-027075

                                 INCIDENT PROPERTY
Class:                                     Description:                              Status:
A                                          Ve h i cl e s                             S
Make:                                    Model:                                  Serial:
M E R C ED ES B E NZ                     E350                                    WDBUF87X47B169064
Property Location:                                 QTY:                          Value:                                   UCR Code:
                                                    1                           $ 5 , 0 0 0 .0 0                          2404
Related To:                                       Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:
H ARPER, LAWRENCE ED WARD                                                                      2
Class:                                     Description:                              Status:
A                                          Ve h i cl e s                             R
Make:                                    Model:                                  Serial:
M E R C ED ES B E NZ                     E350                                    WDBUF87X47B169064
Property Location:                                 QTY:                         Value:                                    UCR Code:
South DeKalb 770 482 3379                           1                           $5,000.00                                 2404
Related To:                                       Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:
H ARPER, LAWRENCE ED WARD                         6/25/2019         1                          2                      2
Class:                                     Description:                              Status:


Make:                                    Model:                                  Serial:


Property Location:                                 QTY:                          Value:                                   UCR Code:


Related To:                                       Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                     Description:                              Status:


Make:                                    Model:                                  Serial:


Property Location:                                 QTY:                         Value:                                    UCR Code:


Related To:                                       Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                     Description:                              Status:


Make:                                    Model:                                  Serial:


Property Location:                                 QTY:                         Value:                                    UCR Code:


Related To:                                       Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                     Description:                              Status:


Make:                                    Model:                                  Serial:


Property Location:                                 QTY:                         Value:                                    UCR Code:


Related To:                                       Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                     Description:                              Status:


Make:                                    Model:                                  Serial:


Property Location:                                 QTY:                         Value:                                    UCR Code:


Related To:                                       Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                     Description:                              Status:


Make:                                    Model:                                  Serial:


Property Location:                                 QTY:                         Value:                                    UCR Code:


Related To:                                       Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:




                                                                                                              PLAINTIFF-024343(UI&S)
                   Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 23 of 59
                   DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                    GA0440200                       19-027075

                                            NARRATIVE
Officer ID/Name:                            Date:                            Approving Officer ID/Name:                    Date:
3 35 1              C u m m in g s j j      3/24/2019 10:51:35 PM            2150                         Cole c e         3/24/2019 10:55:39 PM
Title:               INITIAL REPORT



Susp ect 1: \~J'hite fe male , · sassy· , 5 '06-, 190 , brow n hair, 42-43 yea rs ofa ge

On 3l'24120 1'9 , at app roxi ately '9 :20 p , I r,espo nd,e d to, 4649 M,e mori al Dr. (United Inn a nd S uites}, in r,efer,e n,oe to a stol,e n
ve hid e.

Upon my a rriv,a l I et w ith Mr. Law re nce. Mr. Lawrence advised that Sus pe ct 1 has bee n staying w ith hi s in,ce last Thursday
(312 1120 19}. Mr. Law rence advised that S uspe ct 1 is a prostitute a nd he do es not know her infor atio n. Mr. Lawrence ,advised
that he I.ast saw his ve hi cle o n 3l'2 31201'9 around 11 :30 pm-12 :00a at 4649 Memo rial Dr. Mr. Law re nc e advised th at S uspe ct 1
asked hi b d riv,e herb a pla,ce but he advised he wo uld do it in the orn in,g . Mr. Law re nce advised w he n he wo ke up, o n
3124120 19 ,at 11 :0 0 a m. he n,otioed that S uspe ct 1 was is:sing as we ll as his key a nd ve hicle.
Mr. Law re nce advis ed th at he has not bee n ab le to, get in tou,ch w ith Sus pe ct 1. Mr. Law rence advis ed th at he be lieves that his
ve hide might be in the Flat S ho als and 1-285 a re,a.
                                                1




 Det. M,oore #9505 was notifie d of the in,cide nt.

 Mr. Law re nce was g ive n a case nu be r. Reco rd ing         ad,e via Body \nJo rn .




                                                                                                                         PLAINTIFF-024344(UI&S)
                   Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 24 of 59
                   DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                    GA0440200                       19-027075

                                               NARRATIVE
Officer ID/Name:                                Date:                       Approving Officer ID/Name:                      Date:
3 35 1              C u m m in g s j j          3/25/2019 12:06:28 AM       2150                         Cole c e           3/25/2019 2:39:03 PM
Title:               S U P P LE M E N T A L N A R R AT I V E



Report Date :
R,eporting O ffi oer: -
A pp r,ov ing Offioer: -

 Mr. Law re noe late r ,ca lle d a n,d adv is ed ove r the ph,on,e that S uspe ct 1 's pho ne nu be r is 678~65 1-5 12'9.
 Re oord in,g ade via Bo dy \fftorn .




                                                                                                                       PLAINTIFF-024345(UI&S)
                                             Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 25 of 59
                                            DEKALB COUNTY POLICE DEPARTMENT                    Case #:

                                                            GA0440200                       19-032073

                                                                                             INCIDENT REPORT
                  Incident Type:                                                                                                                                                  Counts             Incident Code                      Offense Jurisdiction                        Arrest Jurisdiction
                  16-6-1 (1103) Rape - st ro ngarm                                                                                                                                 1                 1103                               COUNTY
EVENT'




                  Premise Type:                                                                                   Weapon Type:                                                                   Forcible:                  Stranger To Stranger:             Hate Motivated:                 Loc Code:




                                                                                                                                                                                                                                                                               □
                  CO MM E R C IA L                                                                                03                                                                             Y                          N                                                                 550
                  Date Report:                                             Incident Start:                                    Incident End:                                      Incident Location:
                  4/8/2019 7: 43:00 PM                                     4/8/2019 1:30:01 AM                                4/ 8 / 2 0 1 9 2 : 0 0 :0 0 A M                    46 4 9 M E MO R I AL D R I V E 1 26 D E C A T UR G A 3 0 0 3 2 - -
                      Name (Last, First Middle):                                                                                                                Moniker:                                     DOB:                             Age:                        Sex:            Race:           Ethnicity:
                      W ATSO N, KA REN                                                                                                                                                                                  - 1971                48                          F               B               U




                                                                                                                                                                                                             I
                      Address                                                                                                                  Home #:                                 Work #:                              Cell #:                              Email:




                                                                                                                                               I
                      2050 AU STELL RD CC1 MA RIETTA GA 30008-
                      SSN:                              Resident Status:                             HGT:              WGT:            Hair Color:                 Hair Style:                        Hair Length:                    Eye Color:                    OLN #:                                State:
                                                        RESIDENT                                     503               320             BLACK                       CURLY                              L ONG                           B R OW N                      06 0 5 7 5 9 0 9                      GA
                      Occupation:                                                     Employer:                                                        Address:                                                                                                                      Employer Phone:
VIC.TlM




                      Victim Type:                                                                          Yes   No          If Yes, Name of Victim's School                                        LEOKA Activity Type:                                       LEOKA Assignment Type:
                                                                                              Student:
                      I n d i v i du al
                                                                                                             □
                                                                                                                   □


                                                                                                                   
                                    □


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                                                                                                                                                                                                                                                                                    □
                                    
                      Injuries:         None                   Minor       Internal          Teeth          Unconscious              Lacerations                Bones            Other                                        Used:                   Drugs             Alcohol           Computer

                      SMTs:


                      Relationship To       (1)   F R I EN D                                         (2)                                                  (3)                                                   (4)                                                     (5)
                      Offenders:            (6)                                                      (7)                                                  (8)                                                   (9)                                                     (10)

                      Offenses              (1)   1103                                               (2)                                                  (3)                                                   (4)                                                     (5)
                      Involved:             (6)                                                      (7)                                                  (8)                                                   (9)                                                     (10)

                      Name:                                                                                                                                     Moniker:                              DOB:                            Age:                       Sex:                Race:           Ethnicity:
                      H IL L , G E R AL D                                                                                                                                                                                             40                         M                   B               U
                      Address:                                                                                                                Home Phone:                              Work Phone:                      Cell Phone:                              Email:
                      U NKN OW N
                      SSN:                              Resident Status:                             HGT:              WGT:            Hair Color:                 Hair Style:                        Hair Length:                    Eye Color:                    OLN #:                                State:
                                                        RESIDENT                                     506               12 0            BLACK                       AFR O                              S H ORT                         B R OW N
                      Occupation:                                                     Employer:                                                         Address:                                                                                                                    Employer Phone:
 OffENO:IEiR




                      SMTs:


                                                                                                                                                     Offenses Involved:
                  (1) 16-6-1            (1103) Rape - stron gar m                                                                                  1103                 (2)
                  (3)                                                                                                                                                   (4)

                  (5)                                                                                                                                                   (6)

                  (7)                                                                                                                                                   (8)
                  (9)                                                                                                                                                   (10)
                                        □


                                                                       □□

                                                                                                     □




                                                                                                                                                                                                                                                               □


                                                                                                                                                                                                                                                                                 □


                                                                                                                                                                                                                                                                                                □
                        WANTED:                    WARRANT:                           ARREST:                                   SUSPECT ARMED:            Y                WEAPON:         HAND S/FISTS/ETC                                           Used:          Drugs            Alcohol         Computer
                                                                                                                                                                                               II
                                                                                                                                                                        □




                                  TOTAL NUMBER ARRESTED:                   0                         ARREST AT OR NEAR OFFENSE SCENE:                            Yes:                    No:

                                                          VEHICLES                                         CURRENCY, NOTES, ETC                                 JEWELRY, PREC. METALS                            FURS
                                                                                                                                                                                                              -- --




                                                                                                                                                                                                                                                   -- --
                                                                                                                                                         --
                                                                                                                                       -----


                                                                                                                                                                                          -- -----
                                                                                                      -- --
                                                                                         ----- ---




                                   STOLEN                 $0.00                                             $0.00                                               $0.00                                            $0.00
                                  [




                                   RECOVERED              $0.00                                             $0.00                                               $0.00                                            $0.00
   PROPa8RTY




                                                          CLOTHING                                         OFFICE EQUIP.                                        TV, RADIO, ETC                                   HOUSEHOLD GOODS
                                                                                                                                          --

                                                                                                                                                           --




                                   STOLEN                 $0.00                                             $0.00                                               $0.00                                            $0.00
                             -- --

                                                  ,..._,....




                                   RECOVERED              $0.00                                             $0.00                                               $0.00                                            $0.00
                                                         FIREARMS                               CONSUMABLE GOODS                        LIVESTOCK                              OTHER                                         TOTAL
                                   STOLEN
                                                                                                                                                                                                                      --
                                                                                                                                                                                                                      --




                                                                                                                                                                                                                                                                 --




                                                         $0.00                                  $0. 00                                  $0.00                                  $0.00                                         $0.00
                                                                                                                               --




                                                                                                                                                                        --
                                                                                                                                                                        --
                                                                                        --
                                                                                      --



                                                                                                                               --
                                            -     -




                                   RECOVERED             $0.00                                  $0. 00                                  $0.00                                  $0.00                                         $0.00
C!WEAR: IJ:RUG ADM.




                                  GCIC ENTRY                                      WARRANT                     MISSING PERSONS                            VEHICLE                               ARTICLE                                 BOAT                                   GUN                  SECURITIES
                                                                           □


                                                                                                         □




                                                                                                                                                 □



                                                                                                                                                                                    □




                                                                                                                                                                                                                              □



                                                                                                                                                                                                                                                                  □


                                                                                                                                                                                                                                                                                             □




                      DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                                                                  1 - Amphetamine                 2 - Barbiturate                       3 - Cocaine                4 - Hallucinogen                       5 - Heroin
                                                                                                                                                     □□




                                                                                                                                                                                   □□




                                                                                                                                                                                                                        □□



                                                                                                                                                                                                                                                     □□




                                                                                                                                                                                                                                                                                             □□




                                                                                                                                 YES          NO
                                                                                                                                        Iii
                                                                                                                         □




                      YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER
                                                                                                                                                          6 - Marijuana                   7 - Methamphetamine                   8 - Opium                  9 - Synthetic Narcotic                 U - Unknown


                      REQUIRED DATA FIELDS
                                                                                                                                                                                                                                                              □

                                                                                                                                                                                                                                                                                    □
                                                                 □



                                                                                                     □



                                                                                                                                                     □




                                                                       CLEARED BY ARREST                     EXCEPTIONALLY CLEARED                         UNFOUNDED                   DATE OF CLEARANCE                                                             ADULT                   JUVENILE
                      FOR CLEARANCE REPORT


REPORTING OFFICER                                                                                                                                    NUMBER                   APPROVING OFFICER                                                                                                      NUMBER
Ja c k s on a m                                                                                                                               2863                            Sharp e t s                                                                                                         2605




                                                                                                                                                                                                                                                           PLAINTIFF-024346(UI&S)
                Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 26 of 59
                  DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                  GA0440200                        19-032073

                                           OTHER PERSONS
Involvement Type:                  Name (Last, First Middle):                                                      Moniker:                         SSN:
OTHER                              UN KNOWN SUSAN
Address                                                                                                  Home #:              Cell #:                     Work #:
48 H EN D E R S ON S T R E E T M A R I E T T A G A 30 0 6 4 -
DOB:                Age:            Sex:            Race:                Ethnicity:   Resident Status:       Hair Color:         Eye Color:                  HGT:      WGT:


SMTs:


Email:                                                          OLN #:                                             State:         Used:
                                                                                                                                  □ Drugs     □ Alcohol       □ Computer
Occupation:                            Employer/School:                                     Address:                                                 Employer Phone:
                                       YWCA-NURSE

Involvement Type:                  Name (Last, First Middle):                                                      Moniker:                         SSN:


Address                                                                                                  Home #:              Cell #:                     Work #:


DOB:                Age:            Sex:            Race:                Ethnicity:   Resident Status:       Hair Color:         Eye Color:                  HGT:      WGT:


SMTs:


Email:                                                          OLN #:                                             State:         Used:
                                                                                                                                  □ Drugs     □ Alcohol       □ Computer
Occupation:                            Employer/School:                                     Address:                                                 Employer Phone:



Involvement Type:                  Name (Last, First Middle):                                                      Moniker:                         SSN:


Address                                                                                                  Home #:              Cell #:                     Work #:


DOB:                Age:            Sex:            Race:                Ethnicity:   Resident Status:       Hair Color:         Eye Color:                  HGT:      WGT:


SMTs:


Email:                                                          OLN #:                                             State:         Used:
                                                                                                                                  □ Drugs     □ Alcohol       □ Computer
Occupation:                            Employer/School:                                     Address:                                                 Employer Phone:



Involvement Type:                  Name (Last, First Middle):                                                      Moniker:                         SSN:


Address                                                                                                  Home #:              Cell #:                     Work #:


DOB:                Age:            Sex:            Race:                Ethnicity:   Resident Status:       Hair Color:         Eye Color:                  HGT:      WGT:


SMTs:


Email:                                                          OLN #:                                             State:         Used:
                                                                                                                                  □ Drugs     □ Alcohol       □ Computer
Occupation:                            Employer/School:                                     Address:                                                 Employer Phone:



Involvement Type:                  Name (Last, First Middle):                                                      Moniker:                         SSN:


Address                                                                                                  Home #:              Cell #:                     Work #:


DOB:                Age:            Sex:            Race:                Ethnicity:   Resident Status:       Hair Color:         Eye Color:                  HGT:      WGT:


SMTs:


Email:                                                          OLN #:                                             State:         Used:
                                                                                                                                  □ Drugs     □ Alcohol       □ Computer
Occupation:                            Employer/School:                                     Address:                                                 Employer Phone:




                                                                                                                                    PLAINTIFF-024347(UI&S)
                   Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 27 of 59
                   DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                    GA0440200                       19-032073

                                         NARRATIVE
Officer ID/Name:                         Date:                          Approving Officer ID/Name:                  Date:
2863                Jackson a m          4/8/ 2019 11:50:00 PM          2605                         Sharpe t s     4/9/2019 12:27:45 AM
Title:               INITIAL REPORT



O n 04J'0 8/1 '9 at a pproxi ately 1820 hours , I res pond ed to 6 77 C hurch Street, \•Je llStar ~ ennestone Hospital in refe re nce to a
ra pe that ,o ocu rr,e d at 4648 Me orial Drive , United Inn .




                                                                                                                  PLAINTIFF-024348(UI&S)
                   Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 28 of 59
                   DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                    GA0440200                       19-032073

                                                NARRATIVE
Officer ID/Name:                                Date:                            Approving Officer ID/Name:                       Date:
2863                Jackson a m                 4/8/ 2019 11:54:00 PM            2605                         Sharpe t s          4/9/2019 12:27:48 AM
Title:               S U P P LE M E N T A L N A R R AT I V E



S usp ect # 1: Gera ld l-l ill 40 yea rs o ld
Missing a front tooth
5 '04-5 '06 , 120-125 lbs.
\•Je,a ring red sh irt. re d pants

Sus pect #2 : Black ma le
Bold head
5 '0 6-5'08, 140-150 lbs.
\•Je.aring a w hite sh irt

   O n 04/0811 9 at a ppr,ox irn ate ly 1820 hours. I res pond ed to- 677 C hl.lrch Street. \•tell Star Ke nnestone l-lospital in refere nce to a
 r,a pe that occl.lrre d at 464'9 Me oria l Drive . Unite d Inn .
The victi . Kare n \•Jatso n adv ise d that she w as stay ing at United Inn in roo 126 . She w ent next d oo r to \•J'e ndy's a nd saw he r
frie ndlsusp ect # 1, G era ld l-l ill at the lo cati on. Mrs . \•Jatson a nd Mr. l-l ill have bee n fri,e nds fo r 3 yea rs .and ,only ha,d sex ,one ti me.
They sta rte-d ta lking and he c a e b,ack to her ro om. They we r,e talking in he r r,oo m a nd · ha ng ing o ur w he n she aske-d hi to, go
,get he rso eth i ng to eat. She g.ave hi so e money a nd he r ro o key ca rd , Ieft th e location a round 220 0 hours. Mrs . \•Jatso n
sa id th at Mr. l-l ill was taking a lon,g ti me so, she stepp ed outside her ro o to, see if h,e w as com ing . Wh il,e ,o utsid e s he hea rd gun
shots a nd o bserv,e d a man bl,ee ding foo the c hest and runn ing d ow n th e stairs . She we nt bac k into her roo a nd wa ited fo r
 Mr. l-l ill. She s aid that Mr. l-l ill never cam e bac k so she we nt to s lee p•. S he hea rd the do or o pen aro und 0130 hours ,a nd s aw that
 it was Mr. l-l ill a nd Suspect #2 . She said, ~Jhere is y fo od? \•Jhy do yo u have hi in y roo ? G et out my ro o .- S he as ke-d
them seve r.a l ti es to leave he r rioo . but th,ey riefused. Mr. l-l ill said, ·1       rs ti e to, pl.ay· . Mr. l-l ill tried to ,g,et Mrs. \•Jatson to take
so e kind of pill . but she refuse-d . S he .as ked them a,ga in to le.ave . She got o ut the bed a nd Mr. l-l ill pushe d he r back on the bed
the n g ra bb ed both her ar s . Mrs . \•Jatson w as on her stom ach laying on th e bed. Mr. l-l ill had his fore.ar on the back of he r
 ne ck. Mrs. \•Jatso n was we.a rin,g a ,g,ow n a nd had no unde rwe.a r o n. S usp ect #2 ,g,ot ,on th,e bed a nd plac ed his penis in her a nus.
S he )"el le d a nd Mr. Hill plac ed his ha nd off he r outh . S usp ect #2 too k his penis out he r a nl.ls ,a nd placed it in he r va,g ina. S he
said that he was in he r v.a,gina for a long ti me. They let her ,go and tol,d he r to go in the ba thro om. Mr. Hill told he r, · Go in the
 bathr,oo m a nd d,o n't com e our. She w,e nt in the bathrio o .and d id not c o e out unti l she h,ea rd the do or closed.

  Mrs . \nJatson .a,dv is ed that she took a shower befo re c he-cking outthe hotel a round 10 00 hours. Mrs . \•Jatson too k the bus to
the hosp ital a nd a rrive d ,a ro und 1400 hours. Mrs. \•Jatso n said that she do es not know w hy she ,d id not ca ll th e poli ce. Mrs .
\nJatson ,a,dv is ed that sh e do es wa nt to-priess c ha rge rs . Mrs. \•Jatso n was go ing to •JCA . 4 8 l-le nde rs on Str,eet to, ,get a ra pe kit
do ne· by Nurse S us-a n.

  I ,observe-d no v isible injuries ,on Mrs . \•Jatson. I noti-oe d SVU Det. G ra ha , a bout the incid ent. Mrs . \nJatso n was g iv,e n .a ,c as e
 nu ber. B\•JC not issue-d.




                                                                                                                                PLAINTIFF-024349(UI&S)
                               Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 29 of 59
                              DEKALB COUNTY POLICE DEPARTMENT                    Case #:

                                              GA0440200                       19-098681

                                                                      INCIDENT REPORT
       Incident Type:                                                                                                                                          Counts             Incident Code                    Offense Jurisdiction                       Arrest Jurisdiction
       16-6-9 (4004) Pros titution                                                                                                                              1                 4004                             COUNTY                                     COUNTY
       16-6-11 (4002) Pimping                                                                                                                                   1                 4002                             COUNTY                                     COUNTY
I-
z 16-6-9 (4004) Pros titution                                                                                                                                   1                 4004                             COUNTY                                     COUNTY
IU
[i Premise Type:                                                                            Weapon Type:                                                                      Forcible:                Stranger To Stranger:            Hate Motivated:                 Loc Code:
       CO MM E R C IA L                                                                                                                                                       N                        Y                                                 □              230
       Date Report:                                 Incident Start:                                     Incident End:                                         Incident Location:
       10/22/2019 3:55:32 PM 10/22/2019 3:06:12 PM 1 0/ 2 2/ 2 0 19 3 : 2 3 :5 6 P M 4649 Memorial Driv e 118 Decatur GA
        Name (Last, First Middle):                                                                                                          Moniker:                                      DOB:                           Age:                      Sex:             Race:           Ethnicity:
        St at e of G eo r gia
        Address                                                                                                             Home #:                                 Work #:                            Cell #:                             Email:

        1960 West Exch an ge Pl Tucker GA 30083-                                                                                                                    770-724-7600
        SSN:                          Resident Status:                         HGT:              WGT:           Hair Color:                     Hair Style:                       Hair Length:                   Eye Color:                   OLN #:                                State:


        Occupation:                                           Employer:                                                          Address:                                                                                                                      Employer Phone:

~
F
u Victim Type:                                                                        Yes   No          If Yes, Name of Victim's School                                         LEOKA Activity Type:                                      LEOKA Assignment Type:
                                                                       Student:
> G o vernment                                                                         □ □
                                                                                             



                        □   None □     Minor □      Internal □                 □                         □                       □                     □                                                                □                 □                   □
                        
        Injuries:                                                     Teeth           Unconscious              Lacerations                  Bones             Other                                      Used:                  Drugs             Alcohol           Computer

        SMTs:


        Relationship To       (1)   N O T AP P L I C AB L E                    (2)                                                    (3)                                                    (4)                                                  (5)
        Offenders:            (6)                                              (7)                                                    (8)                                                    (9)                                                  (10)

        Offenses              (1)   4004                                       (2)                                                    (3)                                                    (4)                                                  (5)




                                                                                                                                                                                -
        Involved:             (6)                                              (7)                                                    (8)                                                    (9)                                                  (10)

       Name:                                                                                                                                Moniker:                              DOB:                           Age:                     Sex:                 Race:           Ethnicity:
       Florence, Teondr a Shacara                                                                                                                                                          -2001                 18                       F                    B               N
       Address:                                                                                                         Home Phone:                                 Work Phone:                     Cell Phone:                           Email:
       7882 W Shore C t. Riv erdale GA 30296-
        SSN:                          Resident Status:                         HGT:              WGT:           Hair Color:                     Hair Style:                       Hair Length:                   Eye Color:                   OLN #:                                State:
                                      RESIDENT                                 505               131            BLACK                           STRAIGHT                          MEDIUM                         B R OW N                     06 1 0 3 2 9 8 4                      GA
        Occupation:                                            Employer:                                                          Address:                                                                                                                    Employer Phone:
0: U NEM PLOYED
ll!I
Ci SMTs:
zw
                                                                                                                               Offenses Involved:
It (1) 16-6-9 (4004) Prostitution
  '
                                                                                                                              4004                  (2)
0
       (3)                                                                                                                                          (4)

       (5)                                                                                                                                          (6)

       (7)                                                                                                                                          (8)
       (9)                                                                                                                                          (10)

                                                                                                                                                                                                                                          □    Drugs □          Alcohol □
             WANTED:
                            □        WARRANT:
                                                  □           ARREST:
                                                                              1111                        SUSPECT ARMED:              N                WEAPON:                                                                  Used:                                           Computer

                    TOTAL NUMBER ARRESTED:

                                      VEHICLES
                                                  3
                                                   □                           ARREST AT OR NEAR OFFENSE SCENE:

                                                                                     CURRENCY, NOTES, ETC
                                                                                                                                             Yes:
                                                                                                                                                    □
                                                                                                                                            JEWELRY, PREC. METALS
                                                                                                                                                                      No:   Iii!
                                                                                                                                                                                             FURS

                    ISTOLEN    I$ 0 . 0 0                                             $0.00                                                 $0.00                                            $0.00
>-
~
                    IRECOVERED I$ 0 . 0 0
                                      CLOTHING
                                                                                     I$0.00
                                                                                     OFFICE EQUIP.
                                                                                                                        I                   I
                                                                                                                                            $0.00
                                                                                                                                            TV, RADIO, ETC
                                                                                                                                                                              I             I$0.00
                                                                                                                                                                                             HOUSEHOLD GOODS
                                                                                                                                                                                                                              I
00
C[
                     STOLEN           $0.00                                           $0.00                                                 $0.00                                            $0.00
0
,!                  IRECOVERED
                                      I
                                      $0.00
                                      FIREARMS
                                                                                     I$0.00
                                                                         CONSUMABLE GOODS
                                                                                                                        I
                                                                                                                 LIVESTOCK
                                                                                                                                            I
                                                                                                                                            $0.00
                                                                                                                                                           OTHER
                                                                                                                                                                              I             I$0.00
                                                                                                                                                                                                        TOTAL
                                                                                                                                                                                                                              I
                     STOLEN           $0.00                              $0. 00                                   $0.00                                    $0.00                                        $0.00

                    IRECOVERED
                                      I
                                      $0.00                              I
                                                                         $0. 00
                                                                                                           II     $0.00
                                                                                                                                                    II     $0.00
                                                                                                                                                                                                   II   $0.00
                                                                                                                                                                                                                                              I
:~
<C
                    GCIC ENTRY
                                                   Ill     WARRANT
                                                                                  □
                                                                                         MISSING PERSONS
                                                                                                                             □
                                                                                                                                      VEHICLE
                                                                                                                                                                 □
                                                                                                                                                                            ARTICLE
                                                                                                                                                                                                         □
                                                                                                                                                                                                                  BOAT
                                                                                                                                                                                                                                              □
                                                                                                                                                                                                                                                        GUN
                                                                                                                                                                                                                                                                       □
                                                                                                                                                                                                                                                                             SECURITIES



0 DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                                                                  1 - Amphetamine
::)
                                                                                                   □ YES Ill NO □                                               □ 2 - Barbiturate                   □ 3 - Cocaine □ 4 - Hallucinogen                                   □ 5 - Heroin
,ri:: YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER
,t::i                                                                                                           □ 6 - Marijuana                                 □ 7 - Methamphetamine               □ 8 - Opium □ 9 - Synthetic Narcotic                               □ U - Unknown
re'
:i:Ji REQUIRED DATA FIELDS
      FOR CLEARANCE REPORT [IJ                                                                                                                                                                                                          Ill                   □
                                                                                                                                                                                                    10-22- 2019
                                                                               □                                              □
                               CLEARED BY ARREST                                       EXCEPTIONALLY CLEARED                           UNFOUNDED                    DATE OF CLEARANCE                                                          ADULT                   JUVENILE
0
REPORTING OFFICER                                                                                                              NUMBER                     APPROVING OFFICER                                                                                                    NUMBER
Ki ng c d                                                                                                               2984                              Williams s k                                                                                                      2165




                                                                                                                                                                                                                                  PLAINTIFF-024350(UI&S)
                 Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 30 of 59
                DEKALB COUNTY POLICE DEPARTMENT                       Case #:

                                GA0440200                          19-098681

                            ADDITIONAL INCIDENT TYPES
Incident Type                                           Counts   Incident Code   Offense Jurisdiction   Arrest Jurisdiction


16-6-10 (4001) Keeping a pl ace of pros titution        1        4001            COUN TY                COUNTY




                                                                                       PLAINTIFF-024351(UI&S)
                         Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 31 of 59
                        DEKALB COUNTY POLICE DEPARTMENT                        Case #:

                                         GA0440200                          19-098681

                                                            ADDITIONAL VICTIMS
Name (Last, First Middle):                                                                                             Moniker:                   DOB:                         Age:                  Sex:            Race:         Ethnicity:
S t a t e o f G eo rg i a
Address                                                                                        Home #:                            Work #:                     Cell #:                 Email:

1960 West Exchange P l . T uc k e r G A 3 0 0 8 4 -
SSN:                          Resident Status:                       HGT:        WGT:         Hair Color:                Hair Style:           Hair Length:             Eye Color:         OLN #:                                    State:


Occupation:                                              Employer:                                                     Address:                                                                                  Employer Phone:


Victim Type:                                               Student:     Yes     No      If Yes, Name of Victim's School:                         LEOKA Activity Type:                             LEOKA Assignment Type:

                                                                            □    □
                                                                                 
G o vernment

Injuries:   □     None □        Minor □     Internal □   Teeth   □      Unconscious     □    Lacerations     □         Bones   □       Other                                Used:     □   Drugs              □   Alcohol      □    Computer


SMTs:

Relationship To      (1)                                         (2)                                             (3)                                           (4)                                     (5)
Offenders:           (6)                                         (7)                                             (8)                                           (9)                                     (10)

Offenses             (1)     4002                                (2)   4004                                      (3)    4001                                   (4)                                     (5)
Involved:            (6)                                         (7)                                             (8)                                           (9)                                     (10)

Name (Last, First Middle):                                                                                             Moniker:                   DOB:                         Age:                  Sex:            Race:         Ethnicity:


Address                                                                                        Home #:                            Work #:                     Cell #:                 Email:



SSN:                          Resident Status:                       HGT:        WGT:         Hair Color:                Hair Style:           Hair Length:             Eye Color:         OLN #:                                    State:


Occupation:                                              Employer:                                                     Address:                                                                                  Employer Phone:


Victim Type:                                               Student:     Yes     No      If Yes, Name of Victim's School:                         LEOKA Activity Type:                             LEOKA Assignment Type:

                                                                            □    □

Injuries:   □     None □        Minor □     Internal □   Teeth   □      Unconscious     □    Lacerations     □         Bones   □       Other                                Used:     □   Drugs              □   Alcohol      □    Computer


SMTs:

Relationship To      (1)                                         (2)                                             (3)                                           (4)                                     (5)
Offenders:           (6)                                         (7)                                             (8)                                           (9)                                     (10)

Offenses             (1)                                         (2)                                             (3)                                           (4)                                     (5)
Involved:            (6)                                         (7)                                             (8)                                           (9)                                     (10)

Name (Last, First Middle):                                                                                             Moniker:                   DOB:                         Age:                  Sex:            Race:         Ethnicity:


Address                                                                                        Home #:                            Work #:                     Cell #:                 Email:



SSN:                          Resident Status:                       HGT:        WGT:         Hair Color:                Hair Style:           Hair Length:             Eye Color:         OLN #:                                    State:


Occupation:                                              Employer:                                                     Address:                                                                                  Employer Phone:


Victim Type:                                               Student:     Yes     No      If Yes, Name of Victim's School:                         LEOKA Activity Type:                             LEOKA Assignment Type:

                                                                            □    □

Injuries:   □     None □        Minor □     Internal □   Teeth   □      Unconscious     □    Lacerations     □         Bones   □       Other                                Used:     □   Drugs              □   Alcohol      □    Computer


SMTs:

Relationship To      (1)                                         (2)                                             (3)                                           (4)                                     (5)
Offenders:           (6)                                         (7)                                             (8)                                           (9)                                     (10)

Offenses             (1)                                         (2)                                             (3)                                           (4)                                     (5)
Involved:            (6)                                         (7)                                             (8)                                           (9)                                     (10)




                                                                                                                                                                                          PLAINTIFF-024352(UI&S)
                      Case 1:20-cv-05233-SEG                                  Document 115-18                                      Filed 01/18/24                               Page 32 of 59


                    DEKALB COUNTY POLICE DEPARTMENT                                                                                                                  Case #:

                               GA0440200                                                                                                                        19-098681




                                                                                                                                   -
                                             ADDITIONAL OFFENDERS
Name:                                                                                              Moniker:                         DOB:                            Age:                        Sex:         Race:           Ethnicity:
Davis, Tre mayne Jaron                                                                                                                         -1997                22                          M            B               N
Address:                                                                     Home Phone:                      Work Phone:                     Cell Phone:                     Email:
5 7 4 5 N o r t h f i e l d D r ive E l l e n w o od GA 3 0 2 94 -
 SSN:                 Resident Status:              HGT:     WGT:     Hair Color:             Hair Style:                   Hair Length:               Eye Color:                      OLN #:                                  State:
                      R E S I D EN T                600      160      BL A CK                 OTH ER                        MEDIUM                     B R OW N                        059373417                               GA
 Occupation:                                     Employer:                                          Address:                                                                                               Employer Phone:
 UN EM P L OY ED
SMTs:


                                                                                                   Offenses Involved:
(1) 16-6-11     (4002) Pimping                                                       4002                   (2)

(3)                                                                                                         (4)

(5)                                                                                                         (6)

(7)                                                                                                         (8)

(9)                                                                                                         (10)

      WANTED:
                □    WARRANT:
                                   □      ARREST:
                                                     llil              SUSPECT ARMED:          N               WEAPON:                                                           Used:     □     Drugs □    Alcohol □    Computer

DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                         □ 1 - Amphetamine □ 2 - Barbiturate                              □ 3 - Cocaine       □ 4 - Hallucinogen                □ 5 - Heroin
YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER            □ YES □ NO
                                                                                           □ 6 - Marijuana   □ 7 - Methamphetamine                          □ 8 - Opium         □ 9 - Synthetic Narcotic          □ U - Unknown
Name:                                                                                              Moniker:                         DOB:                            Age:                        Sex:         Race:           Ethnicity:


Address:                                                                     Home Phone:                      Work Phone:                     Cell Phone:                     Email:


 SSN:                 Resident Status:              HGT:     WGT:     Hair Color:             Hair Style:                   Hair Length:               Eye Color:                      OLN #:                                  State:


 Occupation:                                    Employer:                                          Address:                                                                                                Employer Phone:


SMTs:


                                                                                                   Offenses Involved:
(1)                                                                                                         (2)

(3)                                                                                                         (4)

(5)                                                                                                         (6)

(7)                                                                                                         (8)

(9)                                                                                                         (10)

      WANTED:
                □    WARRANT:
                                   □      ARREST:
                                                     □                 SUSPECT ARMED:                          WEAPON:                                                           Used:     □     Drugs □    Alcohol □    Computer

                                                                                               1 - Amphetamine              2 - Barbiturate                     3 - Cocaine             4 - Hallucinogen              5 - Heroin
DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                         □                            □                                   □                   □                                 □
YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER            □ YES □ NO
                                                                                           □ 6 - Marijuana              □ 7 - Methamphetamine               □ 8 - Opium         □ 9 - Synthetic Narcotic          □ U - Unknown
Name:                                                                                              Moniker:                         DOB:                            Age:                        Sex:         Race:           Ethnicity:


Address:                                                                   Home Phone:                      Work Phone:                       Cell Phone:                     Email:


 SSN:                 Resident Status:              HGT:     WGT:     Hair Color:             Hair Style:                   Hair Length:               Eye Color:                      OLN #:                                  State:


 Occupation:                                    Employer:                                          Address:                                                                                                Employer Phone:


SMTs:


                                                                                                   Offenses Involved:
(1)                                                                                                         (2)
(3)                                                                                                         (4)

(5)                                                                                                         (6)

(7)                                                                                                         (8)
(9)                                                                                                         (10)


                □                  □                 □                                                                                                                                     □
      WANTED:        WARRANT:             ARREST:                      SUSPECT ARMED:                          WEAPON:                                                           Used:           Drugs □    Alcohol □    Computer


DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                       □ 1 - Amphetamine □ 2 - Barbiturate                            □ 3 - Cocaine          □ 4 - Hallucinogen                □ 5 - Heroin
YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER            □ YES □ NO
                                                                                         □ 6 - Marijuana   □ 7 - Methamphetamine                        □ 8 - Opium            □ 9 - Synthetic Narcotic          □ U - Unknown




                                                                                                                                                                                       PLAINTIFF-024353(UI&S)
                   Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 33 of 59
                   DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                    GA0440200                       19-098681

                                          NARRATIVE
Officer ID/Name:                           Date:                          Approving Officer ID/Name:                   Date:
3089                Connors m a            10/22/2019 4:43:27 PM          2794                         Davis d p       10/23/2019 6:51:36 PM
Title:               ADDITIONAL N ARRATIV E



Re port Date: 10/22l20 19 16:36 :5 0
R,e porting Offi cer: 30 89 - C onnors a
App r,oving Offi,ce r: 2 7'94 - D,avis d p

On October 22 , 20 1'9 at a pp roximately 15 00h rs I res pond ed 464'9 Me orial Dr (United Inn H,otel) in refere nce to assisti ng ,a n
,offi cer. Upon a rriva l I ,e ntere d ro o 11.8 a nd detained the three subj ects; two blac k fe ales and ,o ne black ale , that we r,e
 na ~ed in the locatio n, w ith vice detectives . Upon furthe r in11esti gatio n hy 11ice d etectives, Mrs. Ta rayia Hail ey was pl.a,c ed under
a rrest for prostitution. All belong ings we re tra ns ported w ith the s uspect to Dekalb, Co unty Ja il w itho ut incid ent. Bodywo rn
Ca era was activated du rin,g the inc ide nt.




                                                                                                                     PLAINTIFF-024354(UI&S)
                   Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 34 of 59
                   DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                    GA0440200                       19-098681

                                            NARRATIVE
Officer ID/Name:                             Date:                            Approving Officer ID/Name:                     Date:
2984                King c d                 10/22/2019 8:54:51 PM
Title:               INITIAL REPORT



On October 22 , 20 1'9 at a pprox imiltely 3 :20 P.M., De Kalb C ounty V ice un it co lla borated w ith De Kalb County S .\nJ.A .T un it w ith
,c onducting a prostitution ,oper,ation at 4649 Me orial Drive (U nited Inn ,& Su ites). During the o per,atio n tv.r,o adu lt fe ales later
 id entifi ed as Ms . Ta r,ayia ~ (D.O.B. 1111111111 '9"94) w as ,a rr,ested for Prostitution a nd K,ee ping a place ,of pr,o stituhon a nd Ms .
Te ond ra Flo re nce (D.O.~           00 1) wasa rr,ested for prostitution . A bl,ac k adu lt :a le was later id entified as Mr. Tre ayne
 Dav is (D.O .B,.-      9'97} was a rreste d for Pi ping .

\"!hil e wo rking in a n undercov,e r ca p,a,city, I (Detective C .D . King Ba dge# 2984} mad e c ontact by cell phone w ith a bla,c k fe .ale
th at adve rtise d on Listcraw le r.co . Listcraw ler.oo adve rtise ment d is played pictu res of.a na ke d blac k fe ale w ith nipp le rings
w ith the phone numb er I-                       listed.

I calle d the listed nu ber a nd state d, - Hey w hat's up b,aby .· A fe male vo ice stated, -Hi!_ I re pli ed, - 1w ant to-see y,ou tod ay . I see
you got 2 g irls.· She stated, e,a h my ,g irlfrie nd .- I re plied , -o kay I wante,d two ,g irls for half hour.· She re plie d, ·$ 130 .- 1re plie d,
-o kay text e the add ress.· She re plied , -o kay .· I re ceive d a text. essa,ge fro m the liste d nu mber that stated , -4649 Memoria l
Drive .· I re plie d by text essage , · 1can be the re about 3 p. _- She re pli,ed by text, -Just let e know w he n you ,o n the way : I
r,e pli ed, -okay .-

A ppr,o ximately 3 :20 P.M., I pa rked my v,e hid e in th,e pa rking lot ,of th e liste d locahon . I call ed the liste d nu ber a nd stated, · Hey
I' , her,e : She r,epli ed , -oh ,okay you c an oome to room# 118.- 1r,epli ed, -o kay : I ,ex ited y ve hicle an,d procee de d to wa lk to,
room# 118. \~!hil e wa lking to ro om# 11 .8 , I noti ced a bl,ack fe ale w,e.aring a ,g ree n ju per wa lk inside ro om# 118. I kn ocked on
the do or of roo It 1 1,8 a nd the doo r ,opened w ith a fema le stand ing beh ind the doo r. Once I e ntered I noticed that the fe ale
behind th,e doo r was ,co pl,etely na ked a nd the fe al,e w ith the fe mal,e wea ring the ,g r,ee n ju per was s ittin,g ,on the bed. I
stated, · Hey w hat's up-.- The na ke d female w ho was later ide ntifie d as Ms. Ta ray i.a Ha il ey s aid, · Hey you w as ta lking to me on
the phone ,after y g irlfri,e nd phone we nt d e,a,d.- I re pli ed, -o h o kay ,coo l, so do you a ll wa nt the money now o r laterT They both
stated, · Now: I reache d into y pocket and ,gav,e Ms . Ha iley a hundr,ed d,olla r bill a nd a fifty do lla r bill (Tot al: $ 150 .00} d erived
fro m De Kalb· Gounty Investigation Funds. She took th e oney a nd secu r,e d it inside the nightstand located ne.ar the bed.

 I n,otified V ice D,etectives th at they ou ld co e .and take the suspect into ,custody . Th,e fe ale we.a ring the ju mper took it ,off a nd
was o pletely naked. They both got on the bed and w as s aying , -com ing on I can suck you r d ick wh ile we pl.ay w ith
,ou rs elves: I r,e plie d, , hat sou nds ,go od.- The r,e w.as a loud kno ck on the r,oo ,do or. V ice un it Detectives a nnounce d - De Kalb
 Po lice!9 The fe male w ho was we a ring the gre en ju mper who was later ide ntifi ed ,as Ms. Teondra Flo rence o pened the ro o
d,oo r, a nd v i,ce un it Detectiv,es w ith th e assistance ,of S.\"JA T un it enter,e d r,oo It 11.8 . Ms . Hail ey and Ms. Fl,or,e nce was taken
 into custody w ithout incide nt. Detective M. Johnson (Ba,d,ge# 2 183) w ith the assista nce of S ergea nt S .K. Willia ms (Ba dge #
2 16 5) d ea re-d the ro o a nd located , Mr. Tre may ne Dav is hid ing inside the restro o w ea ring re d shorts a nd no sh irt. Mr. Dav is
was take n into, ,c ustody w ithout incid,e nt.

A print out ,of roo m# 118 w as o bta ine d fro the front des k cle rk by Detecti ve M. Johnson . The d,ocu ent ind icated room# 118
was re gistere d to Ms . Ta ray ia Ha il ey . Ms . Hail ey was advised that she w as under a rrest for prostitution .and Kee ping a pla,oe of
prostitution . Ms. Ha il ey was transported to DeKalb County j .ail and lodge d on the cha r,ges of Pr,o stitution wa rrant# 1'9-\"J--0 18076
and Kee pin,g a pl.ace of prostitution wa rra nt# 1'9-\nJ~0 18077 . Ms . Flore nce was advised that she was under a rrested for
Prostituti on. Ms. Flo re nce w as trans ported to De Kalb C ounty j ail and lodged on the c ha nge of Prostitution wa rra nt# 19-W-
0 1.807.8 . Mr. Davis was advised that he was under a rrest for pimping . Mr. D.av is was transported to DeK alb County ja il and
lod,ged ,on the c harge of Pi ping wa rrant# 19-W-0 1.8079.

 Items attached to RMS :
1.         Reo orde d a u,dio of outb ound tele phone ca ll to- Ms. Ha il ey fro Me .
2.         Pictu r,e of reoorded text messa,ges fro Ms . Hail ey a nd yself
3.        Co py of otel re,gistrations receipt
4.         Pictu r,es of insid e roo # 1 18 and Listcraw le r.co adv,e rtise ent




                                                                                                                           PLAINTIFF-024355(UI&S)
                                             Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 35 of 59
                                            DEKALB COUNTY POLICE DEPARTMENT                    Case #:

                                                            GA0440200                       19-110614

                                                                                             INCIDENT REPORT
                  Incident Type:                                                                                                                                                  Counts            Incident Code                     Offense Jurisdiction                        Arrest Jurisdiction
                  3-6-8 SUSPICIOUS ACTIVITY                                                                                                                                        1                N ON C                            COU NTY
EVENT'




                  Premise Type:                                                                                   Weapon Type:                                                                   Forcible:                Stranger To Stranger:             Hate Motivated:                 Loc Code:




                                                                                                                                                                                                                                                                             □
                  CO MM E R C IA L                                                                                                                                                                                        U                                                                 560
                  Date Report:                                             Incident Start:                                    Incident End:                                      Incident Location:
                  11/27/2019 6:14:07 PM 11/25/2019 1:00:00 AM1 1/ 2 5/ 2 0 19 2 : 0 0 :0 0 A M46 4 9 M E MO R I AL D R 11 7 S T O N E M O UN T AI N G A
                      Name (Last, First Middle):                                                                                                                Moniker:                                     DOB:                           Age:                        Sex:            Race:           Ethnicity:
                      FI E LD S , J A S MI NE ASI A                                                                                                                                                                    - 1995               24                          F               B               N




                                                                                                                                                                                                             I
                      Address                                                                                                                  Home #:                                 Work #:                            Cell #:                              Email:

                      1228 RICHARD RD DECATUR GA 30032-
                      SSN:                              Resident Status:                             HGT:              WGT:            Hair Color:                 Hair Style:                       Hair Length:                   Eye Color:                    OLN #:                                State:
                                                                                                     508               12 5            BLACK                       WI G / T OU P E E LONG                                           B R OW N                      05 9 1 4 3 8 1 1                      GA
                      Occupation:                                                     Employer:                                                        Address:                                                                                                                    Employer Phone:
VIC.TlM




                      Victim Type:                                                                          Yes   No          If Yes, Name of Victim's School                                      LEOKA Activity Type:                                       LEOKA Assignment Type:
                                                                                              Student:
                      I n d i v i du al
                                                                                                             □
                                                                                                                   □


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                                                                                                                                                                                                                                                                                  □
                      Injuries:         None                   Minor       Internal          Teeth          Unconscious              Lacerations                Bones            Other                                      Used:                   Drugs             Alcohol           Computer

                      SMTs:


                      Relationship To       (1)                                                      (2)                                                  (3)                                                  (4)                                                    (5)
                      Offenders:            (6)                                                      (7)                                                  (8)                                                  (9)                                                    (10)

                      Offenses              (1)   No nc                                              (2)                                                  (3)                                                  (4)                                                    (5)
                      Involved:             (6)                                                      (7)                                                  (8)                                                  (9)                                                    (10)

                      Name:                                                                                                                                     Moniker:                            DOB:                            Age:                       Sex:                Race:           Ethnicity:


                      Address:                                                                                                                Home Phone:                              Work Phone:                     Cell Phone:                             Email:


                      SSN:                              Resident Status:                             HGT:              WGT:            Hair Color:                 Hair Style:                       Hair Length:                   Eye Color:                    OLN #:                                State:


                      Occupation:                                                     Employer:                                                         Address:                                                                                                                  Employer Phone:
 OffENO:IEiR




                      SMTs:


                                                                                                                                                     Offenses Involved:
                  (1)                                                                                                                                                   (2)
                  (3)                                                                                                                                                   (4)

                  (5)                                                                                                                                                   (6)

                  (7)                                                                                                                                                   (8)
                  (9)                                                                                                                                                   (10)
                                      □


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                                                                                                     □




                                                                                                                                                                                                                                                             □


                                                                                                                                                                                                                                                                               □


                                                                                                                                                                                                                                                                                              □
                        WANTED:                    WARRANT:                           ARREST:                                   SUSPECT ARMED:                             WEAPON:                                                                  Used:          Drugs            Alcohol         Computer
                                                                                                                                                                                               II
                                                                                                                                                                        □




                                  TOTAL NUMBER ARRESTED:                   0                         ARREST AT OR NEAR OFFENSE SCENE:                            Yes:                    No:

                                                          VEHICLES                                         CURRENCY, NOTES, ETC                                 JEWELRY, PREC. METALS                           FURS
                                                                                                                                                                                                             -- --




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                                                                                                      -- --
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                                   STOLEN                 $0.00                                             $0.00                                               $0.00                                           $0.00
                                  [




                                   RECOVERED              $0.00                                             $0.00                                               $0.00                                           $0.00
   PROPa8RTY




                                                          CLOTHING                                         OFFICE EQUIP.                                        TV, RADIO, ETC                                  HOUSEHOLD GOODS
                                                                                                                                          --

                                                                                                                                                           --




                                   STOLEN                 $0.00                                             $0.00                                               $0.00                                           $0.00
                             -- --

                                                  ,..._,....




                                   RECOVERED              $0.00                                             $0.00                                               $0.00                                           $0.00
                                                         FIREARMS                               CONSUMABLE GOODS                        LIVESTOCK                              OTHER                                       TOTAL
                                   STOLEN
                                                                                                                                                                                                                     --
                                                                                                                                                                                                                     --




                                                                                                                                                                                                                                                               --




                                                         $0.00                                  $0. 00                                  $0.00                                  $0.00                                       $0.00
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                                            -     -




                                   RECOVERED             $0.00                                  $0. 00                                  $0.00                                  $0.00                                       $0.00
C!WEAR: IJ:RUG ADM.




                                  GCIC ENTRY                                      WARRANT                     MISSING PERSONS                            VEHICLE                               ARTICLE                               BOAT                                   GUN                  SECURITIES
                                                                           □


                                                                                                         □




                                                                                                                                                 □



                                                                                                                                                                                    □




                                                                                                                                                                                                                            □



                                                                                                                                                                                                                                                                □


                                                                                                                                                                                                                                                                                           □




                      DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                                                                  1 - Amphetamine                 2 - Barbiturate                     3 - Cocaine                4 - Hallucinogen                       5 - Heroin
                                                                                                                                                     □□




                                                                                                                                                                                   □□




                                                                                                                                                                                                                       □□



                                                                                                                                                                                                                                                   □□




                                                                                                                                                                                                                                                                                           □□




                                                                                                                                 YES          NO
                                                                                                                                        Iii
                                                                                                                         □




                      YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER
                                                                                                                                                          6 - Marijuana                   7 - Methamphetamine                 8 - Opium                  9 - Synthetic Narcotic                 U - Unknown


                      REQUIRED DATA FIELDS
                                                                                                                                                                                                                                                            □

                                                                                                                                                                                                                                                                                  □
                                                                 □




                                                                                                                                                                                                                       12-10- 2019
                                                                                                     □



                                                                                                                                                     □




                                                                       CLEARED BY ARREST                     EXCEPTIONALLY CLEARED                         UNFOUNDED                   DATE OF CLEARANCE                                                           ADULT                   JUVENILE
                      FOR CLEARANCE REPORT


REPORTING OFFICER                                                                                                                                    NUMBER                   APPROVING OFFICER                                                                                                    NUMBER
W illiams s m                                                                                                                                 2832                            Cole c e                                                                                                          2150




                                                                                                                                                                                                                                                         PLAINTIFF-024356(UI&S)
                   Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 36 of 59
                   DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                    GA0440200                       19-110614

                                         NARRATIVE
Officer ID/Name:                         Date:                          Approving Officer ID/Name:                 Date:
2832                W illiams s m        11/27/2019 6:18:25 PM
Title:               INITIAL REPORT



O n ov,e ber 27 , 20 19 at 2 14 8 hours, I res ponded to a suspicious activ ity ca ll at 4 64 9 Memo ria l Driv,e m o      117 at the Un ited
Inn in Sto n,e Mountain. The v i cti , Ms . Jasm i n,e Fie Ids , a,dv is e,d th at s he was s exu.a Ily assau lted .




                                                                                                                 PLAINTIFF-024357(UI&S)
                   Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 37 of 59
                   DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                    GA0440200                       19-110614

                                               NARRATIVE
Officer ID/Name:                                Date:                        Approving Officer ID/Name:                   Date:
2832                W illiams s m               11/27/2019 6:20:33 PM        2150                         Cole c e        11/27/2019 7:59:19 PM
Title:               S U P P LE M E N T A L N A R R AT I V E



O n ov,e ber 27 , 20 19 at 2 148 ho urs , I responde d to a suspicio us activ ity ca ll at 4649 Memo ria l Driv,e mo              117 at the United
Inn in Stone Mo untain . Th,e v ictim. Ms. Jasmine Fie Ids. adv is,ed that she was s exua Ily assa u lte,d.

Ms. Fie lds adv ise d that s he et the s uspect (bl.ack a le , w ea ring a y,e ll ow s hi rt ,a nd jea n j acket} LI P the street foo the lJ nite,d
Inn. S he adv is e d that s he a llowe d the s uspect to com e into her roo m a nd o nce inside th ey w,e nt into th e r,estroom. S he
adv is,e d that he attempte d to ra pe he r a nd stated "yo u know w hat th is is" a nd ad-e he r pe rfor o ra l sex o n hi . She adv ise d
that a physic al ,alte rcatio n e ns ue d a nd s he was a ble to c onvinee hi to, le,av,e . She advise d that s he d oes not wa nt to press
c h.a r,ges.

 I co ntacted the s pe,cia l victi s unit .and s poke w ith Detective Ha r,dy#970 . I w as advise d to title th e re po rt suspicious .activity.
 Body \•J;orn ca e ra activ ate d.




                                                                                                                         PLAINTIFF-024358(UI&S)
                               Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 38 of 59
                              DEKALB COUNTY POLICE DEPARTMENT                    Case #:

                                              GA0440200                       20-002455

                                                                      INCIDENT REPORT
       Incident Type:                                                                                                                                          Counts             Incident Code                    Offense Jurisdiction                       Arrest Jurisdiction
       3- 6 - 1 2 W AN T ED P E R S O N LO C A T E D                                                                                                            1                 N ON C                           COU NTY                                    CO U NTY
       16 - 1 3 - 3 0 ( 3 5 3 2 ) Vg c s a - p os s e s s i o n - c o c a in e                                                                                  1                 3532                             COUNTY                                     COUNTY
I-
z 16-13-30 (3564) Vgcsa - other - marijuan a                                                                                                                    1                 3564                             COUNTY                                     COUNTY
IU
[i Premise Type:                             Weapon Type:                                                                                                                     Forcible:                Stranger To Stranger:            Hate Motivated:                 Loc Code:
       CO MM E R C IA L                                                                     04                                                                                N                        Y                                                 □              280
       Date Report:                                 Incident Start:                                     Incident End:                                         Incident Location:
       1/8/2020 9: 03:56 PM                         1/8/2020 4:21:00 PM                                 1/8/2020 6:45:00 PM                                   46 4 9 M e m o r ia l D r D EC A T U R G A
        Name (Last, First Middle):                                                                                                          Moniker:                                      DOB:                           Age:                      Sex:             Race:           Ethnicity:
        D ekalb Count y Police Dpeartment
        Address                                                                                                             Home #:                                 Work #:                            Cell #:                             Email:

        1960 W. Exchange P l T u cke r G A 3 0 0 8 4 -
        SSN:                          Resident Status:                         HGT:              WGT:           Hair Color:                     Hair Style:                       Hair Length:                   Eye Color:                   OLN #:                                State:


        Occupation:                                           Employer:                                                          Address:                                                                                                                      Employer Phone:

~
F
u Victim Type:                                                                        Yes   No          If Yes, Name of Victim's School                                         LEOKA Activity Type:                                      LEOKA Assignment Type:
                                                                       Student:
>                                                                                      □ □
                                                                                             



                        □   None □     Minor □      Internal □                 □                         □                       □                     □                                                                □                 □                   □
                        
        Injuries:                                                     Teeth           Unconscious              Lacerations                  Bones             Other                                      Used:                  Drugs             Alcohol           Computer

        SMTs:


        Relationship To       (1)   STRANGER                                   (2)                                                    (3)                                                    (4)                                                  (5)
        Offenders:            (6)                                              (7)                                                    (8)                                                    (9)                                                  (10)

        Offenses              (1)   3532                                       (2)   3564                                             (3)                                                    (4)                                                  (5)
        Involved:             (6)                                              (7)                                                    (8)                                                    (9)                                                  (10)

       Name:                                                                                                                                Moniker:                              DOB:                           Age:                     Sex:                 Race:           Ethnicity:


       Address:                                                                                                         Home Phone:                                 Work Phone:                     Cell Phone:                           Email:


        SSN:                          Resident Status:                         HGT:              WGT:           Hair Color:                     Hair Style:                       Hair Length:                   Eye Color:                   OLN #:                                State:


        Occupation:                                            Employer:                                                          Address:                                                                                                                    Employer Phone:
0:
ll!I
Ci SMTs:
zw
                                                                                                                               Offenses Involved:
It (1)
  '
                                                                                                                                                    (2)
0
       (3)                                                                                                                                          (4)

       (5)                                                                                                                                          (6)

       (7)                                                                                                                                          (8)
       (9)                                                                                                                                          (10)

                                                                                                                                                                                                                                          □    Drugs □          Alcohol □
             WANTED:
                            □        WARRANT:
                                                  □           ARREST:
                                                                              □                           SUSPECT ARMED:                               WEAPON:                                                                  Used:                                           Computer

                    TOTAL NUMBER ARRESTED:

                                      VEHICLES
                                                  2
                                                   □                          ARREST AT OR NEAR OFFENSE SCENE:

                                                                                     CURRENCY, NOTES, ETC
                                                                                                                                             Yes:
                                                                                                                                                    □
                                                                                                                                            JEWELRY, PREC. METALS
                                                                                                                                                                      No:   Iii!
                                                                                                                                                                                             FURS

                    ISTOLEN    I$ 0 . 0 0                                             $0.00                                                 $0.00                                            $0.00
>-
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                    IRECOVERED I$ 0 . 0 0
                                      CLOTHING
                                                                                     I$0.00
                                                                                     OFFICE EQUIP.
                                                                                                                        I                   I
                                                                                                                                            $0.00
                                                                                                                                            TV, RADIO, ETC
                                                                                                                                                                              I             I$0.00
                                                                                                                                                                                             HOUSEHOLD GOODS
                                                                                                                                                                                                                              I
00
C[
                     STOLEN           $0.00                                           $0.00                                                 $0.00                                            $0.00
0
,!                  IRECOVERED
                                      I
                                      $0.00
                                      FIREARMS
                                                                                     I$0.00
                                                                         CONSUMABLE GOODS
                                                                                                                        I
                                                                                                                 LIVESTOCK
                                                                                                                                            I
                                                                                                                                            $0.00
                                                                                                                                                           OTHER
                                                                                                                                                                              I             I$0.00
                                                                                                                                                                                                        TOTAL
                                                                                                                                                                                                                              I
                     STOLEN           $0.00                              $0. 00                                   $0.00                                    $0.00                                        $0.00

                    IRECOVERED
                                      I
                                      $0.00                              I
                                                                         $0. 00
                                                                                                           II     $0.00
                                                                                                                                                    II     $0.00
                                                                                                                                                                                                   II   $0.00
                                                                                                                                                                                                                                              I
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<C
                    GCIC ENTRY
                                                    □
                                                           WARRANT
                                                                                  □
                                                                                         MISSING PERSONS
                                                                                                                             □
                                                                                                                                      VEHICLE
                                                                                                                                                                 □
                                                                                                                                                                            ARTICLE
                                                                                                                                                                                                         □
                                                                                                                                                                                                                  BOAT
                                                                                                                                                                                                                                              □
                                                                                                                                                                                                                                                        GUN
                                                                                                                                                                                                                                                                       □
                                                                                                                                                                                                                                                                             SECURITIES



0 DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                                                                  1 - Amphetamine
::)
                                                                                                   □ YES Ill NO □                                               □ 2 - Barbiturate                   □ 3 - Cocaine □ 4 - Hallucinogen                                   □ 5 - Heroin
,ri:: YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER
,t::i                                                                                                           □ 6 - Marijuana                                 □ 7 - Methamphetamine               □ 8 - Opium □ 9 - Synthetic Narcotic                               □ U - Unknown
re'
:i:Ji REQUIRED DATA FIELDS
      FOR CLEARANCE REPORT [IJ                                                                                                                                                                                                          Ill                   □
                                                                                                                                                                                                    01-08- 2020
                                                                               □                                              □
                               CLEARED BY ARREST                                       EXCEPTIONALLY CLEARED                           UNFOUNDED                    DATE OF CLEARANCE                                                          ADULT                   JUVENILE
0
REPORTING OFFICER                                                                                                              NUMBER                     APPROVING OFFICER                                                                                                    NUMBER
Ki m b le j j                                                                                                           3415                              Williams s k                                                                                                      2165




                                                                                                                                                                                                                                  PLAINTIFF-024359(UI&S)
                 Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 39 of 59
                DEKALB COUNTY POLICE DEPARTMENT                       Case #:

                                GA0440200                          20-002455

                             ADDITIONAL INCIDENT TYPES
Incident Type                                            Counts   Incident Code   Offense Jurisdiction   Arrest Jurisdiction


16-6-9 (4004) Prostitution                               1        4004            COUN TY                COUNTY


16-6-11 (4002) Pimping                                   1        4002            COUN TY                COUNTY


16-6-10 (4001) Keeping a pl ace of pros titution         1        4001            COUN TY                COUNTY




                                                                                        PLAINTIFF-024360(UI&S)
                         Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 40 of 59
                        DEKALB COUNTY POLICE DEPARTMENT                        Case #:

                                         GA0440200                          20-002455

                                                            ADDITIONAL VICTIMS
Name (Last, First Middle):                                                                                             Moniker:                   DOB:                         Age:                  Sex:            Race:         Ethnicity:
S T A T E O F GE O R G IA
Address                                                                                        Home #:                            Work #:                     Cell #:                 Email:

1960 W EXCHAN GE PL TUCKER GA 30084-                                                                                              770- 724-7740
SSN:                          Resident Status:                       HGT:        WGT:         Hair Color:                Hair Style:           Hair Length:             Eye Color:         OLN #:                                    State:


Occupation:                                              Employer:                                                     Address:                                                                                  Employer Phone:


Victim Type:                                               Student:     Yes     No      If Yes, Name of Victim's School:                         LEOKA Activity Type:                             LEOKA Assignment Type:

                                                                            □    □
                                                                                 
G o vernment

Injuries:   □     None □        Minor □     Internal □   Teeth   □      Unconscious     □    Lacerations     □         Bones   □       Other                                Used:     □   Drugs              □   Alcohol      □    Computer


SMTs:

Relationship To      (1)     STRANGER                            (2)                                             (3)                                           (4)                                     (5)
Offenders:           (6)                                         (7)                                             (8)                                           (9)                                     (10)

Offenses             (1)     4004                                (2)                                             (3)                                           (4)                                     (5)
Involved:            (6)                                         (7)                                             (8)                                           (9)                                     (10)

Name (Last, First Middle):                                                                                             Moniker:                   DOB:                         Age:                  Sex:            Race:         Ethnicity:


Address                                                                                        Home #:                            Work #:                     Cell #:                 Email:



SSN:                          Resident Status:                       HGT:        WGT:         Hair Color:                Hair Style:           Hair Length:             Eye Color:         OLN #:                                    State:


Occupation:                                              Employer:                                                     Address:                                                                                  Employer Phone:


Victim Type:                                               Student:     Yes     No      If Yes, Name of Victim's School:                         LEOKA Activity Type:                             LEOKA Assignment Type:

                                                                            □    □

Injuries:   □     None □        Minor □     Internal □   Teeth   □      Unconscious     □    Lacerations     □         Bones   □       Other                                Used:     □   Drugs              □   Alcohol      □    Computer


SMTs:

Relationship To      (1)                                         (2)                                             (3)                                           (4)                                     (5)
Offenders:           (6)                                         (7)                                             (8)                                           (9)                                     (10)

Offenses             (1)                                         (2)                                             (3)                                           (4)                                     (5)
Involved:            (6)                                         (7)                                             (8)                                           (9)                                     (10)

Name (Last, First Middle):                                                                                             Moniker:                   DOB:                         Age:                  Sex:            Race:         Ethnicity:


Address                                                                                        Home #:                            Work #:                     Cell #:                 Email:



SSN:                          Resident Status:                       HGT:        WGT:         Hair Color:                Hair Style:           Hair Length:             Eye Color:         OLN #:                                    State:


Occupation:                                              Employer:                                                     Address:                                                                                  Employer Phone:


Victim Type:                                               Student:     Yes     No      If Yes, Name of Victim's School:                         LEOKA Activity Type:                             LEOKA Assignment Type:

                                                                            □    □

Injuries:   □     None □        Minor □     Internal □   Teeth   □      Unconscious     □    Lacerations     □         Bones   □       Other                                Used:     □   Drugs              □   Alcohol      □    Computer


SMTs:

Relationship To      (1)                                         (2)                                             (3)                                           (4)                                     (5)
Offenders:           (6)                                         (7)                                             (8)                                           (9)                                     (10)

Offenses             (1)                                         (2)                                             (3)                                           (4)                                     (5)
Involved:            (6)                                         (7)                                             (8)                                           (9)                                     (10)




                                                                                                                                                                                          PLAINTIFF-024361(UI&S)
                      Case 1:20-cv-05233-SEG                                  Document 115-18                                      Filed 01/18/24                               Page 41 of 59


                    DEKALB COUNTY POLICE DEPARTMENT                                                                                                                  Case #:

                               GA0440200                                                                                                                        20-002455




                                                                                                                                   -
                                             ADDITIONAL OFFENDERS
Name:                                                                                              Moniker:                         DOB:                            Age:                        Sex:         Race:            Ethnicity:
Spe nce, Bobby                                                                                                                                  1978                41                          M            B
Address:                                                                     Home Phone:                      Work Phone:                     Cell Phone:                     Email:
Un know n Unknow n
 SSN:                 Resident Status:              HGT:     WGT:     Hair Color:             Hair Style:                   Hair Length:               Eye Color:                      OLN #:                                   State:
                      R E S I D EN T                600      180      BL A CK                 BRA I DE D                    M E D IU M                 B R OW N
 Occupation:                                     Employer:                                          Address:                                                                                               Employer Phone:


SMTs:


                                                                                                   Offenses Involved:
(1) 16-13-30      (3532) Vgcsa - possession - co caine                               3532                   (2)    16-13-30 (3564) Vgcsa - oth er - marijuana                                                                3564
(3)                                                                                                         (4)

(5)                                                                                                         (6)

(7)                                                                                                         (8)

(9)                                                                                                         (10)


                □                  □                 llil                                                                                                                                  □     Drugs □    Alcohol □
                                                                                                                                                                                           
      WANTED:         WARRANT:            ARREST:                      SUSPECT ARMED:          N               WEAPON:                                                           Used:                                   Computer

                                                                                               1 - Amphetamine
DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF
                                                                     Ill YES □ NO □                                     □ 2 - Barbiturate                   □ 3 - Cocaine       □ 4 - Hallucinogen                □ 5 - Heroin



                                                                                                                                   -
YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER
                                                                                  □ 6 - Marijuana                       □ 7 - Methamphetamine               □ 8 - Opium         □ 9 - Synthetic Narcotic          □ U - Unknown
Name:                                                                                              Moniker:                         DOB:                            Age:                        Sex:         Race:            Ethnicity:
WI LL I AM S , C HE L S IE R EN EE                                                                                                             -1988                31                          F            W                N
Address:                                                                     Home Phone:                      Work Phone:                     Cell Phone:                     Email:
127 PORKIE DR WARNER ROBINS GA 31093-
 SSN:                 Resident Status:              HGT:     WGT:     Hair Color:             Hair Style:                   Hair Length:               Eye Color:                      OLN #:                                   State:
                      R E S I D EN T                50 6     120      BL A CK                 STRAIGHT                      MEDIUM                     B R OW N                        053510129                                GA
 Occupation:                                    Employer:                                          Address:                                                                                                Employer Phone:


SMTs:


                                                                                                   Offenses Involved:
(1) 16-6-9      (4004) Prostitutio n                                                 4004                   (2)

(3)                                                                                                         (4)

(5)                                                                                                         (6)

(7)                                                                                                         (8)

(9)                                                                                                         (10)

      WANTED:
                □     WARRANT:
                                   □      ARREST:
                                                     □                 SUSPECT ARMED:          N               WEAPON:                                                           Used:     □     Drugs □    Alcohol □    Computer

                                                                                               1 - Amphetamine              2 - Barbiturate                     3 - Cocaine             4 - Hallucinogen              5 - Heroin
DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                         □                            □                                   □                   □                                 □
YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER            □ YES □ NO
                                                                                           □ 6 - Marijuana              □ 7 - Methamphetamine               □ 8 - Opium         □ 9 - Synthetic Narcotic          □ U - Unknown
Name:                                                                                              Moniker:                         DOB:                            Age:                        Sex:         Race:            Ethnicity:


Address:                                                                   Home Phone:                      Work Phone:                       Cell Phone:                     Email:


 SSN:                 Resident Status:              HGT:     WGT:     Hair Color:             Hair Style:                   Hair Length:               Eye Color:                      OLN #:                                   State:


 Occupation:                                    Employer:                                          Address:                                                                                                Employer Phone:


SMTs:


                                                                                                   Offenses Involved:
(1)                                                                                                         (2)
(3)                                                                                                         (4)

(5)                                                                                                         (6)

(7)                                                                                                         (8)
(9)                                                                                                         (10)


                □                  □                 □                                                                                                                                     □
      WANTED:         WARRANT:            ARREST:                      SUSPECT ARMED:                          WEAPON:                                                           Used:           Drugs □    Alcohol □    Computer


DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                       □ 1 - Amphetamine □ 2 - Barbiturate                            □ 3 - Cocaine          □ 4 - Hallucinogen                □ 5 - Heroin
YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER            □ YES □ NO
                                                                                         □ 6 - Marijuana   □ 7 - Methamphetamine                        □ 8 - Opium            □ 9 - Synthetic Narcotic          □ U - Unknown




                                                                                                                                                                                       PLAINTIFF-024362(UI&S)
                     Case 1:20-cv-05233-SEG Document 115-18                                                                   Filed 01/18/24                     Page 42 of 59
                    DEKALB COUNTY POLICE DEPARTMENT                                                                                                    Case #:

                                     GA0440200                                                                                                    20-002455

                                                       INCIDENT VEHICLES
                  TAG NUMBER                             STATE              YEAR          V.I.N.                                           TYPE
    □ STOLEN      PTG9704                               GA                 2020           2M EL M 7 5 W 4 T X 6 9 0 65 4                   2 OR 4 DOOR SEDAN (PASSENGER)
                  YEAR     MAKE                        MODEL                                       STYLE                   COLOR                    RELATED TO
    □ RECOVD      1996     ME RCU RY                   GRA ND M A RQ U IS                          SE D A N , 4 D O O R; G R EE N                   SP E N C E , B O BB Y K E N T A VI O US
                                  MOTOR SIZE (CID)                           AUTO         MAN.                                INSURED BY
Ill SUSPECTS                                                        TRANS                                                     L oya In surance Co.
                                                                             □            □
OWNER                                                                          ADDRESS                                                                                          PHONE
B U RNS RASH ED A NESHA DI A                                                   4375 CASCADE RD SW ATLA NTA GA 30331-
INVENTORY        INVENTORY DATE                                STORED AT                                    SECURED            DATE SECURED                           RELEASED TO OTHER

    □            1/ 10 / 2 02 0 7 : 4 5 :0 0 P M               S & W T O W I NG                             Y                  1/10/2020 8:00:00 PM                   S & W T O WI NG
                  TAG NUMBER                             STATE              YEAR          V.I.N.                                           TYPE
    □ STOLEN
                  YEAR     MAKE                        MODEL                                       STYLE                   COLOR                    RELATED TO
    □ RECOVD
                                    MOTOR SIZE (CID)                               AUTO            MAN.                                INSURED BY
    □ SUSPECTS                                                             TRANS
                                                                                    □              □
OWNER                                                                          ADDRESS                                                                                          PHONE



INVENTORY        INVENTORY DATE                                STORED AT                                    SECURED            DATE SECURED                           RELEASED TO OTHER

    □
                  TAG NUMBER                             STATE             YEAR           V.I.N.                                           TYPE
    □ STOLEN
                  YEAR      MAKE                         MODEL                       STYLE                            COLOR                   RELATED TO
    □ RECOVD
                                    MOTOR SIZE (CID)                               AUTO            MAN.                                INSURED BY
    □ SUSPECTS                                                             TRANS
                                                                                    □              □
OWNER                                                                          ADDRESS                                                                                          PHONE


INVENTORY        INVENTORY DATE                                STORED AT                                    SECURED            DATE SECURED                           RELEASED TO OTHER

    □
                  TAG NUMBER                             STATE             YEAR           V.I.N.                                           TYPE
    □ STOLEN
                  YEAR     MAKE                        MODEL                                       STYLE                   COLOR                    RELATED TO
    □ RECOVD
                                    MOTOR SIZE (CID)                               AUTO            MAN.                                INSURED BY
    □ SUSPECTS                                                             TRANS
                                                                                    □              □
OWNER                                                                          ADDRESS                                                                                          PHONE


INVENTORY        INVENTORY DATE                                STORED AT                                    SECURED            DATE SECURED                           RELEASED TO OTHER

    □
                  TAG NUMBER                             STATE             YEAR           V.I.N.                                           TYPE
    □ STOLEN
                  YEAR     MAKE                        MODEL                                       STYLE                   COLOR                    RELATED TO
    □ RECOVD
                                    MOTOR SIZE (CID)                               AUTO            MAN.                                INSURED BY
    □ SUSPECTS                                                             TRANS
                                                                                    □              □
OWNER                                                                          ADDRESS                                                                                          PHONE


INVENTORY        INVENTORY DATE                                STORED AT                                    SECURED            DATE SECURED                           RELEASED TO OTHER

    □
                  TAG NUMBER                             STATE             YEAR           V.I.N.                                           TYPE
    □ STOLEN
                  YEAR     MAKE                        MODEL                                       STYLE                   COLOR                    RELATED TO
    □ RECOVD
                                    MOTOR SIZE (CID)                               AUTO            MAN.                                INSURED BY
    □ SUSPECTS                                                             TRANS
                                                                                    □              □
OWNER                                                                          ADDRESS                                                                                          PHONE



INVENTORY        INVENTORY DATE                                STORED AT                                    SECURED            DATE SECURED                           RELEASED TO OTHER>

    □


                                                                                                                                                                  PLAINTIFF-024363(UI&S)
                     Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 43 of 59
                     DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                      GA0440200                       20-002455

                                   INCIDENT PROPERTY
Class:                                      Description:                              Status:
G                                           Tv , r a d io , e tc .                    SA
Make:                                     Model:                                  Serial:
LG                                        C E L L P HO NE
Property Location:                                  QTY:                          Value:                                   UCR Code:
                                                     1                           $N a N .N a N                             4004
Related To:                                        Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:
W IL L IA M S, CH EL SI E RE NEE
Class:                                      Description:                              Status:


Make:                                     Model:                                  Serial:


Property Location:                                  QTY:                         Value:                                    UCR Code:


Related To:                                        Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                      Description:                              Status:


Make:                                     Model:                                  Serial:


Property Location:                                  QTY:                          Value:                                   UCR Code:


Related To:                                        Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                      Description:                              Status:


Make:                                     Model:                                  Serial:


Property Location:                                  QTY:                         Value:                                    UCR Code:


Related To:                                        Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                      Description:                              Status:


Make:                                     Model:                                  Serial:


Property Location:                                  QTY:                         Value:                                    UCR Code:


Related To:                                        Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                      Description:                              Status:


Make:                                     Model:                                  Serial:


Property Location:                                  QTY:                         Value:                                    UCR Code:


Related To:                                        Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                      Description:                              Status:


Make:                                     Model:                                  Serial:


Property Location:                                  QTY:                         Value:                                    UCR Code:


Related To:                                        Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                      Description:                              Status:


Make:                                     Model:                                  Serial:


Property Location:                                  QTY:                         Value:                                    UCR Code:


Related To:                                        Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:




                                                                                                               PLAINTIFF-024364(UI&S)
                Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 44 of 59
                  DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                  GA0440200                        20-002455

                                                       DRUG
Drug Code/Description:                                                Status:                                QTY:   Measure:
3                  Cocaine                                            F                                      0.8    GRAM
p Buying                             □ Manufacturing      □ Selling             □ Operating   □
                                                                                              
                                                                                                Possessing                     □ Importing
Drug Code/Description:                                                Status:                                QTY:   Measure:
3                  Cocaine                                            F                                      1.2    GRAM

b Buying                             □ Manufacturing      □ Selling             □ Operating   □ Possessing
                                                                                              
                                                                                                                               □ Importing
Drug Code/Description:                                                Status:                                QTY:   Measure:
3                  Cocaine                                            F                                      0.3    GRAM

b Buying                             □ Manufacturing      □ Selling             □ Operating   □ Possessing
                                                                                              
                                                                                                                               □ Importing
Drug Code/Description:                                                Status:                                QTY:   Measure:
3                  Cocaine                                            F                                      0.4    GRAM

b Buying                             □ Manufacturing      □ Selling             □ Operating   □
                                                                                              
                                                                                                Possessing                     □ Importing
Drug Code/Description:                                                Status:                                QTY:   Measure:
3                  Cocaine                                            F                                      0.3    GRAM

b Buying                             □ Manufacturing      □ Selling             □ Operating   □
                                                                                              
                                                                                                Possessing                     □ Importing
Drug Code/Description:                                                Status:                                QTY:   Measure:
6                  Ma r i ju a n a                                    F                                      6.8    GRAM

b Buying                             □ Manufacturing      □ Selling             □ Operating   □ Possessing
                                                                                              
                                                                                                                               □ Importing
Drug Code/Description:                                                Status:                                QTY:   Measure:



b Buying                             □ Manufacturing      □ Selling             □ Operating   □ Possessing                     □ Importing
Drug Code/Description:                                                Status:                                QTY:   Measure:



b Buying                             □ Manufacturing      □ Selling             □ Operating   □ Possessing                     □ Importing
Drug Code/Description:                                                Status:                                QTY:   Measure:



b Buying                             □ Manufacturing      □ Selling             □ Operating   □ Possessing                     □ Importing
Drug Code/Description:                                                Status:                                QTY:   Measure:



b Buying                             □ Manufacturing      □ Selling             □ Operating   □ Possessing                     □ Importing
Drug Code/Description:                                                Status:                                QTY:   Measure:



b Buying                             □ Manufacturing      □ Selling             □ Operating   □ Possessing                     □ Importing
Drug Code/Description:                                                Status:                                QTY:   Measure:



b Buying                             □ Manufacturing      □ Selling             □ Operating   □ Possessing                     □ Importing
Drug Code/Description:                                                Status:                                QTY:   Measure:



b Buying                             □ Manufacturing      □ Selling             □ Operating   □ Possessing                     □ Importing
Drug Code/Description:                                                Status:                                QTY:   Measure:



b Buying                             □ Manufacturing      □ Selling             □ Operating   □ Possessing                     □ Importing
Drug Code/Description:                                                Status:                                QTY:   Measure:



b Buying                             □ Manufacturing      □ Selling             □ Operating   □ Possessing                     □ Importing




                                                                                                     PLAINTIFF-024365(UI&S)
                Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 45 of 59
                  DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                  GA0440200                        20-002455

                                         OTHER PERSONS
Involvement Type:                Name (Last, First Middle):                                                      Moniker:                         SSN:
OT H E R                         F AU L K S RE B E C C A M A E
Address                                                                                                Home #:              Cell #:                     Work #:




-
12 0 0 W YN N T O N C OL U MB U S GA 3 1 9 06 -
DOB:                Age:         Sex:             Race:                Ethnicity:   Resident Status:       Hair Color:         Eye Color:                  HGT:      WGT:
          -1992     27           F                B                    N            RESIDENT               BLACK               BROW N                      507       209
SMTs:


Email:                                                        OLN #:                                             State:         Used:
                                                              05661 1281                                         GA             □ Drugs     □ Alcohol       □ Computer
Occupation:                          Employer/School:                                     Address:                                                 Employer Phone:



Involvement Type:                Name (Last, First Middle):                                                      Moniker:                         SSN:


Address                                                                                                Home #:              Cell #:                     Work #:


DOB:                Age:         Sex:             Race:                Ethnicity:   Resident Status:       Hair Color:         Eye Color:                  HGT:      WGT:


SMTs:


Email:                                                        OLN #:                                             State:         Used:
                                                                                                                                □ Drugs     □ Alcohol       □ Computer
Occupation:                          Employer/School:                                     Address:                                                 Employer Phone:



Involvement Type:                Name (Last, First Middle):                                                      Moniker:                         SSN:


Address                                                                                                Home #:              Cell #:                     Work #:


DOB:                Age:         Sex:             Race:                Ethnicity:   Resident Status:       Hair Color:         Eye Color:                  HGT:      WGT:


SMTs:


Email:                                                        OLN #:                                             State:         Used:
                                                                                                                                □ Drugs     □ Alcohol       □ Computer
Occupation:                          Employer/School:                                     Address:                                                 Employer Phone:



Involvement Type:                Name (Last, First Middle):                                                      Moniker:                         SSN:


Address                                                                                                Home #:              Cell #:                     Work #:


DOB:                Age:         Sex:             Race:                Ethnicity:   Resident Status:       Hair Color:         Eye Color:                  HGT:      WGT:


SMTs:


Email:                                                        OLN #:                                             State:         Used:
                                                                                                                                □ Drugs     □ Alcohol       □ Computer
Occupation:                          Employer/School:                                     Address:                                                 Employer Phone:



Involvement Type:                Name (Last, First Middle):                                                      Moniker:                         SSN:


Address                                                                                                Home #:              Cell #:                     Work #:


DOB:                Age:         Sex:             Race:                Ethnicity:   Resident Status:       Hair Color:         Eye Color:                  HGT:      WGT:


SMTs:


Email:                                                        OLN #:                                             State:         Used:
                                                                                                                                □ Drugs     □ Alcohol       □ Computer
Occupation:                          Employer/School:                                     Address:                                                 Employer Phone:




                                                                                                                                  PLAINTIFF-024366(UI&S)
                   Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 46 of 59
                   DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                    GA0440200                       20-002455

                                             NARRATIVE
Officer ID/Name:                             Date:                             Approving Officer ID/Name:                      Date:
3413                G o ld b er g g d        1/10/2020 8:56:48 PM              2435                         Bo b o r l
Title:               INITIAL REPORT



Repo rt Date : 01 /1 0l2020 20 :56 :0 9
R,e po rting Offi cer: 34 13 - G old berg ,g d
A pp r,ov ing Offi,cer: 243 5 - Bobo r I

O n 0 1!1 012020 at a pp roximately 1.840 hou rs , Offi cer Kimble #34 15 a,dv ise d me of a know n suspect, Mr. Bobby S pence. w ith
active wa rra nts o ut ,of De Ka lh Gounty fo r pi ping OCGA 16-'6-11 und er wa rra nt nu ber 20-\nJ~000581 and kee ping .a plaoe of
prostitutio n OCGA 16-'6-10 unde r wa rra nt nu ber 20-\nJ-'0005 80 u nd er this c as,e number. Offi cer Ki ble adv ised Mr. Spe nce's
lo catio n at the \ntendy's located at 4643 Me orial Dr.

Officer Ki ble advised he obs-e rv,e d a g ree n 1996 Mercury G rand Marqu is bea rin,g G eo rg ia lioense plate PTG9704 a rrive at the
\nJe ndy's a nd pic k up a pass,enge r. I o bse rve d the ve hicl e ex iting the \nJendy's p.arking lot a nd notioed the d rive r appe.are-d to-
 match the DDS photo o.f Mr. S penc e. At that ti e. I positione d y patro l ve h id e in fro nt of the suspect ve hicle preV'enti ng it fro
ex iting the pa rking lot a nd exited y p,atro l ve hicle . Hav ing bee n advised Mr. Sp ence may bea r .ed w ith a fi rea rm. I ,drew my
de pa rtm ent issued G lock l7 a nd issue d loud v,e rb,a I c o ma nds to the occu pa nts to, s how e th eir ha nds to w h ich they
,co pli ed. I pl.aoed Mr. S penoe in handcuffs w ith the assista noe of Offioer Hu rst #3448 a nd secu red him in the r,ea r of y p.atro l
ve hicl e w ithout inc ide nt. Offioer f-l ill #2804 ,detaine d the p,assenge r.

Officer Kir ble pr,ov id ed o rigina l wa rra nts. Mr. S pence w as trans ported to- D,e Kalb County j .a il where he w as lodg,e d on the activ,e
wa rra nts.

Officer f-l ill ,c onducted a n inve ntory c heck ,of the ve hicl e a nd d isoov,e r,ed c ontro ll,e d su bstanoes in th e d riv,e r do or po cket wh er,e
 Mr. S pence was s itting . Referenc e Offioer H il l's su pp le enta l na rrativ,e und er th is ,case nu ber. The v,e hicle was re ove d hy S
,& \nJ towing .

 Body \nJ,orn Ca      era uti lized .




                                                                                                                             PLAINTIFF-024367(UI&S)
                   Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 47 of 59
                   DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                    GA0440200                       20-002455

                                               NARRATIVE
Officer ID/Name:                                Date:                         Approving Officer ID/Name:                     Date:
2 80 4              H il l m l                  1/10/2020 10:00:00 PM         2435                         Bo b o r l
Title:               S U P P LE M E N T A L N A R R AT I V E



Repo rt Date : 01 /1 0l2020 22 :0 0:0 0
R,e porting Offi cer: 2804 - H ill  I
A ppr,ov ing Offi,cer: 2435 - Bobo r I

O n th is date w hile patro lli ng in un inoorporated DeKalb Co unty, I w as o per.ati ng as lJ nit 230 Ta ng o w ith the N. C entra l Tas k
Fo rc e. \"Je rece ive d an c all fro m Det. Kimb le of the De K,a lb Co unty V .I.C .E lJ nit w hom stated that they had the locahon ,of a
wa nted s ubject, Mr. Bobby Sp enoe w ho they ha cl rece ntly ac ~uire cl fe lo ny warra nts o n. The location that was provid e,d was
                                                               1




th at of\"J\endy 's 4643 Memo rial Dr. . w hich is located in un incorpo rated De Ka lb C o unty. Once ,at the locatio n. the s ubj ect w as
id entifie d and spotted oper,ating a blue 1'9 96 Mercu ry Marqu is ta,g : PTG 9704 . After lo cating the v,e hicle a nd watching it. it was
see n about to exit the pa rking lot of the \"Je ndy 's a nd enter o n to Me ori.al Dr.

Before the ve hicle oo uld go o n to the ro adway a traffic stop, was ,co nd ucted o n the ve hicle to take Mr. Sp enoe in to, c usto dy . Mr.
Sp enc e was es corted o ut to, the v,ehicle as he was then take n deta ine d in refere nce to the pen ding warra nts. The fro nt seat
p,assenge r. Ms . C he ls ie \"Ji lli.ams was the n e-s corte-d ,o ut of the fro nt passenger s ide of the ve hid e . Ms . \l'Jillia ms began to ye ll
a nd screa ,e rrati cally as s he state,d that s h,e ·d id n't se t hi , up· a nd w hy are we taking hi to j a il- . She was d etained a nd
escorte-d to, the rea r of y po lice ve hid e w here s he was brieflyse-cured .
As the ve hid e was bl,o cking the ,exit the business it was q uickly ov,e cl o ut ,of the w ay by Offi cer G oldberg . The ve hicle was
moved to th,e parking lot rig ht next to the ,ex it in th,e e ntra nce ofth,e lJ nited Inn Su ites l,o cate,d at 4 64 9 Me morial Dr. The keys
we re left w ith my unit as Mr. Sp enoe·s warra nts were oonfir ed a nd he was tra ns ported to the DeKa lb Co unty ja il by a nothe r
un it. \"lh ile in the re,a r f my po li ce ve hicle . Ms. Willia soontinue cl to as k if Mr. S penc e was go ing to, j ail. I assure d he r th at she
was o kay and attempte d to spe.ak w ith he r to ,ca l her down. I the n ope n,e d th,e re.a r passeng er ,do or of y po li c,e ve hid e as Ms.
                                                                                1


\"Ji 11 ia ms was adv ised that s he· was free to go a nd was no lo nger being d eta i ne,d .

She th,e n c ontinu,e d to as k ifa nd w hat Mr. Sp ence was ,go ing to, j.ail for. I a dv ised he r that he was a ,g row n ma n a nd that I c ould
not d iscl os e his perso na l bus iness. She then y,e lle-cl stati ng that he was her o nly way ho e to, w he re her ne phew was . I then
as ked her w here her nephew was a nd s he stated that he was so ew here in lJ nio n C ity. She d id not know th,e locatio n a nd
added that Mr. Sp enoe was the o nly one to• know w her,e it was . I then attempted to as k her q u,esti,o ns li ke ·d,o I nee d to ,get the
add ress fro hi to he lp he r get ho e· in a n atte pt to, he lp, her get ho e. She refused to he lp th is office r w ith a ny informatio n
in r,e garids to ,getting he r ho e.
She th,e n as ked if s he was free tD go as s he was adv ised sev,er.a l ti es that she was fre e to ,go . She the n beg.an to, wa lk to.w a nds
the Merc ury. I then stated that s he ould not go in th e ve hicle. as it was go in,g to, be tow,e d. a nd asked h,e r if s he ne-ecfo d
a nyth in,g fro the ve hicle. Ms . \"Ji lli.ams state-cl that s he wo uld li ke to, ,g et a c oatthat was in the rea r of the ve hicle. I the n o pene d
th,e r,e,a r passenge r d oor a nd r,e move-cl a ,c olo rful j,ac ket. I then patte d the· j ac ket down for wea pons a nd oontr,a band a nd the n
ha nd ed it to Ms . \l'Ji llia ms.

\"Jh il e re.aching in the v,e hid e I c ould s ell the o dor ,offoes h marij u,a na c oming fro inside the v,e hicle. I the n began to oond uct a
 Pro hab l,e Gause check of th e v,e hicle du,e to, the o dor. I starte d o n the fro nt d riv,e r·s side . The ve hicl e was cluttered w ith a lot of
                                               1


 misce ll aneo us items. I looke d und er the seat a nd notic ed that the o dor be-ga n to get stro nger. I the n o pene d the rie.ar d rive r's
s ide passenger door .and noticed a d e.ar plastic sandw ich ba,g c ontaining severa l othe rs all d e,ar pl.astic b,a,g,g ies . The bag was
 lo cated in betwee n the d oor fra e an,d thatfro nt d rive r'ssi,de se.at. 1then re ove d th e ba,g a nd ,o pene d it. The ,c,o ntents ofth is
 ba,g we re a small cl e.a r plastic b,a,gg ie oontaining a w hite rocky s ubsta noe. The s ubstance had a fie ld w eig ht of0 .8 ,g r.ams.
A nother sm all plastic hag c ontained a w hite powd ery s ubsta nce w ith a fie ld we ight of 1.2 ,gra ms. A nother pink ba,gg ie ba,g
,containe d a sma ll er w hite ro cky substance w ith a fi led we i,g ht 0 .3 ,g ra ms. A larger pink ba,g,g ie oontaining seve ra l sm alle r w hite
 ro cks w ith a fi el,d we ig ht of0 .4 ,gra ms a nd a sing le clea r plasti c bag,g ie c ontainin,g a ,g ree n le.afy substanoe (s us pe cted
 marij ua na), w ith a fi eld w ei,g ht of 6 .8 ,gra ms. A lso in the ba,g was a s. all g lass capsu le w hich ha,d w hite powd ery ries id ue ins id e.
The w hite pow d ery substanc e teste d pos itive fo r c oca ine.

A fu rther c heck of the inside of the ve hicle rev,e le,d a sm all plastic bagg ie that was in the front .ashtray as the as htray was ,ope n.
Th is p Iasti c b,ag,g i e oo nta i ne d a w hite powde ry su bsta nee w ith ,a fie Id we ight oHJ.3 g ra ms. A lI substanc es we re packa,ge d a nd
sec ured in y po lioe ve hid e . The ve hicle was the n tow,e-cl by S &~J Tow ing. Before the ve hid e w as tow e d a n inve ntory c heck
was c ond ucte d as a new pa ir of Nike s hoes were plaoecl in the trunk form rear passenger se.at. The re was seve ra l ho e ,go od
items. d e,aning supp li es . cl oth ing a nd othe r items that was in the trunk. The narootics was the n take n to, the DeKa lb Co unty
Pr,o pe rty r,oo w he r,e it was l,od,g,e,d in as ,ev ide nc e. Det. Kimbl,e was notifi,e cl of th e fin,d ings .
                                                                                                            1


Bo dy wo rn c amera activated.




                                                                                                                           PLAINTIFF-024368(UI&S)
                   Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 48 of 59
                   DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                    GA0440200                       20-002455

                                            NARRATIVE
Officer ID/Name:                             Date:                             Approving Officer ID/Name:                    Date:
3 41 5              K i m b le j j           1 / 8 / 20 2 0 9 : 1 1: 4 5 P M   2165                         Williams s k     1/14/2020 8:36:26 PM
Title:                INITIAL REPORT



On Ja nua ry .S , 2020 , ,at app roximately 1'62 1 ho urs w hil e w orking in the unde rcove r ,capac ity, I made oonta,ct w ith the s us pect
later id entifi ed as Ms . C hels ie \•Ji ll iams by th e pho ne. I o bta ine,d Ms. \•Ji Ilia s's pho ne nu ber fro m a posted adv,e rtis,e ent o n
Th,e Listcrall'llle r Escort w,e bs ite. \•Jhil,e ,c onve rs ing w ith Ms . \•Ji lli.ams she ,a,dv is e,d he r price wo uld be $1,80 fo r a n hour. Ms.
\•✓ii Ii ams then ,a,dv is ed s he was located at 4649 Me mo rial Drive at th,e United Inn Motel. Ms . \n/illi ams advised seve ra l ti es to
let he r know w hen I ,a rrive at the motel.

Upon a rriv ing at the ot el I adv ised Ms. \•Ji llia ms a nd she provid ed he r roo nu ber w hic h was roo # 14 1. U pon wa lkin,g to,
the ote l do or I o bse rved the do or of the ro o s·li ghtly aj ar. I the n kno cked o n the do or a nd Ms . \•.fi lliam s stated, ·c ome in.-
Upon o pening the do or I bserve d Ms. \nJi lli ams sitti ng at th,e head of th e bed. Upon wa lking in a nd s pe,a kin,g to, Ms . \•Ji lli.a ms I
as ked he r if s he wa nted he r oney now m late r a nd she stated, · Now is fin e .- I the n aske d he r w he re I need to, put the oney
a nd s he stated, o u have d one this before . j ust put it d own so, w e can do w hat w,e do .-

I the n placed the U.S . C urre ncy {$180} w hich d eriv,e,d fm DeKalb G ounty Officia l Investigative Funds in he r prese nce o n Ms.
\•Ji llia ms's ni,g htstand . I a lso o bserved a c ondo ,on the nig htstand w he re the U.S . C urre ncy w as plaoed. I as ked Ms . \•Ji IIi ams
w hat was off- Ii its a nd she state,d , ·1d on't li ke ,a na l: I then asked Ms. \-✓ii Iia ms w hat d id s he prefer and she stated , · 1li ke it fro
the b.ac k: Ms . \nJi llia      the n a,dv ised e to ,get 1.m d ressed as s he be,ga n to und ress.

Officers th en a rriv,ed to the roo a nd plac ed Ms. \•Ji lli ams in custody w itho ut injuries . Ms. \n.fi lli ams was c ha r,g,e,d w ith
Prostitutio n (wa rr,a nt#2(J-\•Jj 0004'97} for sexua l interco urse for $ 180 . Ms. \•Ji IIiams was later tra ns ported a nd lo gge d in the
De Ka lb Co unty Jail. Ms . \•Ji lli ams's pho ne was placed in the pro perty roo for safekee ping .




                                                                                                                           PLAINTIFF-024369(UI&S)
                   Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 49 of 59
                   DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                    GA0440200                       20-002455

                                                NARRATIVE
Officer ID/Name:                                 Date:                        Approving Officer ID/Name:                     Date:
3 41 5              K i m b le j j               1/10/2020 10:33:52 PM        2165                         Williams s k      1/14/2020 8:48:51 PM
Title:                S U P P LE M E N T A L N A R R AT I V E



Re port Date :
R,e po rting Officer: 34 15 - Ki ble j j
A pp r,ov ing Offic er: 2 165 - \•Ji lli ams s k

O n Ja nu.a ry 0 9. 2020 . I oo ntinu ed y investi gati on o n th e prostituti on a rrest of Ms . \•Ji lli.ams :ade o n Ja nu.ary 8 . 2020 . Wh ile
a rres ti n,g Ms. \•Ji llia rns s he ,adv ised s he wa nted to see he r s ister befo re bein,g taken to j ail. Ms . \•Ji lli ams advised he r s ister
(Re becca Fa ulks} staye d in room 13'9 at the United Inn located at 4649 Me mo ri,a l Dri1,11e. Detedive King#2'9 84 a lon,g w ith o rth
C entral Tas kfor,ce .attempted to make c ontact w ith ro om 13'9 . Mr. Bobby S penoe o pen,ed the d oor of the ro om. O noe Mr. S pen,oe
o pene d the do or of the ro o Officer A nide rson pos itiv ity ide ntifi.ed Ms. Fa ulks as being wa nte d o ut f De Ka lb C ounty S he riffs
O ffice .

Ms . Fa ulks was the n detain,ed a n,d later tra nsported to the De Kalb Co unty Ja il. Dete ctive Jo hns on#2 123 the n we nt to the fro nt
offic e of the motel a nd retrieved the re,g istry for the rooms. The office manage r w illi n,gly provided th e info r ati-on ,of the ro oms
a nd it was ,deter in,ed Mr. S pen,oe poss,esse-d .u ltiple ro oms in his na e inclu,d in,g r,o orns 141 a nd 139 . Detedive King was
a ble to positive ly ide ntify Mr. Spenc e as being the sa e al,e o n the Georg ia Driv,e r licenses pr,ov i,de d fo rm the fro nt office. Mr.
S pence was later re leased.

Ms . \•Ji lli arns ad e severa l j a il c alls to Mr. S pence w hile bein,g incarcerated o n Ja nu.a ry '9 . 2020 . Ms. Willia ms stated in ,o ne of
he r c alls . · p 1ease get e o ut of here I' sorry this .· Mr. S penoe the n stated to Ms. \•Ji Ilia s . \ •Je talke d a bout th is befo re . if
a nyth ing ha pp ens yo u we re su pp ose d to kee p, yo ur mo uth closed beca use we wo uld have fo und out a nyway.· Ms . \•Ji lli.a s
then state d to Mr. S penoe. ,o u c an ,g,et e ,out a nd I ca n :a ke the on,ey back.- Mr. S pence stated to Ms . \rJi llia rns. ,ou
c ould hav,e gotten e messed up,.· Later in the· oonve rsati on. Mr. S pen,oe a,dv is ed he had a nother female c han,g ing he r lo cation
to Unio n C ity so s he c o u Id ,c atch a play . Gatch a p 1,ay ea n: ge t a jo hn to pay for s ex ua I servic es .

Ms . Fa ulks a lso made s evera l calls to Mr. S penc e o n Ja nua ry '9 , 2020 . advisin,g that it was Ms . \•Ji lli.a rns's fa ult s he was
a rres ted. Mr. S pen,ce adv is ed he w ent throu,gh the pro cess of prostitutio n before . Mr. S penc e the n stated . · 1might ha11e to,
r,e cru it an,oth er fe ale .· Mr. S pen,ce s poke w ith Ms . Faulks about fin d in,g othe r fe ma les to wo rk. Mr. Sp enoe a lso r,equ ested Ms .
Fa ulks's listcraw le r a,c count. Listcrwa le r is a dating adv,e rtisin,g s ite that pro otes sex ual activity in exchan,ge fo r oney.

O n Ja m.1 .a ry 9 . 2020 . at .a pproxi ately 2345 ho urs Dete ctiv,e Jo hnson a nd I oo nducted .an interview at the De K.alb Co unty J.ail
w ith Ms . \•Ji IIi ams. Before the interview was co nd u,cte d I advised Ms. \•,fi lliams of he r Miranda rights. \•Jh ile s pe.aking w ith Ms .
\•Ji IIia ms s he advised she had bee n prostituting fo r ove r a yea r. Ms . \•Ji llia rns advised she ha,d to take c are of her s ister Ms .
Fa ulks. Ms . \•Ji IIia ms a lso adv ised s he used the oney from prostitutin,g to pa y fo r a ll the rooms indud in,g the ro o Mr. S pen,ce
a nd Ms . Fa ulks we re ,occu pying .

After checking Mr. S pen,ce's c ri ina l History it was deter ine d Mr. S pen,ce ha,d bee n oo nv ided fo r pi pin,g in 20 12 in DeKalb
Co unty. I w as th en a ble to o btain wa rrants o n Mr. S pen,ce fo r Kee ping ,a place of Prostitutio n (\•Ja rra nt #2(H •J~0005 80} a nd
Pi ping (\•Jarra nt #20-\•J-0005 81}. Mr. S pen,oe adv ised he wo uld pick Ms. \•Ji lliams o n e s he was re le.ased fro m the De Kalb
Co unty Ja il.

O n Ja nl.la ry 10 . 2020 . at a pproximately 1830 hours I o bse rve d Ms. \'\li lli arns wa lkin,g away fro the Ja il. I the n c on.d ud ed
und er-cov,er surve illa noe based o n Mr. S penc e adv ising he wo uld pick up Ms . \•Ji lli.ams. I later ,o bserved a blac k seda n d riv in,g
into \•Je ndy's pa rkin,g lot located at 4643 Me orial Drive . I o bserv,ed Mr. Spenc e ,d riv ing the v,ehid e as Ms . \•Ji lli arns e ntere d the
bac k left p,ass-e n,ge r s e.at. A traffic stop, was ,co nducte d by un ifo r based o n th e wa rrants I possesse d fo r Mr. S penc-e . Mr.
S penc e was take n into c ustody w itho ut incident a nd inj uries .

Upon ,cond ucting a n inv,e ntory o n the v,e hid e a lea r plasti c ba,g ,c ontaining : ,o ne sma ll d e,a r pl.astic ba,g c ontaining a cha lky
w hite substanc-e (we i,gh in,g 0 .8 g r.ams} . o ne d ea r plastic bag co nta inin,g a w hite powdery su bsta nc e (w eighin,g 1.2g ra ms} . ,a
sma ll pink pl.astic b-ag co ntainin,g 0 .3 ,gr.a s of ,a w hite cha lky su bstanc e. o n-es ii ll pink d e,ar pl,astic ba gs oo ntaining multiple
w hite c halky substanc e (we igh ing 0.4 g ra ms} . ,a nd ,one d e.ar pl.asti c bag of a g r,ee n leafy substanc e (w ei,gh ing 6 .8 g ra ms} in th e
d rive r s i,de do or. There was a s all d e,a r pl,astic ba,g co nta ining a w hite powdery substa nioe (we ighin,g 0 .3 g ra ms) in the ashtray .
The w hite c halky a nd powdery s ubsta nc e fie ld -teste d pos itive fo r ooca ine .

Mr. S penoe was a lso cha rg,e d w ith Possession of Co ca ine (\'\/a rrant #20-\•J0 00 612} an,d Possession of Marij ua na Less than a n
O unce (\•✓a rra n t #20-\•J0 00 613} . Mr. S pence was tr,a ns ported a nd lodg,ed in the De Kalb Co unty Ja il. There was bodywo rn
a11.a il.abl,e for both a rrests. Ther,e was a lso v id eo s urv,eill anc e availa ble fo r th e interview w ith Ms . \nJi lli arns. Oth er ,ev id en,oe
avail.abl,e up on re qu,est.




                                                                                                                           PLAINTIFF-024370(UI&S)
                               Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 50 of 59
                              DEKALB COUNTY POLICE DEPARTMENT                    Case #:

                                              GA0440200                       20-013034

                                                                      INCIDENT REPORT
       Incident Type:                                                                                                                                          Counts             Incident Code                    Offense Jurisdiction                       Arrest Jurisdiction
       16 - 6 - 2 ( 1 1 0 4 ) A GG R A VA T E D S OD O M Y 1 6 - 6 - 2                                                                                          1                 1104                             COUNTY

I-
z
IU
[i Premise Type:                                                                            Weapon Type:                                                                      Forcible:                Stranger To Stranger:            Hate Motivated:                 Loc Code:
       R ESIDENCE                                                                           04                                                                                                         U                                                 □              560
       Date Report:                                 Incident Start:                                     Incident End:                                         Incident Location:




                                                                                                                                                                                          -
       2/10/2020 12:26:28 PM 1/1/2020 12:26:31 PM 2/10/2020 12:00:45 PM 46 4 9 M e m o r ia l D r D ec a t u r G A
        Name (Last, First Middle):                                                                                                          Moniker:                                      DOB:                           Age:                      Sex:             Race:           Ethnicity:
        Co b b, D en z e ll                                                                                                                                                                         - 1992               27                        M                B               N
        Address                                                                                                             Home #:                                 Work #:                            Cell #:                             Email:

        1475 S D IANE CT Apt B Sm yrn a G A 3 0 0 8 0 -
        SSN:                          Resident Status:                         HGT:              WGT:           Hair Color:                     Hair Style:                       Hair Length:                   Eye Color:                   OLN #:                                State:
                                                                               506               14 5           BLACK                           BRA I D E D                       SH OR T                        B R OW N                     05 9 7 6 9 8 5 5                      GA
        Occupation:                                           Employer:                                                          Address:                                                                                                                      Employer Phone:

~
F
u Victim Type:                                                                        Yes   No          If Yes, Name of Victim's School                                         LEOKA Activity Type:                                      LEOKA Assignment Type:
                                                                       Student:
> I n d i v i du al                                                                    □ □
                                                                                             



                        □   None □     Minor □      Internal □                 □                         □                       □                     □                                                                □                 □                   □
                        
        Injuries:                                                     Teeth           Unconscious              Lacerations                  Bones             Other                                      Used:                  Drugs             Alcohol           Computer

        SMTs:


        Relationship To       (1)   A C Q UA IN T AN C E                       (2)                                                    (3)                                                    (4)                                                  (5)
        Offenders:            (6)                                              (7)                                                    (8)                                                    (9)                                                  (10)

        Offenses              (1)   1104                                       (2)                                                    (3)                                                    (4)                                                  (5)




                                                                                                                                                                                -
        Involved:             (6)                                              (7)                                                    (8)                                                    (9)                                                  (10)

       Name:                                                                                                                                Moniker:                              DOB:                           Age:                     Sex:                 Race:           Ethnicity:
       Sh ear d, Daqu an                                                                                                                    Dayday                                         -1982                 37                       M                    B               N
       Address:                                                                                                         Home Phone:                                 Work Phone:                     Cell Phone:                           Email:
       2900 LAND RUM DR SW Apt 89 Atlanta GA 30311-
        SSN:                          Resident Status:                         HGT:              WGT:           Hair Color:                     Hair Style:                       Hair Length:                   Eye Color:                   OLN #:                                State:
                                                                               510               19 0           BLACK                           BRA I D E D                       SH OR T                        B R OW N                     05 1 0 0 5 5 0 9                      GA
        Occupation:                                            Employer:                                                          Address:                                                                                                                    Employer Phone:
0:
ll!I
Ci SMTs:
zw
                                                                                                                               Offenses Involved:
It (1) 1 6 - 6 - 2 ( 1 1 0 4) A G G RA V ATE D S O D OM Y 1 6 - 6- 2
  '
                                                                                                                              1104                  (2)
0
       (3)                                                                                                                                          (4)

       (5)                                                                                                                                          (6)

       (7)                                                                                                                                          (8)
       (9)                                                                                                                                          (10)

                                                                                                                                                                                                                                          □    Drugs □          Alcohol □
             WANTED:
                            □        WARRANT:
                                                  □           ARREST:
                                                                              □                           SUSPECT ARMED:                               WEAPON:                                                                  Used:                                           Computer

                    TOTAL NUMBER ARRESTED:

                                      VEHICLES
                                                  0
                                                   □                          ARREST AT OR NEAR OFFENSE SCENE:

                                                                                     CURRENCY, NOTES, ETC
                                                                                                                                             Yes:
                                                                                                                                                    □
                                                                                                                                            JEWELRY, PREC. METALS
                                                                                                                                                                      No:   Iii!
                                                                                                                                                                                             FURS

                    ISTOLEN    I$ 0 . 0 0                                             $0.00                                                 $0.00                                            $0.00
>-
~
                    IRECOVERED I$ 0 . 0 0
                                      CLOTHING
                                                                                     I$0.00
                                                                                     OFFICE EQUIP.
                                                                                                                        I                   I
                                                                                                                                            $0.00
                                                                                                                                            TV, RADIO, ETC
                                                                                                                                                                              I             I$0.00
                                                                                                                                                                                             HOUSEHOLD GOODS
                                                                                                                                                                                                                              I
00
C[
                     STOLEN           $0.00                                           $0.00                                                 $0.00                                            $0.00
0
,!                  IRECOVERED
                                      I
                                      $0.00
                                      FIREARMS
                                                                                     I$0.00
                                                                         CONSUMABLE GOODS
                                                                                                                        I
                                                                                                                 LIVESTOCK
                                                                                                                                            I
                                                                                                                                            $0.00
                                                                                                                                                           OTHER
                                                                                                                                                                              I             I$0.00
                                                                                                                                                                                                        TOTAL
                                                                                                                                                                                                                              I
                     STOLEN           $0.00                              $0. 00                                   $0.00                                    $25.00                                       $25.00

                    IRECOVERED
                                      I
                                      $0.00                              I
                                                                         $0. 00
                                                                                                           II     $0.00
                                                                                                                                                    II     $0.00
                                                                                                                                                                                                   II   $0.00
                                                                                                                                                                                                                                              I
:~
<C
                    GCIC ENTRY
                                                    □
                                                           WARRANT
                                                                                  □
                                                                                         MISSING PERSONS
                                                                                                                             □
                                                                                                                                      VEHICLE
                                                                                                                                                                 □
                                                                                                                                                                            ARTICLE
                                                                                                                                                                                                         □
                                                                                                                                                                                                                  BOAT
                                                                                                                                                                                                                                              □
                                                                                                                                                                                                                                                        GUN
                                                                                                                                                                                                                                                                       □
                                                                                                                                                                                                                                                                             SECURITIES



0 DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                                                                  1 - Amphetamine
::)
                                                                                                   □ YES Ill NO □                                               □ 2 - Barbiturate                   □ 3 - Cocaine □ 4 - Hallucinogen                                   □ 5 - Heroin
,ri:: YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER
,t::i                                                                                                           □ 6 - Marijuana                                 □ 7 - Methamphetamine               □ 8 - Opium □ 9 - Synthetic Narcotic                               □ U - Unknown
re'
:i:Ji REQUIRED DATA FIELDS

                                          □                                    □                                              □                                                                                                         □                     □
                                                 CLEARED BY ARREST                     EXCEPTIONALLY CLEARED                           UNFOUNDED                    DATE OF CLEARANCE                                                          ADULT                   JUVENILE
      FOR CLEARANCE REPORT
0
REPORTING OFFICER                                                                                                              NUMBER                     APPROVING OFFICER                                                                                                    NUMBER
M athis, j r russe l l                                                                                                  3554                              Jenkins h                                                                                                         2221




                                                                                                                                                                                                                                  PLAINTIFF-024371(UI&S)
                         Case 1:20-cv-05233-SEG                               Document 115-18                                     Filed 01/18/24                               Page 51 of 59


                      DEKALB COUNTY POLICE DEPARTMENT                                                                                                               Case #:

                                 GA0440200                                                                                                                     20-013034




                                                                                                                                  -
                                              ADDITIONAL OFFENDERS
Name:                                                                                             Moniker:                         DOB:                            Age:                        Sex:         Race:           Ethnicity:
Br o w n , A d rai n M on t ec o                                                                                                              -1995                24                          M            B               N
Address:                                                                     Home Phone:                     Work Phone:                     Cell Phone:                     Email:
1 0 6 1 E d n a P l M ac o n G A 3 1 2 0 4 -
 SSN:                    Resident Status:             HGT:    WGT:    Hair Color:             Hair Style:                  Hair Length:               Eye Color:                      OLN #:                                  State:
                                                      511     22 0    BL A CK                 AFRO                         SH OR T                    B R OW N                        057022999                               GA
 Occupation:                                      Employer:                                        Address:                                                                                               Employer Phone:


SMTs:


                                                                                                  Offenses Involved:
(1) 1 6 - 6 - 2   ( 1 1 0 4) A G G RA V ATE D S O D OM Y 1 6 - 6- 2                  1104                   (2)

(3)                                                                                                         (4)

(5)                                                                                                         (6)




                  -
(7)                                                                                                         (8)

(9)                                                                                                         (10)

      WANTED:           WARRANT:
                                      □     ARREST:
                                                       □               SUSPECT ARMED:                         WEAPON:                                                           Used:     □     Drugs □    Alcohol □    Computer

DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                         □ 1 - Amphetamine □ 2 - Barbiturate                             □ 3 - Cocaine       □ 4 - Hallucinogen                □ 5 - Heroin
YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER            □ YES □ NO
                                                                                           □ 6 - Marijuana   □ 7 - Methamphetamine                         □ 8 - Opium         □ 9 - Synthetic Narcotic          □ U - Unknown
Name:                                                                                             Moniker:                         DOB:                            Age:                        Sex:         Race:           Ethnicity:
Okai b ai                                                                                                                                                          00                          M            B               N
Address:                                                                     Home Phone:                     Work Phone:                     Cell Phone:                     Email:
Un know n G A
 SSN:                    Resident Status:             HGT:    WGT:    Hair Color:             Hair Style:                  Hair Length:               Eye Color:                      OLN #:                                  State:


 Occupation:                                     Employer:                                        Address:                                                                                                Employer Phone:


SMTs:


                                                                                                  Offenses Involved:
(1) 16-6-2        (1104) A G G RA V ATE D S O D OM Y 1 6 - 6- 2                      1104                   (2)

(3)                                                                                                         (4)

(5)                                                                                                         (6)

(7)                                                                                                         (8)

(9)                                                                                                         (10)

      WANTED:
                  □     WARRANT:
                                      □     ARREST:
                                                       □               SUSPECT ARMED:                         WEAPON:                                                           Used:     □     Drugs □    Alcohol □    Computer

                                                                                               1 - Amphetamine             2 - Barbiturate                     3 - Cocaine             4 - Hallucinogen              5 - Heroin
DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                         □                           □                                   □                   □                                 □
YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER            □ YES □ NO
                                                                                           □ 6 - Marijuana             □ 7 - Methamphetamine               □ 8 - Opium         □ 9 - Synthetic Narcotic          □ U - Unknown
Name:                                                                                             Moniker:                         DOB:                            Age:                        Sex:         Race:           Ethnicity:


Address:                                                                   Home Phone:                      Work Phone:                      Cell Phone:                     Email:


 SSN:                    Resident Status:             HGT:    WGT:    Hair Color:             Hair Style:                  Hair Length:               Eye Color:                      OLN #:                                  State:


 Occupation:                                     Employer:                                        Address:                                                                                                Employer Phone:


SMTs:


                                                                                                  Offenses Involved:
(1)                                                                                                         (2)
(3)                                                                                                         (4)

(5)                                                                                                         (6)

(7)                                                                                                         (8)
(9)                                                                                                         (10)


                  □                   □                □                                                                                                                                  □
      WANTED:           WARRANT:            ARREST:                    SUSPECT ARMED:                         WEAPON:                                                           Used:           Drugs □    Alcohol □    Computer


DID INVESTIGATION INDICATE THAT THIS INCIDENT WAS DRUG-RELATED? IF                       □ 1 - Amphetamine □ 2 - Barbiturate                           □ 3 - Cocaine          □ 4 - Hallucinogen                □ 5 - Heroin
YES, PLEASE INDICATE THE TYPE OF DRUG(S) USED BY OFFENDER            □ YES □ NO
                                                                                         □ 6 - Marijuana   □ 7 - Methamphetamine                       □ 8 - Opium            □ 9 - Synthetic Narcotic          □ U - Unknown




                                                                                                                                                                                      PLAINTIFF-024372(UI&S)
                     Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 52 of 59
                     DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                      GA0440200                       20-013034

                                 INCIDENT PROPERTY
Class:                                     Description:                              Status:
L                                          Oth er                                    S
Make:                                    Model:                                  Serial:
W allet                                  L eather                                N/A
Property Location:                                 QTY:                          Value:                                   UCR Code:
Su s pec t                                          1                           $25.00                                    1104
Related To:                                       Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:
Cobb, Denzel l                                                                                 2
Class:                                     Description:                              Status:


Make:                                    Model:                                  Serial:


Property Location:                                 QTY:                         Value:                                    UCR Code:


Related To:                                       Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                     Description:                              Status:


Make:                                    Model:                                  Serial:


Property Location:                                 QTY:                          Value:                                   UCR Code:


Related To:                                       Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                     Description:                              Status:


Make:                                    Model:                                  Serial:


Property Location:                                 QTY:                         Value:                                    UCR Code:


Related To:                                       Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                     Description:                              Status:


Make:                                    Model:                                  Serial:


Property Location:                                 QTY:                         Value:                                    UCR Code:


Related To:                                       Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                     Description:                              Status:


Make:                                    Model:                                  Serial:


Property Location:                                 QTY:                         Value:                                    UCR Code:


Related To:                                       Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                     Description:                              Status:


Make:                                    Model:                                  Serial:


Property Location:                                 QTY:                         Value:                                    UCR Code:


Related To:                                       Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:


Class:                                     Description:                              Status:


Make:                                    Model:                                  Serial:


Property Location:                                 QTY:                         Value:                                    UCR Code:


Related To:                                       Date Recovered:   Recovery Code:             Jurisdiction Stolen:   Jurisdiction Recovered:




                                                                                                              PLAINTIFF-024373(UI&S)
                      Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 53 of 59
                      DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                       GA0440200                       20-013034

                                                      NARRATIVE
Officer ID/Name:                                       Date:                  Approving Officer ID/Name:         Date:
3554                      Mathis, jr r u s s e ll      2/10/2020 2:19:40 PM
Title:                      INITIAL REPORT



On Fe brua ry 10 , 2020 at a pprox i ate ly 1040 I was d is patche,d to 4649 Memorial Dr in refere noe to a s exLJ1a l assault that had
just ta~e n pla,oe .

         Fo r      o re detail refer to su pp le menta l na rr,ativ,e .




                                                                                                                PLAINTIFF-024374(UI&S)
                   Case 1:20-cv-05233-SEG Document 115-18 Filed 01/18/24 Page 54 of 59
                   DEKALB COUNTY POLICE DEPARTMENT                     Case #:

                                    GA0440200                       20-013034

                                               NARRATIVE
Officer ID/Name:                                Date:                     Approving Officer ID/Name:                  Date:
3554                Mathis, jr r u s s e ll     2/10/2020 2:34:03 PM
Title:               S U P P LE M E N T A L N A R R AT I V E



O n Fe brua ry 10 , 2020 at a pprox i ate ly 1040 I was d is patche,d to 4649 Memorial Dr in refere noe to a n assault that had j ust
take n pl.ace . \~Jhe n I arrived on soene the ,oo pla in.ant, Mr. De nz,e ll Co bb a,dv is e,d th at the night befo re (Febn.i ary 09 , 2020} Mr.
Ad ra in Br-ow n ha,d kid ~ed Mr. Co bb ,out of the ro o (r,o om 202} they w,e re staying in tog,eth,e r. Mr. Co bb state d that Mr. Brow n
wo ul,d not a llow him to retrieve his perso na l belon,g ings fro the m om. Mr. Co b b prev iously staye d in roo 140 by himself but
had move d in w ith Mr. Brown o n F,e brua ry 7, 2020 . Unre late d to, th is inc ident, Mr. Brown is c urrently w anted by Bibb Co unty SO.
     Mr. Co bb left roo 202 a nd w alked to r,o o 3 17 w he re he staye d w ith Mr. Da,quan -S hea r,d at s o e point du ring the night
Mr. Shea rd trie-d to, foroe himself sexua lly o nto Mr. Co bb. Mr. Co bb was a ble to ,get away from Mr. She,a rd and left roo 3 17.
Mr. Co bb state-d he w as s ex ually .assaulte d by Mr. She.a rd 3 times ove r the past 2 months indud ing 1 incide nt invo lv ing
penetration of Mr. Co bbs anus w ith Mr. She.a rds penis , a pproxi ately 5 wee ks ago (J.a nua ry 1~8. 2020}.
    Mr. Co bb stated th.at unre lated to th is incide nt he nee de d s urge ry ,on his rectu m a nd needed tr.ans portati on. Mr. Co bb was
tra nsp o rte d to, G ra,dy f-losp ita I b,y A M7 4 .
    Mr. Co bb has a n active ,a rres t wa rr,a nt out of Mia mi Dade (No Extrad ition}.
    Mr. Co bb a lso stated that he had his wa ll et stolen at the Retre.at A pa rtments but was unable to prov ide information o n the
s uspect other that first na e ~Okaib,ai}.
    SV U Dete.ctive Moo r,e (965} was oontacte.d .
    Mr. Co bb was g ive n a c ase nu ber.
    Body wo rn ,c a era activ,ated.




                                                                                                                    PLAINTIFF-024375(UI&S)
   Case 1:20-cv-05233-SEG         Document 115-18        Filed 01/18/24    Page 55 of 59




                           DeKalb County Police
                                   Tucker Precinct
                                4451 Lawrenceville Highway
                                   Tucker, Georgia 30084
                                       (678-937-5301)




    Operation Safeguard Tucker Gas Stations / Stores / Motels Suppression


I. Situation

An analysis of the top eight gas stations / convenience stores and motels was compiled to
identify high crime locations. The gas stations were analyzed from 1-1-2016 to 2-24-2020 and
motels from 1-1-2020 to 2-24-2020. The analysis identified gas stations / convenience stores
and motels with the highest crime rate (Part 1 Crimes) within the Tucker Precinct.




               Tucker Precinct Top 8 Gas Stations / Convenience Stores




                                 Citgo     5095 STONE MILL WAY
                                Texaco     6201 MEMORIAL DR
                               Chevron     1131 N HAIRSTON RD
                               Chevron     4766 REDAN RD
                              Quick Trip   3830 N DECATUR RD
                                Mystik     4837 MEMORIAL DR
                              Quick Stop   1101 N HAIRSTON RD
                                Texaco     5248 MEMORIAL DR




                                                                              PLAINTIFF-031059(UI&S)
   Case 1:20-cv-05233-SEG           Document 115-18        Filed 01/18/24     Page 56 of 59




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                                Tucker Precinct Top Motels

                      United Inn              4649 Memorial Drive
                      Stone Mountain Inn      Mountain Ind. Blvd.
                      Budgetel Inn & Suites   5075 Memorial Drive
                      Home 1 Extended Stay    4893 Memorial Drive
                      Masters Inn             1435 Montreal Road

These locations have the highest crime rate within our business community. The Tucker
Precinct will increase daily enforcement to reduce these crimes, increase trust and respect among
the owners, managers, and community members who shop or live at these locations.


II. Mission

Who- Tucker Watches (Territory, Over Time, Impact units) , Tucker FIT, Tucker CID, DeKalb
Narcotics / Vice, DeKalb Special Victims Unit, DeKalb Special Operations (Traffic / S.W.A.T),
DeKalb Intel Section, DeKalb Police Gang Unit, DeKalb Auto Theft Unit. The DeKalb Sheriff
will be notified of this operation and solicited for assistance.

What- Increase patrol enforcement / reduce crime

When- March 7, 2020 – until further notice (minimum of 30 days)

Where- Identified locations (parking lot and inside locations)

Why-The Department has a goal of reducing crime at these locations which consistently serves
the community and businesses, creating a safe place to shop and live.




                                                                                PLAINTIFF-031060(UI&S)
   Case 1:20-cv-05233-SEG           Document 115-18         Filed 01/18/24      Page 57 of 59




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                                     Tucker Precinct
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III. Execution

Starting March 7, 2020 the Tucker Precinct will begin to focus our enforcement efforts at each of
these locations. Commanders from each unit will identify on their watch lists the supervisors
and patrol officers assigned to the directed patrols. Supervisors and officers assigned to the
patrols will park their patrol units and go inside these locations. They will communicate with
citizens and management. We must make face to face communications and walk the premises in
order to be effective. An officer will be assigned to inspect each extended stay hotel identified as
high crime to insure compliance with local ordinances (specifically, 18-135 through 18-142).



Beginning on March 7, 2020, Operations Assistance will be requested from the following:

   A) Tucker FIT- will serve as the primary enforcement arm of the operation. They will direct
      patrol units and UC vehicles daily to these locations.

   B) Tucker Precinct Public Education Specialist as well as Apartment Liaisons - will conduct
      a site visit to each of the locations and communicate our crime reduction efforts. Solicit
      information that will help assist the Department in its enforcement activities. The owners
      and management will be notified of the Major’s Community Engagement Meeting as
      well as other activities to include Coffee with Cop. It is hopeful these locations will
      partner in the Tucker Precinct community activities.

   C) Tucker Uniform - (Commanders) – will identify which units are to aggressively patrol
      these locations on the watch lists. Units will advise radio of their POAP and make
      contact with citizens and employees on the premises. Watch Commanders will plan their
      weekly community roll calls in and around these locations.


   D) Tucker CID – will ensure that detectives POAP these locations on their weekly patrol
      activities. Detectives will advise radio of their POAP and make contact with citizens and
      employees on the premises. Detectives will participate in the weekly community roll
      calls.

   E) Narcotics/Vice Unit will serve in a UC capacity during the operation. The Narcotics Unit
      will utilize vehicles and surveillance equipment as needed to patrol the designated
      operation locations. Tucker Precinct will assist with any investigations.




                                                                                  PLAINTIFF-031061(UI&S)
   Case 1:20-cv-05233-SEG          Document 115-18          Filed 01/18/24     Page 58 of 59




                            DeKalb County Police
                                     Tucker Precinct
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                                    Tucker, Georgia 30084
                                        (678-937-5301)
   F) Gang Unit will serve in both UC and uniformed capacity during the operation. The Gang
      Unit will utilize vehicles and surveillance equipment as needed to patrol the designated
      operation locations. Gang Unit detectives will serve in an intelligence roll in addition to
      active patrols. Gang Unit detectives will provide intel regarding known gang members
      known to reside and or loiter in the designated locations.

   G) Auto Theft Unit will provide a detective to work the parking lots with LPR.

   H) Intel Unit will provide monthly crime stats for each of these locations. Also, the names
      of the top 10 arrestees at each locations.

   I) Special Victims Unit – will conduct sex crimes and ICAC initiatives at the motels.
      Tucker Precinct may provide additional personnel for these initiatives if requested.

   J) Special Operations – will provide traffic enforcement during their monthly scheduled
      operations for Tucker Precinct. Also, the S.W.A.T Unit will POAP these locations and
      conduct proactive enforcement stops of suspicious activities.

   K) DeKalb Sheriff will be notified of the criminal activity at the locations and solicited for
      assistance. Basic POAP at these locations will increase law enforcement visibility and
      help reduce crime.

   L) All units will be required to record daily statistics and provide weekly statistics on
      activity at the targeted locations. These stats will be placed on the weekly reports and
      submitted to Captain Wallace by Monday of the following week.



IV. Administrative Logistics

Captain Wallace will communicate with each commander or agency to solicit their assistance. A
POC will be requested for activity and statistics reporting.



Command Control

Major Medlin and Captain Wallace will continue to discuss the operation effectiveness and




                                                                                  PLAINTIFF-031062(UI&S)
   Case 1:20-cv-05233-SEG           Document 115-18      Filed 01/18/24   Page 59 of 59




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review the monthly crime statistics for effectiveness.




                                                                           PLAINTIFF-031063(UI&S)
